    EXHIBIT A
CNX-produced Contract
REVISED   06.8~2018


THIS AGREEMENT SUPERSEDES THE TERMS AND CONDITIONS OF THE GENERAL TERMS AND CONDITIONS
AGREEMENT FOR ELECTRONIC COMMERCE.

IF YOU HAVE RECEIVED THIS THROUGH HUBWOO, THIS PURCHASE ORDER MAY ONLY BE ACCEPTED BY
THE VENDOR SAVING AND SENDING THIS PURCHASE ORDER THROUGH HUBWOO WITHOUT CHANGES TO
THE PURCHASER.  PERFORMANCE SHALL NOT CONSTITUTE ACCEPTANCE OF THE PURCHASE ORDER.
INVOICES ISSUED TO THIS PURCHASE ORDER WILL NOT BE PAID UNLESS CONFIRMATION OF
ACCEPTANCE IS PROVIDED BY VENDOR TO PURCHASER AS PROVIDED IN THIS PARAGRAPH.IN THE
EVENT OF ANY CONFLICT BETWEEN THIS ITEM TEXT AND ANY OTHER CONTRACT DOCUMENT OR
PROVISION, THIS ITEM TEXT SHALL CONTROL. PLEASE SEND ALL INVOICE BACK-UP DOCUMENTATION
(E.G. TIMESHEETS AND PODS) TO <Carissa Hansen> AT <CarissaHansen@CNX.com>.

IF YOU RECEIVE THIS CONTRACT THROUGH EMAIL, AND NOT THROUGH CNX'S HUBWOO SYSTEM, YOU
ARE REQUESTED TO REPLY TO THIS EMAIL TO CONFIRM ACCEPTANCE OF THE TERMS AND CONDITIONS
OF THE ATTACHED PURCHASE ORDER OR CHANGE NOTICE.  IF YOU DO NOT CONFIRM ACCEPTANCE OF
THE TERMS AND CONDITIONS BY REPLYING TO THIS EMAIL BUT YOU INITIATE PERFORMANCE OF THE
PURCHASE ORDER OR CHANGE NOTICE, YOUR PERFORMANCE WILL CONSTITUTE ACCEPTANCE OF THE
TERMS AND CONDITIONS.

IF NOT REQUIRED BY CNX TO BE A MEMBER OF   ISNET~ORLD,   PLEASE SUBMIT THE FOLLOWING VIA
EMAIL TO GASVENDORS®CNX.COM:                     '

1. VALID INSURANCE CERTIFICATE- THE CONTRACTOR SHALL FURNISH TO THE COMPANY A
CERTIFICATE OF HIS GENERAL LIABILITY, AUTOMOBI~E, UMBRELLA, BLACK LUNG IF APPLICABLE,
AND WORKMEN'S COMPENSATION INSURANCE COVERAGE, COVERING SERVICES IN THE STATE
SPECIFIED UPON RECEIPT OF THE PURCHASE ORDER.

2. CONTRACTOR REGISTER INFORMATION- THE CONTRACTOR SHALL SEND THE FOLLOWING NUMBERS
VIA EMAIL TO COMPLY WITH SAFETY INSPECTION REGULATIONS FOR EACH PURCHASE ORDER
RECEIVED. INSTRUCTION BELOW:
SUBJECT OF EMAIL MUST INCLUDE: "PO NUMBER AND LOCATION OF JOB
 (Name of Pad Site)"
- CONTRACTOR'S FEDERAL EMPLOYER I.D. NUMBER:
- CONTRACTOR'S I.D. NUMBERS (IF APPLICABLE):
- MSHA CONTRACTOR'S I.D. NUMBER:
- STATE CONTRACTOR'S LICENSE NUMBER:
    PAD API NUMBER:
BOTH INSURANCE AND CONTRACTOR REGISTER INFORMATION CAN BE CNXIDATED IN ONE EMAIL,
BUT THE SUBJECT MUST BE "PO NUMBER AND LOCATION OF JOB."
CONSTRUCTION AGREEMENT

MADE THIS      5TH DAY OF   DECEMBER, A.D 2018


B E T WE E N

CNX MIDSTREAM DVCO I LP, ORGANIZED AND EXISTING UNDER AND BY VIRTUE OF THE LAWS OF THE
STATE OF DELAWARE, HEREINAFTER CALLED "COMPANY"

AND


APPLIED CONSTRUCTION SOLUTIONS INC, ORGANIZED AND EXISTING UNDER AND BY VIRTUE OF
THE LAWS OF THE STATE OF WEST VIRGINIA, HEREINAFTER
CALLED "CONTRACTOR"

WITNESSETH:

THAT THE PARTIES HERETO, IN CONSIDERATION OF THE MUTUAL COVENANTS HEREIN CONTAINED AND
INTENDING TO BE LEGALLY BOUND HEREBY, COVENANT AND AGREE AS FOLLOWS:


                                                                   ~        EXHIBIT
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ARTICLE 1. -- SCOPE OF THE WORK:  CONTRACTOR SHALL
FURNISH ALL LABOR, SUPERVISION, MATERIAL, SUPPLIES, TOOLS,
UTILITIES, TRANSPORTATION, PLANT, EQUIPMENT, FACILITIES, AND
SERVICES NOT SPECIFICALLY REQUIRED IN THE CONTRACT DOCUMENTS TO BE FURNISHED BY
COMPANY AND SHALL PERFORM AND COMPLETE ALL THE WORK FOR THE CONSTRUCTION AND
COMPLETION OF:

ON LAND OF COMPANY SITUATE:

ALL IN ACCORDANCE WITH THE CONTRACT DOCUMENTS AND TO THE SATISFACTION AND APPROVAL OF
COMPANY.

ARTICLE 2. -- CONTRACT DOCUMENTS:  THE FOLLOWING DOCUMENTS FORM THE AGREEMENT BETWEEN
THE PARTIES AND ARE HEREIN REFERRED TO AS THE "CONTRACT DOCUMENTS":  THE
INVITATION TO BIDDERS, THE INSTRUCTIONS TO BIDDERS, THIS CONSTRUCTION AGREEMENT, THE
GENERAL CONDITIONS, DRAWINGS AND SPECIFICATIONS, AND THE FOLLOWING:

Reference: ShareFile Bid: 0660 - 180925 - CNXM Morris Station Exp RFP
• (ACS) 0660 - 180925 - CNXM Morris Station Exp RFP
• REV1
o Morris cs SOV_10032018 Rev2.xlsx
o Clarification.pdf
o ACS Revised Pricing - 11-26-18.pdf

BID DOCUMENTS:
a) Invitation Letter CNXM Morris Station RFP
b) CNX-MRX-10-0050 Redlined
c) CNX-MRX-50-2000 DEMO
d) CNX-MRX-50-3000 Redlined
e) Morris Bid Presentation_10092018
f) Morris cs RFP_10092018
g) Morris cs SOV_10032018
h) Bid Clarification_Piping Quantity_10302018
i) Bid Timeline 10222018
j) CNXM Morris RFP Questions_11012018
k) CNXM Morris RFP Questions_11052018
1) CNXM Station RFP Questions 20181024
m) Morris CS RFP 10222018
n) Morris Foudnations in Question
o) MORRIS EXP 2019 - PRELIM - 9-19-18.nwd
p) CNX-MOR-60-3001-RC
q) CNX-MOR-60-3002-R4B
r) CNX-MOR-60-3003-RC
s) CNX-MOR-60-3004-RC
t) CNX-MOR-60-3008-RA
u) CNX-MOR-60-3009-RA
v) CNX-MOR-60-3010-RA
w) CNX-MOR-60-LL05-RB
x) CNX-MOR-60-LL06-RB
y) CNX-MOR-60-LLO?-RB
z) CNX-MOR-60-LL08-RA
aa) PIT.14.8885.12.T003
bb) CNX-MOR-40-3000
cc) CNX-MOR-40-3001
dd) CNX-MOR-40-3002
ee) CNX-MOR-40-3003
ff) CNX-MOR-40-3004
gg) CNX-MOR-40-3005
hh) CNX-MOR-40-3006
ii) CNX-MOR-40-3007
j j) CNX-MOR-40-3008
kk) CNX-MOR-40-3009
11) CNX-MOR-40-3010
mm) CNX-MOR-40-3011
nn) CNX-MOR-40-3012
oo) CNX-MOR-40-3013
pp) CNX-MOR-40-3014
qq) CNX-MOR-40-3015
rr) CNX-MOR-40-3016
ss) CNX-MOR-40-3017
tt) CNX-MOR-40-3018
uu) CNX-MOR-40-3019
vv) CNX-MOR-40-3020
ww) CNX-MOR-40-3021
xx) CNX-MOR-40-3022
yy) CNX-MOR-40-3023
zz) CNX-MOR-40-3024
aaa) CNX-MOR-40-3025
bbb) CNX-MOR-40-3040
CCC) CNX-MOR-60-303l_Rev A
ddd) CNX-MOR-60-3032_Rev A
eee) CNX-MOR-60-3033_Rev A
fff) CNX-MOR-60-3034_Rev A
ggg) CNX-MOR-60-3035_Rev A
hhh) CNX-MOR-60-3036_Rev A
iii) CNX-MOR-60-3037_Rev A
jjj) CNX-MOR-60-3037 Rev A
kkk) CNX-MOR-60-305l_Rev B
111) CNX-MOR-60-3052_Rev B
mmm) CNX-MOR-60-3053_Rev B
nnn) CNX-MOR-60-3054_Rev B
ooo) CNX-MOR-60-3055 Rev B
ppp) CNX-MOR-60-3056_Rev B
qqq) CNX-MOR-60-3057 Rev A
rrr) CNX-MOR-60-3058 Rev A
sss) CNX-MOR-60-3059_Rev B
ttt) CNX-MOR-60-3060_Rev A
uuu) CNX-MOR-60-3061_Rev A
vvv) CNX-MOR-60-3062_Rev A
www) CNX-MOR-60-3070_Rev A
XXX) CNX-MOR-60-3071_Rev A
yyy) CNX-MOR-60-3072_Rev A
zzz) CNX-MOR-60-3073 Rev A
aaaa) CNX-MOR-60-3074_Rev A
bbbb) CNX-MOR-60-3075_Rev A
ecce) CNX-MOR-60-3076 Rev A
dddd) CNX-MOR-60-3077 Rev A
eeee) PIT.14.8885.12.T004
ffff) CNX-MOR-50-3000-RB
gggg) CNX-MOR-50-3001-RB
hhhh) CNX-MOR-50-3002-RB
iiii) CNX-MOR-50-3003-RB
jjjj) CNX-MOR-50-3004-RB
kkkk) CNX-MOR-50-3005-RB
1111) CNX-MOR-50-3006-RB
mmmm) CNX-MOR-50-3007-RB
nnnn) CNX-MOR-50-3008-RB
oooo) CNX-MOR-50-3009-RB
pppp) CNX-MOR-50-3010-RB
qqqq) CNX-MOR-50-3010-RB
rrrr) CNX-MOR-50-3011-RB
ssss) CNX-MOR-50-3012-RB
tttt) CNX-MOR-50-3013-RA
uuuu) CNX-MOR-50-3014-RA
vvvv) CNX-MOR-50-3015-RA
wwww) CNX-MOR-50-3016-RA
xxxx) CNX-MOR-50-3017-RA
yyyy) CNX-MOR-50-3018-RA
zzzz) CNX-MOR-50-3019-RA
aaaaa) CNX-MOR-50-3020-RA
bbbbb) CNX-MOR-50-3021-RA
ccccc) CNX-MOR-50-3022-RA
ddddd) CNX-MOR-50-3023-RA
eeeee) CNX-MOR-50-3024-RA
fffff) CNX-MOR-50-3025-RA
ggggg) CNX-MOR-50-3026-RA
hhhhh) CNX-MOR-50-3027-RA
iiiii) MORRIS EXP 2019 - PRELIM - 10-29-18
jjjjj) MORRIS P&IDs HIGHLIGHTED SET 10-26-18
kkkkk) PIT.14.8885.12.T005
11111) CNX-MOR-40-Civi1Combined_11132018
mmmmm) Bill 'of Materials-2018-11-15 - NO  CONTROL VALVES
nnnnn) CNX-MOR-50-PipingCombined_11152018
ooooo) CNX-MOR-60-Electrical_11152018
ppppp) CNX-MOR-70-IC_11152018
qqqqq) Morris Equipment Delivery_11152018
rrrrr) PID Cause Effect Morris 2019_Expansion
sssss) 1659-B-GA-18-B
ttttt) 1666-B-GA-18-A PRELIMINARY
uuuuu) 1668-B-GA-18-0
vvvvv) B-129348 RO
wwwww) D-129346 R2
xxxxx) B-129461 RO
yyyyy) D-129459 RO
zzzzz) 18-10253-01-0-00 Rev. 2
aaaaaa) 18-10253-01-0-32 Rev. 1
bbbbbb) 18-10253-01-0-70 Rev. 1
cccccc) 18-10253-01-0-71 Rev. 2
dddddd) 18-10253-01-0-71 Rev 1
eeeeee) 403669-GA Rev C
ffffff) CNX Gas Submittal
gggggg) eds-1063
hhhhhh) epa-1097
iiiiii) n18d573epa
jjjjjj) 72HS5 Model_R2
kkkkkk) 940004-r2 General Arrangment AB 200 Standard Combustion Flare
111111) T400-83 SHEET 1 OF 3 CNX MIDSTREAM
mmmmmm) T400-83 SHEET 2 OF 3 CNX MIDSTREAM
nnnnnn) T400-83 SHEET 3 OF 3 CNX MIDSTREAM
000000) T450-01 SHEET 1 OF 3 CNX MIDSTREAM
pppppp) T450-01 SHEET 2 OF 3 CNX MIDSTREAM
qqqqqq) T450-01 SHEET 3 OF 3 CNX MIDSTREAM

TOGETHER WITH ALL PRINTS, DOCUMENTS, AND PAPERS REFERRED TO IN ANY OF THE FOREGOING,
ALL OF WHICH ARE INCORPORATED HEREIN BY REFERENCE THERETO AS FULLY AS THOUGH SET FORTH
IN
THIS CONSTRUCTION AGREEMENT. THE PROVISIONS OF THIS CONSTRUCTION AGREEMENT SUPERSEDE
ALL INCONSISTENT PROVISIONS OF OTHER CONTRACT DOCUMENTS, AND THE PARTICULAR PROVISIONS
OF OTHER CONTRACT DOCUMENTS SUPERSEDE ALL INCONSISTENT PROVISIONS CONTAINED IN GENERAL
SPECIFICATIONS OR CONDITIONS INCORPORATED BY REFERENCE. THE CONTRACT DOCUMENTS SHALL
CONSTITUTE THE ENTIRE AGREEMENT BETWEEN THE PARTIES AND SHALL NOT BE MODIFIED,
CHANGED, OR AMENDED EXCEPT BY WRITTEN INSTRUMENT EXECUTED BY COMPANY AND CONTRACTOR,
AND CONSENTED TO BY THE SURETY OR SURETIES ON ALL BONDS PROVIDED IN
CONNECTION HEREWITH, IF ANY; PROVIDED, HOWEVER, THAT THIS PROVISION SHALL NOT LIMIT OR
AFFECT THE RIGHT TO MAKE CHANGES OR VARIATIONS IN THE WORK AS PERMITTED IN THE
CONTRACT DOCUMENTS.
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    CONTRACTOR SHALL FURNISH, FOR COMPANY'S APPROVAL, NECESSARY GENERAL FACILITY
    ARRANGEMENT AND CONSTRUCTION DETAIL DRAWINGS WHICH SHALL BECOME PART OF THE CONTRACT
    DOCUMENTS. DEVIATION FROM CONTRACT DOCUMENTS WILL BE MADE ONLY WITH
    COMPANY'S WRITTEN APPROVAL; AND, EXCEPT IN EMERGENCY SITUATIONS WHERE THERE IS AN
    IMMEDIATE THREAT OF INJURY OR SERIOUS DAMAGE TO PERSONS OR PROPERTY, NO WORK SHALL BE
    PERFORMED ON ANY SUCH DEVIATIONS INVOLVING EITHER A CREDIT OR AN ADDITIONAL CHARGE TO
    COMPANY UNTIL THE AMOUNT OF SUCH CREDIT OR CHARGE HAS BEEN MUTUALLY AGREED UPON IN
    WRITING.
    CONTRACTOR, SUBJECT TO THE WRITTEN APPROVAL OF COMPANY, SHALL HAVE THE RIGHT TO
    SUBSTITUTE EQUIPMENT OF EQUAL QUALITY AND PERFORMANCE IN PLACE OF THE MAKE SPECIFIED
    IN
    THE CONTRACT DOCUMENTS.  UNLESS OTHERWISE SPECIFICALLY STATED IN WRITING, ANY APPROVAL
    REQUIRED TO BE GIVEN BY COMPANY PURSUANT TO THE CONTRACT DOCUMENTS IS REQUIRED IN
    ORDER TO GIVE COMPANY AN OPPORTUNITY TO CONSULT WITH CONTRACTOR. SUCH APPROVAL SHALL
    BE ADVISORY ONLY AND SHALL NOT BE BINDING UPON NOR RELIEVE CONTRACTOR FROM
    RESPONSIBILITY FOR THE ENGINEERING OR FACILITIES DESCRIBED HEREIN.

    ARTICLE 3. -- WORK SCHEDULE: UNDER NO CIRCUMSTANCES
    SHALL WORK BE STARTED OR MATERIALS DELIVERED TO THE PREMISES
    UNTIL (A) THE REQUIRED CERTIFICATES OF INSURANCE (AND BONDS, IF
    REQUIRED)HAVE BEEN DELIVERED TO COMPANY; AND (B) CONTRACTOR HAS FURNISHED COMPANY
    EVIDENCE TO THIS EFFECT. CONTRACTOR AGREES TO COMMENCE WORK HEREUNDER WITHIN SEVEN (7)
    DAYS AFTER EXECUTION OF THIS CONSTRUCTION AGREEMENT AND RECEIPT OF WRITTEN NOTICE FROM
    COMPANY TO PROCEED.  CONTRACTOR SHALL SUBMIT TO COMPANY WITHIN SEVEN (7) DAYS FROM THE
    EXECUTION HEREOF AND ON A MONTHLY BASIS THEREAFTER A SCHEDULE, DESIGNED SUBJECT TO
    COMPANY'S APPROVAL, OF THE WORK. SPECIFICALLY THE WORK SHALL BE SCHEDULED TO CHART THE
    PROGRESS OF EACH PHASE ON A CALENDAR DAY BASIS AND ON A MANPOWER REQUIRED AND EXPENDED
    BASIS.  CONTRACTOR SHALL PROMPTLY NOTIFY COMPANY OF ANY CHANGES IN ANY PHASE OF THE
    SCHEDULE.  IN ANY EVENT, CONTRACTOR AGREES TO COMPLETE ALL OF THE WORK IN ACCORDANCE
    WITH THE CONTRACT DOCUMENTS AND TO THE SATISFACTION AND APPROVAL OF COMPANY ON OR
    BEFORE NOVEMBER 1, 2019 OR SUCH OTHER DATE AS MAY BE ESTABLISHED BY SAID WRITTEN
    NOTICE TO PROCEED, SUBJECT TO THE LIMITATIONS AS SET FORTH IN SECTION 19 OF THE
    GENERAL CONDITIONS, TIME BEING OF THE ESSENCE.

    ARTICLE 4. -- CONTRACT PRICE: COMPANY SHALL PAY CONTRACTOR, AND CONTRACTOR SHALL
    ACCEPT IN FULL PAYMENT AND CONSIDERATION FOR THE FULL PERFORMANCE OF CONTRACTOR'S
    OBLIGATIONS HEREUNDER, SUBJECT TO ANY ADDITIONS AND DEDUCTIONS PERMITTED BY THE
    CONTRACT DOCUMENTS, IN ACCORDANCE WITH THE UNIFORM BID SHEET SCHEDULES PLUS THE. SUM
    OF:  $12,418,545.00; TWELVE MILLION FOUR HUNDRED EIGHTEEN THOUSAND FIVE HUNDRED FORTY-
    FIVE DOLLARS AND ZERO CENTS. ALL LUMP SUM AND UNIT PRICING IS FIRM THROUGH PROJECT
    COMPLETION.

    CN1 6/28/2019: $2,400,000

    SEE EXHIBIT "A" FOR COST BREAKDOWN OF PROJECT SCOPE OF WORK.

    PROGRESS PAYMENTS SHALL BE MADE FOR THE WORK COMPLETED IN EACH CALENDAR MONTH BASED
    UPON 90% OF THE VALUE THEREOF.
    SUBJECT TO REASONABLE RETAINAGE HELD BY COMPANY TO SECURE
    COMPLETION OF THE WORK IN ACCORDANCE WITH THE CONTRACT
    DOCUMENTS, THE FINAL 10% SHALL BE PAID BY COMPANY TO
    CONTRACTOR WITHIN ____THIRTY (30)          DAYS AFTER COMPANY'S DESIGNATED
    REPRESENTATIVES CERTIFY THAT THE WORK IS "SUBSTANTIALLY" COMPLETED TO THE SATISFACTION
    OF COMPANY.
    PROGRESS PAYMENTS SHALL BE MADE IN ACCORDANCE WITH THE CONTRACT DOCUMENTS AND UPON
    PROPER CERTIFICATION BY COMPANY'S DESIGNATED ENGINEER THAT SUCH PAYMENT IS DUE.
    EACH APPLICATION FOR A PROGRESS PAYMENT SHALL BE
    ACCOMPANIED BY A CONTINGENT LIEN WAIVER IN THE FORM OF
    EXHIBIT B-1 HERETO.  UPON RECEIPT OF A PROGRESS PAYMENT
    CONTRACTOR SHALL PROVIDE TO COMPANY A NON-CONTINGENT
    LIEN WAIVER IN THE FORM OF EXHIBIT B-2 HERETO. UPON
    RECEIPT OF FINAL PAYMENT CONTRACTOR SHALL PROVIDE TO
    COMPANY A FINAL WAIVER OF LIEN IN THE FORM OF EXHIBIT B-3
HERETO.   IF YOU HAVE RECEIVED THIS CONSTRUCTION AGREEMENT THRU HUBWOO, ALL INVOICING
MUST BE SUBMITTED THRU THE HUBWOO SYSTEM. CONTRACTOR SHALL NOT BE ENTITLED TO ANY LOSS
OF ANTICIPATED PROFITS IF THE QUANTITIES OF ANY ITEMS OR WORK ARE DECREASED OR
ENTIRELY OMITTED. NEITHER THE MAKING OF PROGRESS PAYMENTS NOR ACCEPTANCE OF THE WORK
AND FINAL PAYMENT SHALL RELIEVE CONTRACTOR OF ANY OBLIGATION IMPOSED ON CONTRACTOR BY
THE CONTRACT DOCUMENTS.   IN ADDITION TO ITS OTHER REMEDIES, COMPANY IS AUTHORIZED TO
DEDUCT OUT OF MONIES WHICH MAY BE DUE OR BECOME DUE TO CONTRACTOR UNDER CONTRACT
DOCUMENTS, AS DAMAGES FOR NON-COMPLETION OF WORK WITHIN TIME STIPULATED FOR ITS •
COMPLETION, N/A DOLLARS PER DAY FOR EACH AND EVERY DAY TIME EMPLOYED ON SAID WORK MAY
EXCEED TIME STATED IN THE CONTRACT DOCUMENTS FOR ITS COMPLETION, WHICH IN VIEW OF
DIFFICULTIES OF ESTIMATING SUCH DAMAGES, THE PARTIES HEREBY AGREE UPON AS THE
LIQUIDATED DAMAGES THAT COMPANY WILL SUFFER BY REASON
OF SUCH DEFAULT AND NOT BY WAY OF PENALTY, AND TO
RETAIN FROM TIME TO TIME OUT OF MONIES DUE CONTRACTOR
HEREUNDER SUCH AMOUNTS AS MAY BE REASONABLY REQUIRED TO
COMPENSATE COMPANY FOR ANY LOSS OR DAMAGES IT SUSTAINS OR
MAY SUSTAIN BY REASON OF CONTRACTOR'S BREACH OF THIS CONSTRUCTION AGREEMENT OR BY
REASON OF ANY OTHER CLAIMS COMPANY MAY HAVE AGAINST CONTRACTOR.

ARTICLE 5.     QUALITY OF MATERIALS AND PERFORMANCE:
CONTRACTOR SHALL EMPLOY ONLY COMPETENT AND SKILLED WORKMEN
CAPABLE OF PERFORMING THE DUTIES ASSIGNED TO THEM, SHALL
PERFORM THE WORK AND FULFILL ALL ITS OBLIGATIONS UNDER THIS CONSTRUCTION AGREEMENT IN
A GOOD AND WORKMANLIKE MANNER,
SHALL USE THE HIGHEST DEGREE OF CARE WHICH IS COMPATIBLE
WITH THE WORK TO BE PERFORMED, AND ACKNOWLEDGE$ THAT IT HAS
INVESTIGATED THE SITE WHERE THE WORK IS TO BE BONE AND IS
AWARE OF AND SATISFIED WITH ALL CONDITIONS EXISTING AT THE
SITE. ALL MATERIALS USED SHALL BE THE BEST OF THEIR
RESPECTIVE KIND AND THEIR APPLICATION SHALL BE ENTIRELY IN
ACCORDANCE WITH STANDARD PRACTICE. WITHIN FIFTEEN (15) DAYS
FROM EXECUTION HEREOF, CONTRACTOR SHALL SUBMIT TO COMPANY FOR
COMPANY'S APPROVAL, A LIST OF ALL CONTRACTORS, SUBCONTRACTORS AND MATERIALMEN THAT
WILL BE USED ON THIS WORK. ALL OF SAID WORK AND LABOR SHALL BE DONE AND PERFORMED IN
THE BEST AND WORKMANLIKE MANNER IN STRICT AND ENTIRE CONFORMITY, IN EVERY RESPECT,
WITH THE CONTRACT DOCUMENTS AND SHALL BE SUBJECT TO THE INSPECTION AND APPROVAL OF
COMPANY.   IN CASE ANY OF SAID MATERIAL OR LABOR SHALL BE REJECTED BY COMPANY, AS
DEFECTIVE OR UNSUITABLE, THEN THE REJECTED MATERIALS SHALL
BE MOVED OFF THE SITE AND REPLACED WITH APPROVED MATERIALS, AND THE REJECTED LABOR
SHALL BE DONE ANEW TO THE SATISFACTION AND
APPROVAL OF COMPANY OR ITS AGENTS, AT THE COST AND EXPENSE
OF CONTRACTOR. CONTRACTOR SHALL REMEDY WITHOUT COST TO
COMPANY ANY AND ALL DEFECTS CAUSED BY DEFECTIVE OR INFERIOR
MATERIALS OR WORKMANSHIP WHICH MAY DEVELOP WITHIN ONE (1)
YEAR FROM THE DATE OF FINAL ACCEPTANCE BY COMPANY OF THE
WORK PERFORMED HEREUNDER. THE FOREGOING SHALL NOT LIMIT THE
PERIOD OF ANY ADDITIONAL WARRANTY, GUARANTY, OR OTHER
UNDERTAKING ON THE PART OF CONTRACTOR, ANY SUBCONTRACTOR, SUPPLIER, OR MANUFACTURER
WHETHER CONTAINED IN THESE CONTRACT DOCUMENTS OR NOT.

ARTICLE 6. -- LIENS: CONTRACTOR SHALL PROMPTLY PAY ITS
SUBCONTRACTORS AND MATERIALMEN. CONTRACTOR SHALL PROVIDE ALL EVIDENCE OF PAYMENT UPON
REQUEST OF COMPANY AND AS PROVIDED IN ARTICLE 4 HEREOF.

ARTICLE 7.     COMPLIANCE WITH LAWS; INDEMNIFICATION:
CONTRACTOR, ITS EMPLOYEES, AGENTS, AND SUBCONTRACTORS, SHALL
COMPLY WITH ALL LAWS, RULES, REGULATIONS, ORDERS, AND ORDINANCES OF FEDERAL, STATE,
AND LOCAL GOVERNMENTS' OFFICES AND AUTHORITIES.
CONTRACTOR, ITS EMPLOYEES, AGENTS, AND SUBCONTRACTORS MUST COMPLY WITH THE INDEMNITY
REQUIREMENTS ATTACHED TO THIS CONTRACT AS EXHIBIT D. CONTRACTOR IS RESPONSIBLE FOR
COMPLIANCE BY ITS SUBCONTRACTORS WITH THE INDEMNITY REQUIREMENTS ATTACHED TO THIS
CONTRACT AS EXHIBIT D.
SHOULD COMPANY RECEIVE PENALTIES, FINES, OR OTHER CHARGES
RESULTING FROM VIOLATIONS OR ALLEGED VIOLATIONS OF LAWS,
RULES, REGULATIONS, ORDERS, AND ORDINANCES OF FEDERAL,
STATE, AND LOCAL GOVERNMENTS' OFFICES AND AUTHORITIES, WHICH
RELATE TO WORK PERFORMED HEREUNDER BY CONTRACTOR, ITS
EMPLOYEES, AGENTS, OR SUBCONTRACTORS, COMPANY SHALL PROMPTLY
GIVE WRITTEN NOTICE TO CONTRACTOR WHO SHALL HAVE THE RIGHT
TO PURSUE AN ADMINISTRATIVE REMEDY AT CONTRACTOR'S SOLE COST AND EXPENSE.   CONTRACTOR
AND COMPANY AGREE TO CONFER ON ANY SUCH ADMINISTRATIVE ACTION.

CONTRACTOR AT ITS COST SHALL APPLY PROMPTLY FOR THE
ISSUANCE, TRANSFER, AND/OR RENEWAL OF ANY AND ALL PERMITS, BONDS, AND LICENSES
REQUIRED FOR THE WORK TO BE PERFORMED HEREUNDER.

CONTRACTOR AGREES TO BE A MEMBER OF ISNETWORLD AND TO MEET ALL OF COMPANY'S INSURANCE
(AS ADDRESSED IN EXHIBIT C) AND HEALTH/SAFETY REQUIREMENTS. THIS INCLUDES MAINTAINING
A DASHBOARD GRADE OF "A" IN ISNETWORLD.

CONTRACTOR AGREES TO PROVIDE AND RECORD IN ISNETWORLD THE PREVIOUS MONTH'S MAN HOURS
PER OSHA/MSHA STANDARDS FOR ALL CNX SITES BY THE 15TH DAY OF EACH MONTH.

ON ALL CNX GAS SITES WITHIN 150 FEET OF GAS CONTAINING FACILITIES, CONTRACTOR IS TO
PROVIDE GAS MONITORING FOR OXYGEN, COMBUSTIBLE GAS, HYDROGEN SULFIDE, AND CARBON
MONOXIDE.  THIS CAN BE EITHER AREA OR PERSONAL MONITORING.

FOR ALL CNX GAS SITES, CONTRACT EMPLOYEES ENGAGED IN OIL AND GAS
INDUSTRY WORK MUST HAVE OSHA 10 HOUR TRAINING OR A NATIONALLY RECOGNIZED EQUIVALENT
 (HAZWOPPER, SAFELAND, ETC.). PROOF OF TRAINING WILL BE REQUIRED PRIOR TO START OF
WORK.

IN ORDER TO INSURE A SAFE WORK ENVIRONMENT, TO BE ABLE TO TIMELY REACT IN SAFETY
EMERGENCIES, AND TO PROMOTE EFFECTIVE COMMUNICATION IN THE WORK PLACE, ALL EMPLOYEES
OF CONTRACTOR AND ANY SUBCONTRACTORS WHO WILL PERFORM WORK ON COMPANY PROPERTY MUST BE
ABLE TO READ, SPEAK AND
UNDERSTAND WRITTEN AND ORAL DIRECTIONS IN THE ENGLISH LANGUAGE;
PROVIDED THAT IF ANY EMPLOYEE OF A CONTRACTOR OR SUBCONTRACTOR IS NOT ABLE TO READ,
SPEAK OR UNDERSTAND WRITTEN OR ORAL DIRECTIONS IN THE ENGLISH LANGUAGE, THE CONTRACTOR
OR SUBCONTRACTOR IS REQUIRED TO HAVE ANOTHER EMPLOYEE WHO IS BI-LINGUAL (THAT IS, WHO
READS, UNDERSTANDS AND SPEAKS ENGLISH AND WHO IS ABLE TO TRANSLATE AND GIVE DIRECTIONS
IN TO THOSE EMPLOYEES WHO CANNOT READ, SPEAK OR UNDERSTAND
WRITTEN OR ORAL DIRECTIONS IN THE ENGLISH LANGUAGE) PRESENT AT ALL TIMES THAT
EMPLOYEES WHO NOT ARE ABLE TO READ, SPEAK AND UNDERSTAND WRITTEN AND ORAL DIRECTIONS
IN THE ENGLISH LANGUAGE ARE PRESENT ON COMPANY PROPERTY.

ARTICLE 8. -- INDEPENDENT CONTRACTOR:  STANDARD OF
CARE: CONTRACTOR AGREES THAT IN THE PERFORMANCE OF THE WORK
UNDER THE CONTRACT DOCUMENTS, IT SHALL ACT AS AN INDEPENDENT
CONTRACTOR, AND ALL OF ITS AGENTS AND EMPLOYEES, AND THE
AGENTS AND EMPLOYEES OF ITS SUBCONTRACTORS, SHALL BE SUBJECT
SOLELY TO THE CONTROL, SUPERVISION, AND AUTHORITY OF
CONTRACTOR OR ITS SUBCONTRACTORS -- THE RIGHT OF INSPECTION
BEING RESERVED HEREIN BY COMPANY IS SOLELY TO DETERMINE WHETHER THE WORK IS DONE IN
ACCORDANCE WITH THE CONTRACT DOCUMENTS AND TO EVALUATE COMPLETED WORK IN CONNECTION
WITH PAYMENTS.

ARTICLE 9. -- INSURANCE:

1. CONTRACTOR, ITS EMPLOYEES, AGENTS, AND SUBCONTRACTORS MUST COMPLY WITH THE
INSURANCE REQUIREMENTS ATTACHED TO THIS CONTRACT AS EXHIBIT C. CONTRACTOR IS
RESPONSIBLE FOR COMPLIANCE BY ITS SUBCONTRACTORS WITH THE INSURANCE REQUIREMENTS
ATTACHED TO THIS CONTRACT AS EXHIBIT C.

THE INSURANCE REQUIREMENTS IN EXHIBIT C ARE "MINIMUM" AND DO NOT
CONSTITUTE ANY RECOMMENDATION BY COMPANY REGARDING THE TYPES AND
AMOUNTS OF INSURANCE COVERAGE ACTUALLY NEEDED BY THE CONTRACTOR AND ANY SUBCONTRACTOR
TO PROTECT THEIR OWN INTERESTS. CONTRACTOR SHALL NOT COMMENCE WORK UNTIL INSURANCE
CERTIFICATES EVIDENCING THE REQUIRED COVERAGE ARE SUBMITTED AND APPROVED BY COMPANY.
INSURANCE CERTIFICATES MUST INCLUDE SPECIFIC COVERAGE FOR THE INDEMNITY CLAUSE
 (ARTICLE 7 - EXHIBIT D, HEREOF) AND CONTAIN AN UNDERTAKING BY THE INSURER NOT TO
CANCEL OR MODIFY SUCH POLICIES WITHOUT FIRST GIVING AT LEAST THIRTY(30) DAYS' PRIOR
WRITTEN NOTICE TO COMPANY.


2. BUILDER'S RISK INSURANCE:  IF REQUIRED BY COMPANY, DURING THE PERIOD THAT WORK IS
CARRIED ON HEREUNDER, CONTRACTOR SHALL ASSUME THE RISKS NORMALLY COVERED BY BUILDER'S
RISK INSURANCE IN "ALL RISK" FORM, SUBJECT TO THE USUAL SPECIFIC EXCLUSIONS WHICH
APPLY TO SUCH "ALL RISK" PROPERTY DAMAGE INSURANCE.  SAID ASSUMPTION OF RISK SHALL
APPLY TO COMPLETED WORK, WORK IN PROGRESS, AND MATERIALS STORED ON THE PREMISES WHICH
ARE TO BE INCORPORATED INTO THE COMPLETED WORK. SAID ASSUMPTION OF RISK SHALL NOT
APPLY TO ANY EQUIPMENT, SUPPLIES, AND MATERIALS OWNED BY CONTRACTOR, ANY
SUBCONTRACTOR, OR ANY OTHER PERSON OR COMPANY EXCEPT FOR SUCH EQUIPMENT, SUPPLIES, AND
MATERIALS WHICH ARE TO BE INCORPORATED INTO THE COMPLETED WORK. SAID ASSUMPTION OF
RISK SHALL APPLY TO ALL BUILDER'S RISK-TYPE LOSSES.

ARTICLE 10. -- CHANGES IN THE WORK:  COMPANY, WITHOUT
INVALIDATING THE CONSTRUCTION AGREEMENT, MAY ORDER EXTRA
WORK OR MAKE CHANGES BY ALTERING, ADDING TO, OR DEDUCTING FROM THE WORK. SUCH CHANGES
SHALL BE EXECUTED UNDER THE CONDITIONS OF THE ORIGINAL CONTRACT DOCUMENTS EXCEPT THAT
ANY CLAIM FOR EXTENSION OF TIME CAUSED THEREBY SHALL BE ADJUSTED AT THE TIME OF
ORDERING SUCH CHANGE.  PRIOR TO THE PERFORMANCE OF ANY EXTRA WORK BY CONTRACTOR,
COMPANY WILL DETERMINE WHICH OF THE METHODS OF PAYMENT DEFINED IN THE CONTRACT
DOCUMENTS WILL BE APPLICABLE.  EXTRA WORK IS ANY WORK PERFORMED WHICH IS BEYOND THE
SCOPE OF THE WORK DEFINED IN THESE CONTRACT DOCUMENTS. EXCEPT IN ANY EMERGENCY
ENDANGERING LIFE OR PROPERTY, NO EXTRA WORK OR CHANGE SHALL BE MADE UNLESS PURSUANT TO
COMPANY'S WRITTEN PURCHASE OR CHANGE ORDER, AND NO CLAIM FOR AN ADDITION TO THE
CONTRACT SUM SHALL BE VALID UNLESS SO ORDERED.

ARTICLE 11. -- COMPANY'S RIGHT TO TERMINATE:

11.1 FOR CAUSE - NOTWITHSTANDING ANYTHING CONTAINED IN THE CONTRACT DOCUMENTS TO THE
CONTRARY, SHOULD CONTRACTOR, IN THE SOLE JUDGMENT OF COMPANY'S DESIGNATED ENGINEER,-
NEGLECT, REFUSE, OR BE UNABLE TO PROSECUTE THE WORK IN A PROPERLY EXPEDIENT AND
WORKMANLIKE MANNER TO THE SATISFACTION OF COMPANY OR FAIL TO PERFORM ANY PROVISIONS OF
THE CONTRACT DOCUMENTS AFTER SEVEN(?) DAYS WRITTEN NOTICE TO CONTRACTOR TO CORRECT THE
SAME, OR SHOULD CONTRACTOR BECOME BANKRUPT OR INSOLVENT, THEN COMPANY MAY, AT ITS
ELECTION AND WITHOUT PREJUDICE TO ANYOTHER REMEDY IT MAY HAVE, MAKE GOOD THE
DEFICIENCIES AND DEDUCT THE COST THEREOF FROM THE PAYMENT THEN OR THEREAFTER DUE
CONTRACTOR; AND IN ADDITION TO THE ABOVE, COMP~Y MAY TERMINATE THIS CONSTRUCTION
AGREEMENT, IN WHICH EVENT CONTRACTOR COVENANTS 'TO PEACEABLY VACATE THE PREMISES. FOR
ANY OF THE FOREGOING PURPOSES, COMPANY MAY TAKE POSSESSION OF ANY OR ALL MATERIALS,
TOOLS, AND EQUIPMENT AND DO THE WORK OR CAUSE THE WORK TO BE DONE BY SUCH MEANS AS IT
SEES FIT, AND IF THE COST OF FINISHING THE WORK EXCEEDS THE CONTRACT PRICE (INCLUDING
ANY ALTERNATES AND CHANGES), SUCH EXCESS SHALL BE PAID BY CONTRACTOR TO COMPANY; BUT
IF SUCH EXPENSE IS LESS THAN SAID CONTRACT PRICE (INCLUDING ANY ALTERNATES AND
CHANGES), COMPANY SHALL PAY THE DIFFERENCE TO CONTRACTOR.

11.2 AT THE CONVENIENCE OF COMPANY - COMPANY SHALL HAVE THE RIGHT TO TERMINATE
CONTRACTOR'S PERFORMANCE OF THIS CONTRACT AT ANY TIME BY WRITTEN NOTICE TO CONTRACTOR.
IN SUCH EVENT, CONTRACTOR SHALL BE ENTITLED TO FULL PAYMENT FOR WORK DONE IN
COMPLIANCE WITH THE TERMS OF THIS CONTRACT UP TO THE TIME OF SUCH TERMINATION,
PROVIDING EVIDENCE SATISFACTORY TO COMPANY IS SUBMITTED SHOWING COMPLIANCE WITH THE
APPLICABLE PROVISIONS OF SECTION 5 HEREOF DEALING WITH PAYMENTS TO SUBCONTRACTORS AND
MATERIAL MEN AND WAIVERS OF LIENS.  SUBJECT TO
SATISFACTORY SETTLEMENT WITH CONTRACTOR FOR WORK PERFORMED UP TO
THE DATE OF TERMINATION, COMPANY, WITH RESPECT TO THE WORK REMAINING TO BE DONE, SHALL
ASSUME THE REASONABLE OBLIGATIONS WHICH CONTRACTOR HAD IN GOOD FAITH UNDERTAKEN
HEREUNDER.

ARTICLE 12. -- COMPANY'S RIGHT TO AUDIT:  COMPANY SHALL
HAVE THE RIGHT, AT ITS SOLE EXPENSE, TO AUDIT CONTRACTOR'S
RECORDS INCLUDING ALL BOOKS, PAPERS, DOCUMENTS, AGREEMENTS,
AND OTHER DATA THAT MAY IN COMPANY'S SOLE JUDGMENT HAVE ANY
BEARING OR PERTAIN TO ANY BUSINESS CONDUCTED BETWEEN THE PARTIES EXCEPT AS CONCERNS
CONTRACTOR'S PROFIT MARGIN ON MERCHANDISE OR SERVICES PURCHASED.  CONTRACTOR SHALL
COOPERATE FULLY IN FURNISHING ALL SUCH REQUESTED RECORDS. ALL AUDITS WILL BE CONDUCTED
IN ACCORDANCE WITH GENERALLY ACCEPTED ACCOUNTING PRINCIPLES.

ARTICLE 13. -- NO ASSIGNMENT: CONTRACTOR SHALL NOT
ASSIGN THIS CONSTRUCTION AGREEMENT NOR ANY PART THEREOF
WITHOUT THE WRITTEN CONSENT OF COMPANY AND NO MONIES DUE OR
TO BECOME DUE HEREUNDER SHALL BE ASSIGNABLE WITHOUT THE
PRIOR WRITTEN CONSENT OF COMPANY.  IN THE EVENT AN
ASSIGNMENT IS MADE WITH THE CONSENT OF COMPANY, CONTRACTOR
SHALL NOT BE RELIEVED FROM THE RESPONSIBILITY HEREUNDER BUT SHALL.REMAIN LIABLE IN THE
SAME MANNER AS IF NO TRANSFER HAD BEEN MADE.

ARTICLE 14. -- DESIGNATED ENGINEER:  COMPANY SHALL FROM
TIME TO TIME DESIGNATE IN WRITING ONE OR MORE "DESIGNATED
ENGINEERS", EACH OF WHOM SHALL HAVE FULL AUTHORITY TO ACT
FOR COMPANY IN ALL MATTERS RELATING TO THIS CONSTRUCTION
AGREEMENT UNTIL NOTICE IS GIVEN TO CONTRACTOR THAT SUCH
AUTHORITY HAS BEEN REVOKED.  CONTRACTOR MAY RELY UPON THE
WRITTEN CERTIFICATION OF ANY VICE PRESIDENT OF COMPANY AS TO THE APPOINTMENT OF A
DESIGNATED ENGINEER OR THE REVOCATION OF HIS AUTHORITY.

ARTICLE 15. -- NOTICES: ALL NOTICES BETWEEN ~HE
PARTIES SHALL BE IN WRITING AND, UNTIL OTHERWISE NOTIFIED,
SHALL BE SERVED OR MAILED TO THE FOLLOWING ADDRESSES:

(A) IN THE CASE OF COMPANY, TO:
CNX Midstream DVCO I LP
Chase Davis
1000 CONSOL Energy Drive
canonsburg, PA 15317
724-485-3801

(B) IN THE CASE OF CONTRACTOR, TO:
APPLIED CONSTRUCTION SOLUTIONS INC
David Alvarez
P.O. Box 430
clarksburg, WV 26301
304-423-8760

ARTICLE 16. --
THIS CONTRACT SHALL BE CONSTRUED IN ACCORDANCE WITH THE
LAWS OF PENNSYLVANIA. ANY AND ALL ACTIONS AT LAW OR
OTHER PROCEEDINGS FOR ANY BREACH OF OR ENFORCEMENT OF
ANY PROVISION OF THIS CONTRACT SHALL BE ONLY IN A STATE OR FEDERAL COURT OF COMPETENT
JURISDICTION LOCATED IN ALLEGHENY OR WASHINGTON COUNTY, PENNSYLVANIA, RESPECTIVELY AND
EACH PARTY HEREBY WAIVES ANY RIGHT TO ANY CHANGE OF VENUE.

ARTICLE 17. -- USE OF COMPANY PROPERTY: THE UNAUTHORIZED
USE OF COMPANY'S PROPERTY IS STRICTLY PROHIBITED. THIS POLICY
APPLIES TO ALL OF COMPANY'S PROPERTY INCLUDING, BUT NOT LIMITED TO, COMPANY'S
COMPUTERS, FILES/PAPERWORK, AND EQUIPMENT. ANY USE, REVIEW, COPYING, DISTRIBUTION,
DISTURBANCE AND/OR REMOVAL OF ANY COMPANY'S PROPERTY IS FORBIDDEN UNLESS PRIOR WRITTEN
AUTHORIZATION IS OBTAINED FROM THE RESPONSIBLE COMPANY'S EMPLOYEE.  IF THIS POLICY IS
NOT ADHERED TO IN EVERY RESPECT,THEN COMPANY SHALL HAVE THE RIGHT TO TERMINATE THIS
CONTRACT WITHOUT ANY FURTHER LIABILITY OR OBLIGATION TO CONTRACTOR.

ARTICLE 18. --INUREMENT. -- THIS CONSTRUCTION AGREEMENT SHALL BE BINDING UPON THE
PARTIES HERETO AND UPON THEIR RESPECTIVE HEIRS, ADMINISTRATORS, SUCCESSORS, AND
ASSIGNS.

ARTICLE 19 - ETHICS AND CONFLICTS OF INTEREST: CONTRACTOR SHALL NOT HIRE ANY EMPLOYEE
OR OFFICER OF COMPANY OR ITS AFFILIATED COMPANIES WHILE THAT EMPLOYEE OR OFFICER IS AN
EMPLOYEE OR OFFICER OF COMPANY.
CONTRACTOR SHALL NOT PAY ANY SALARIES, COMMISSIONS OR FEES, OR MAKE ANY PAYMENTS OR
REBATES, TO ANY EMPLOYEE OR OFFICER OF COMPANY( OR ANY DESIGNEE OF ANY SUCH EMPLOYEE
OR OFFICER, OR FAVOR ANY SUCH EMPLOYEE, OFFICER, OR DESIGNEE WITH GIFTS OR
ENTERTAINMENT OF SIGNIFICANT COST OR VALUE OR WITH SERVICES OR GOODS SOLD AT LESS THAN
FULL MARKET VALUE.
CONTRACTOR'S OBLIGATIONS TO COMPANY UNDER THIS ARTICLE NUMBER 19 SHALL ALSO BE BINDING
UPON ANY SUBCONTRACTORS AND SUB-SUBCONTRACTORS OF THE WORK.

ARTICLE 20- CONTRACTOR BACKGROUND CHECK GUIDELINES (EFFECTIVE JUNE 1, 2013): ALL "A"
AND "B" CONTRACTORS AND THEIR SUBCONTRACTORS, AND ALL CONTRACTORS REQUIRED BY CNX TO
BE MEMBERS OF (ISNETWORLD) AND THEIR SUBCONTRACTORS ARE REQUIRED TO COMPLY WITH THE
CONTRACTOR BACKGROUND CHECK GUIDELINES FOR NEW HIRED EMPLOYEES AS ATTACHED TO THIS
CONTRACT AS EXHIBIT G.
ARTICLE 21 - ALL CONTRACTORS PROVIDING HORIZONTAL DRILLING RIGS,
HYDRAULIC FRACTURING SERVICES AND WATER/WASTE HAULING SERVICE AND THEIR SUBCONTRACTORS
ARE REQUIRED TO COMPLY WITH AIR PERFORMANCE STANDARDS SET FORTH BY THE COALITION FOR
SUSTAINABLE SHALE DEVELOPMENT AS ATTACHED TO THIS CONTRACT AS EXHIBIT H.
WITNESS THE DUE EXECUTION HEREOF AS OF THE DATE FIRST ABOVE WRITTEN.



WITNESS




BY

DIRECTOR
SUPPLY CHAIN MANAGEMENT
CNX RESOURCES CORPORATION

ATTORNEY IN FACT



DATE: _____________________

WITNESS




CONTRACTOR



BY_______________________


DATE: _____________________
         CONSTRUCTION AGREEMENT
X X X X X X X X X X X X X X X X

GENERAL CONDITIONS

1. GENERAL:
THE INTENT OF THESE GENERAL CONDITIONS IS TO SET FORTH THE BASIC ADMINISTRATIVE
PROVISIONS OF AND PROCEDURES UNDER THE AGREEMENTS BETWEEN THE PARTIES.

2. DRAWINGS AND SPECIFICATIONS:

2.1 ANYTHING SHOWN ON THE DRAWINGS OR MENTIONED IN THE SPECIFICATIONS OR OTHER
CONTRACT DOCUMENTS SHALL
HAVE THE SAME EFFECT AS IF SHOWN AND MENTIONED IN
ALL THE DOCUMENTS. ALL DRAWINGS AND SPECIFICATIONS
ARE TO BE CONSIDERED COOPERATIVE. ANY AMBIGUITIES
OR CONFLICTS BETWEEN SAID DOCUMENTS SHALL BE
PROMPTLY CALLED TO THE ATTENTION OF AND RESOLVED BY
COMPANY'S DESIGNATED ENGINEER. ANY SUCH DISCREPANCIES ADJUSTED BY CONTRACTOR WITHOUT
THE APPROVAL OF COMPANY'S DESIGNATED ENGINEER SHALL BE AT CONTRACTOR'S OWN RISK AND
EXPENSE.

2.2 CONTRACTOR SHALL VERIFY ALL DIMENSIONS AND
INFORMATION SET FORTH ON ANY DRAWINGS AND SPECIFICATIONS SUBMITTED TO IT AND SHALL
TAKE ALL NECESSARY FIELD MEASUREMENTS PRIOR TO THE INSTALLATION OF ALL WORK.

2.3 CONTRACTOR SHALL PROVIDE SHOP DRAWINGS AND SUCH
OTHER DRAWINGS AND SPECIFICATIONS AS MAY BE
NECESSARY FOR THE PROSECUTION OF THE WORK IN THE
SHOP AND IN THE FIELD.  SHOP DRAWINGS SHALL BE
DEFINED AS DRAWINGS, DIAGRAMS, ILLUSTRATION
PERFORMANCE DATA, BROCHURES, CERTIFIED EQUIPMENT DRAWINGS, AND OTHER DATA WHICH ARE
PREPARED BY CONTRACTOR OR ANY SUBCONTRACTOR, MANUFACTURER, SUPPLIER, OR DISTRIBUTOR
AND WHICH ARE REQUIRED TO PROPERLY DEFINE SOME PORTION OF THE WORK.

2.4 CONTRACTOR SHALL PROMPTLY REVIEW AND SUBMIT TO COMPANY IN AN ORDERLY SEQUENCE FOUR
APPROVED COPIES OF ALL NECESSARY DRAWINGS AND SPECIFICATIONS.

2.5 BY APPROVING AND SUBMITTING DRAWINGS AND/OR
SPECIFICATIONS, CONTRACTOR THEREBY REPRESENTS THAT
IT HAS DETERMINED AND VERIFIED ALL DESIGN
REQUIREMENTS, ALL FIELD MEASUREMENTS, FIELD
CONSTRUCTION CRITERIA, MATERIALS, CATALOG NUMBERS,
AND SIMILAR DATA AND THAT IT HAS CHECKED AND COORDINATED EACH DRAWING WITH THE
REQUIREMENTS OF THE WORK AND THE CONTRACT DOCUMENTS.

2.6 COMPANY SHALL PROMPTLY REVIEW AND APPROVE DRAWINGS
AND SPECIFICATIONS SO AS TO CAUSE NO DELAY IN THE
WORK. THE APPROVAL OF COMPANY SHALL BE FOR
CONFORMANCE WITH THE DESIGN CONCEPT AND SHALL NOT
RELIEVE CONTRACTOR OF RESPONSIBILITY FOR ANY
DEVIATION FROM THE REQUIREMENTS OF THE CONTRACT
DOCUMENTS NOR SHALL COMPANY'S APPROVAL RELIEVE CONTRACTOR FROM RESPONSIBILITY FOR
ERRORS OR OMISSIONS IN THE DRAWINGS AND SPECIFICATIONS.

2.7 ALL WORK AND PORTIONS THEREOF REQUIRING DRAWING OR SPECIFICATION SUBMISSION
SHALL BE APPROVED BY COMPANY BEFORE COMMENCEMENT.

2.8 CONTRACTOR SHALL MAINTAIN AT THE SITE FOR COMPANY'S USE ONE COPY OF ALL DRAWINGS,
SPECIFICATIONS,
ADDENDA, APPROVED SHOP DRAWINGS, CHANGE ORDERS, AND OTHER MODIFICATIONS IN GOOD ORDER
AND MARKED TO RECORD ALL CHANGES MADE DURING CONST.RUCTION.

2.9 UPON COMPLETION OF THE WORK, CONTRACTOR SHALL
DELIVER TO COMPANY ONE REPRODUCIBLE SET OF AS-BUILT
DRAWINGS. ALL DESIGN DRAWINGS AND SHOP DRAWINGS SUPPLIED BY CONTRACTOR SHALL BECOME
THE PROPERTY OF
COMPANY, AND COMPANY SHALL BE ENTITLED TO USE ALL
OR ANY PORTION OF THE DRAWINGS FOR ANY PURPOSE,
INCLUDING THE DUPLICATION OF FACILITIES UNDER CONSTRUCTION OR THE CONSTRUCTION OF ANY
NEW PLANT OR FACILITY.

2.10 ALL OFFICE STANDARDS AND PROCEDURES OF CONTRACTOR
FOR PREPARATION AND HANDLING OF DRAWINGS AND
SPECIFICATIONS ARE SUBJECT TO REVIEW AND APPROVAL
BY COMPANY.  CONTRACTOR SHALL MAKE ALL DRAWINGS ON DRAWING SHEETS THAT SHALL INCLUDE
COMPANY'S STANDARD TITLE BLOCK FORMAT.

3. BENCH MARKS AND REFERENCE POINTS:
WORK SITE:  COMPANY SHALL PROVIDE ANY REQUIRED BENCH
MARKS AND REFERENCE POINTS.   CONTRACTOR SHALL CAREFULLY
PRESERVE SAME.  SHOULD.SAID BENCH MARKS AND REFERENCE
POINTS BE DESTROYED DUE TO CONTRACTOR'S CONDUCT,
CONTRACTOR SHALL BE CHARGED WITH THE RESULTING EXPENSE
OF REESTABLISHING THE SAME.   CONTRACTOR SHALL ALSO BE
RESPONSIBLE FOR ANY CONSTRUCTION MISTAKES ARISING FROM
THE DESTRUCTION OR LOSS OF SAID MARKS AND POINTS. ALL
LINES AND LEVELS NECESSARY TO THE LOCATION AND
CONSTRUCTION OF THE WORK UNDER THE CONTRACT DOCUMENTS
SHALL BE ESTABLISHED AND MAINTAINED FROM SAID BENCH
MARKS AND REFERENCE POINTS AND CERTIFIED BY A COMPETENT
REGISTERED SURVEYOR OR ENGINEER WHO SHALL BE EMPLOYED
AND PAID BY CONTRACTOR.   CONTRACTOR SHALL COMPARE
CAREFULLY ALL LEVELS GIVEN ON DRAWINGS WITH EXISTING
LEVELS AND SHALL CALL ATTENTION TO DISCREPANCIES BEFORE
PROCEEDING WITH THE WORK.   CONTRACTOR SHALL CONFINE ALL
ITS ACTIVITIES AND OPERATIONS TO SUCH CONTRACT DOCUMENTS OR AS DESIGNATED FROM TIME TO
TIME BY COMPANY'S DESIGNATED ENGINEER.

4. UTILITIES AND SERVICES FURNISHED BY COMPANY:
WHEN ELECTRIC CURRENT, WATER, GAS, OR OTHER UTILITIES OR
SERVICES ARE FURNISHED BY COMPANY, COMPANY ASSUM~S NO
RESPONSIBILITY OR LIABILITY FOR LOSS OF OR DAMAGE TO THE
EQUIPMENT OR MATERIALS OF CONTRACTOR, OR SUBCONTRACTORS,
IF ANY, RESULTING DIRECTLY OR INDIRECTLY FROM THE USE OF
SAME BY CONTRACTOR OR SUBCONTRACTOR. COMPANY IS NOT
OBLIGATED TO FURNISH ANY SUCH UTILITIES OR SERVICES UNLESS SPECIFICALLY REQUIRED TO
PROVIDE THE SAME BY THE CONTRACT DOCUMENTS.

5. NON-DISCLOSURE:
ALL CONTRACT DOCUMENTS AND/OR INFORMATION FURNISHED
HEREWITH SHALL BE HELD CONFIDENTIAL AND SHALL NOT BE
USED BY CONTRACTOR FOR ANY PURPOSE OTHER THAN THOSE FOR WHICH THEY HAVE BEEN SUPPLIED
OR PREPARED.

6. COOPERATION; COORDINATION:
CONTRACTOR AND ITS SUBCONTRACTORS, IF ANY, SHALL
COOPERATE WITH COMPANY AND OTHER CONTRACTORS, IF ANY, ON
THE PREMISES AND SHALL SO CARRY ON THEIR WORK THAT OTHER COOPERATING CONTRACTORS SHALL
NOT BE HINDERED, DELAYED,
OR INTERFERED WITH IN THE PROGRESS OF THEIR WORK, AND SO THAT ALL OF SUCH WORK SHALL
BE A FINISHED AND COMPLETE
JOB OF ITS KIND.  CONTRACTOR SHALL AFFORD TO COMPANY AND
SAID OTHER CONTRACTORS REASONABLE OPPORTUNITY FOR THE
INTRODUCTION AND STORAGE OF MATERIALS AND FOR THE
EXECUTION OF THEIR WORK.   CONTRACTOR SHALL AT ALL TIMES
PROPERLY CONNECT AND COORDINATE ITS WORK WITH THE WORK
OF COMPANY AND OTHER CONTRACTORS.  IF ANY PART OF THE CONTRACTOR'S WORK DEPENDS FOR
PROPER EXECUTION AND
RESULTS UPON THE WORK OF COMPANY OR ANY OTHER
CONTRACTOR, CONTRACTOR SHALL INSPECT AND REPORT TO COMPANY ANY DEFECTS IN SUCH WORK
THAT RENDER IT UNSUITABLE FOR PROPER EXECUTION AND RESULTS.
CONTRACTOR'S FAILURE TO INSPECT AND REPORT SUCH WORK
SHALL CONSTITUTE AN ACCEPTANCE BY IT OF THE SAME.   IN
THE EVENT A DEFECT DEVELOPS OR IS DISCOVERED AFTER
COMPLETION OF SUCH WORK BY COMPANY OR SUCH OTHER
CONTRACTORS, CONTRACTOR SHALL IMMEDIATELY REPORT TO
COMPANY IN WRITING SUCH DEFECT. ANY CONTROVERSY WHICH
MAY DEVELOP BETWEEN ANY TWO OR MORE CONTRACTORS WITH
RESPECT TO WHETHER OR NOT WORK HAS BEEN PROPERLY
EXECUTED WILL BE DETERMINED BY COMPANY WHOSE D~CISION
WILL BE FINAL AND BINDING UPON ALL PARTIES.   SIMILAR
PROVISIONS WILL BE INCLUDED IN COMPANY'S CONTRACTS FOR
OTHER WORK IN THE AREA. AT REGULAR INTERVALS OR AT SUCH
TIMES AND PLACES AS COMPANY'S DESIGNATED ENGINEER MAY
DIRECT, MEETINGS SHALL BE HELD OF THE VARIOUS
CONTRACTORS AND SUBCONTRACTORS ENGAGED IN THE PROJECT FOR THE PURPOSE OF FURTHERING
THE PROGRESS.OF THE WORK. WHERE CONTRACTORS OR•THEIR REPRESENTATIVES FAIL TO
ATTEND SUCH MEETINGS OR TO EXECUTE ORDERS GIVEN THEM,
SUCH REPRESENTATIVES SHALL BE DISMISSED FROM THE WORK
WITHIN 12 HOURS AFTER REQUEST FOR DISMISSAL BY SAID
DESIGNATED ENGINEER; AND OTHER REPRESENTATIVES SHALL BE
IMMEDIATELY SUBSTITUTED, OR WHEN APPROPRIATE IN THE OPINION OF COMPANY, THE
CONSTRUCTION AGREEMENT MAY BE TERMINATED.

7.  INSPECTION:
COMPANY SHALL AT ALL TIMES HAVE THE RIGHT TO INSPECT THE
WORK WHEREVER IT IS IN PREPARATION OR PROGRESS.TO
DETERMINE IF THE SAME IS IN ACCORDANCE WITH THE CONTRACT
DOCUMENTS AND TO EVALUATE THE WORK IN CONNECTION WITH
PAYMENTS, AND CONTRACTOR SHALL PROVIDE SAFE AND PROPER FACILITIES FOR ACCESS AND
INSPECTION. WHEN WORK IS
BEING DONE AWAY FROM THE PREMISES, CONTRACTOR ?HALL GIVE
COMPANY'S DESIGNATED ENGINEER REASONABLE NOTICE OF THE
TIME AND PLACE WHERE SUCH WORK IS TO BE DONE ~D ALSO
WHEN THE SAME WILL BE AVAILABLE FOR INSPECTION; SO THAT
COMPANY'S DESIGNATED ENGINEER MAY, IF HE SO DEyiRES,
INSPECT THE SAME FROM TIME TO TIME BEFORE DELIVERY TO
THE PREMISES.   IF COMPANY'S DESIGNATED ENGINEE~ DEEMS IT INEXPEDIENT TO CORRECT WORK
DAMAGED OR NOT DONE IN
ACCORDANCE WITH THE CONTRACT DOCUMENTS, AN EQUITABLE
DEDUCTION SHALL BE MADE FROM THE PRICE. NO FAILURE OF
COMPANY'S DESIGNATED ENGINEER DURING THE PROGR~SS OF THE
WORK TO DISCOVER OR REJECT MATERIALS.OR WORK N0T IN
ACCORDANCE WITH THE CONTRACT DOCUMENTS SHALL BE DEEMED AN ACCEPTANCE THEREOF OR A
WAIVER OF DEFECTS THEREIN.

8.  PROTECTION OF WORK AND MATERIALS:
FROM THE COMMENCEMENT TO THE COMPLETION OF EVERY PART OF
THE WORK, ALL WORK AND MATERIALS UPON OR NEAR THE
PREMISES, WHETHER OR NOT INCORPORATED INTO THE WORK,
SHALL BE DEEMED TO BE AND SHALL BE THE PROPERTY OF
COMPANY. HOWEVER, SUCH.MATERIALS SHALL BE IN THE CARE,
CUSTODY, AND CONTROL OF CONTRACTOR, AND IT SHA~L BE THE
RESPONSIBILITY OF CONTRACTOR TO PROTECT AND PRESERVE THE
SAME. CONTRACTOR SHALL BE RESPONSIBLE FOR ANY ~UCH
MATERIAL WHICH IS LOST, STOLEN, DAMAGED, DESTROYED, OR
INJURED RESULTING FROM CONTRACTOR'S FAILURE TO PROTECT THE PROPERTY, INCLUDING BUT NOT
LIMITED TO DIRECT LOSS FROM WEAR, GRADUAL DETERIORATION AND CHANGES IN TEMPERATURE.
9. REPORTING ACCIDENTS:
CONTRACTOR SHALL IMMEDIATELY REPORT TO COMPANY·, S
DESIGNATED ENGINEER ALL ACCIDENTS AND INJURIES IN ANY
WAY RELATED TO CONTRACTOR'S OR ANY SUBCONTRACTOR'S
OPERATIONS ON THE PREMISES. IN THOSE CASES WHERE ACCIDENT
REPORTS ARE FURNISHED TO LOCAL AND/OR STATE BUREAUS, AS
APPLICABLE, CONTRACTOR SHALL ALSO FURNISH A COPY TO
COMPANY'S DESIGNATED ENGINEER.  CONTRACTOR SHALL INCLUDE
ITS OWN STATISTICS AND STATISTICS ON ITS SUBCONTRACTORS IN ITS MAN HOURS WORKED
SUBMISSIONS TO COMPANY'S CONSULTANT ISNETWORLD.

10. SAFETY DEVICES:
CONTRACTOR SHALL EQUIP THE WORK COVERED BY TBE CONTRACT
DOCUMENTS WITH ALL PROPER SAFETY DEVICES FOR THE
PROTECTION OF WORKMEN AND SHALL PROVIDE SUITABLE,
REMOVABLE SAFETY GUARDS FOR ALL EXPOSED MOVING PARTS,
SUCH AS GEARS, ROLLER CHAINS, BELTS, BRAKE WHEELS,
COUPLINGS, AND THE LIKE.  CONTRACTOR WARRANTS THAT THE
COMPLETED WORK WILL MEET THE OPERATING REQUIREMENTS OF,
AND BE IN CONFORMITY WITH ANY AND ALL APPLICABLE FEDERAL, STATE, AND LOCAL LAWS,
RULES, REGULATIONS, AND ORDINANCES.

ALL SIDE-BOOM DOZERS FOR PIPELINE PROJECTS MUST BE EQUIPPED WITH ROLLOVER PROTECTION.

11. FAIR LABOR STANDARDS ACT:
CONTRACTOR AGREES TO PAY THE PERSONS EMPLOYED ~y IT AND TO REQUIRE EACH SUBCONTRACTOR
TO PAY THE PERSONS EMPLOYED BY IT IN PERFORMING THE CONSTRUCTION AGREEMENT IN
ACCORDANCE WITH THE REQUIREMENTS OF THE FAIR LABOR STANDARDS ACT OF
1938, AS AMENDED, AND TO KEEP ALL SUCH RECORDS AS ARE
REQUIRED BY SUCH ACT. CONTRACTOR CERTIFIES THAT ALL
GOODS NOW IN ITS POSSESSION, WHICH ARE TO BE USED IN
CARRYING OUT THE PROVISIONS OF THE CONSTRUCTION
AGREEMENT, WERE PRODUCED IN COMPLIANCE WITH ALL THE
APPLICABLE REQUIREMENTS OF SECTIONS 6, 7, AND 12 OF THE
FAIR LABOR STANDARDS ACT OF 1938, AS AMENDED, AND OF
REGULATIONS AND ORDERS OF THE ADMINISTRATOR OF THE WAGE AND HOUR DIVISION ISSUED UNDER
SECTION 14 THEREOF.
CONTRACTOR AGREES THAT AT THE TIME GOODS NOT NOW IN ITS
POSSESSION ARE FURNISHED TO COMPANY IN CARRYING OUT THE
PROVISIONS OF THE CONSTRUCTION AGREEMENT, IT WILL FURNISH COMPANY WITH SIMILAR
CERTIFICATIONS OF COMPLIANCE WITH RESPECT TO SUCH GOODS.

12. WORKABLE SYSTEM:
ALL INSTALLATIONS SHALL BE MADE SUCH THAT THE COMPONENT
PARTS WILL FUNCTION TOGETHER AS A WORKABLE SYSTEM,
COMPLETE WITH ALL ACCESSORIES NECESSARY FOR ITS
OPERATION, AND SHALL BE LEFT WITH ALL EQUIPMENT PROPERLY
ADJUSTED AND IN WORKING ORDER. THE WORK SHALL BE
EXECUTED IN CONFORMITY WITH BEST PRACTICE AND SO AS TO
CONTRIBUTE TO THE EFFICIENCY OF OPERATION, MINIMUM
MAINTENANCE, ACCESSIBILITY, AND APPEARANCE, AND SO THAT
THE INSTALLATION WILL CONFORM AND ACCOMMODATE ITSELF TO THE BUILDING STRUCTURE,
BUILDING AND PROCESS EQUIPMENT, AND USAGE.

13. TURNKEY:
IF THE TERM "TURNKEY" OR "TURNKEY CONTRACT" IS USED IN
THE CONTRACT DOCUMENTS (AND SUCH TERM IS NOT MODIFIED OR
OTHERWISE DEFINED), IT SHALL MEAN THAT CONTRACTOR FOR
THE CONSIDERATION STATED, SHALL FURNISH ALL MATERIALS
AND LABOR AND DO ALL WORK REQUIRED TO COMPLETE THE
FACILITY IN A WORKMANLIKE MANNER, PUT THE FACILITY TO
USE OR INTO PRODUCTION, AND TURN IT OVER TO CO~PANY
TESTED AND READY TO "TURN THE KEY".  CONTRACTOR SHALL
MAKE SUFFICIENT TEST RUNS TO DETERMINE THAT THE FACILITY
MEETS THE STANDARDS SET FORTH IN THE CONTRACT DOCUMENTS
AND SHALL BE RESPONSIBLE FOR ANY ADJUSTMENTS WHICH MAY
BE NECESSARY DURING THE FIRST YEAR OF OPERATION TO ASSURE THAT THE FACILITY PERFORMS
IN ACCORDANCE WITH SAID STANDARDS.

14. HAZARDS:
CONTRACTOR SHALL ANTICIPATE THE HAZARDS OF INCLEMENT
WEATHER, FLOOD WATER CONDITIONS, AND THE GENERAL RISKS
OF THIS TYPE OF CONSTRUCTION TO THE END THAT PERSONNEL
AND PROPERTY WILL BE PROTECTED AND THE INCIDENTAL
HINDRANCES AND DELAYS WILL NOT JEOPARDIZE THE COMPLETION
ON SCHEDULE.  IT IS UNDERSTOOD AND MUTUALLY AGREED THAT ANY UNUSUAL EXPENDITURE FOR
PROTECTIVE EQUIPMENT AND OPERATION SHALL BE PROVIDED FOR IN THE CONTRACT PRICE.
WHILE ON COMPANY'S PROPERTY, CONTRACTOR, ITS EMPLOYEES,
AGENTS, AND SUBCONTRACTORS, SHALL COMPLY WITH ALL RULES, DIRECTIVES, POSTED SIGNS, AND
BULLETINS RELATING TO HAZARD AVOIDANCE AND SAFE WORK PRACTICES.

15. USE OF COMPLETED PORTION:
COMPANY SHALL HAVE THE RIGHT TO TAKE POSSESSION OF AND
USE ANY COMPLETED OR PARTIALLY COMPLETED PORTIONS OF THE
WORK, WHETHER OR NOT THE TIME FOR COMPLETING THE ENTIRE
WORK OR SUCH PORTIONS MAY HAVE EXPIRED, BUT SUCH TAKING
POSSESSION AND USE SHALL NOT BE DEEMED AN ACCEPTANCE OF
ANY WORK NOT COMPLETED IN ACCORDANCE WITH THE CONTRACT
DOCUMENTS.  IF SUCH PRIOR USE INCREASES THE COST OF OR
DELAYS THE WORK, CONTRACTOR SHALL BE ENTITLED TO SUCH EXTRA COMPENSATION AND/OR
EXTENSION OF TIME AS COMPANY'S DESIGNATED ENGINEER MAY DETERMINE.

16. SUPERINTENDENCE:
CONTRACTOR SHALL CAUSE THE WORK TO BE SUPERVISED AT ALL
TIMES BY A JOB SUPERINTENDENT. IF THE JOB
SUPERINTENDENT PROVES UNSATISFACTORY TO COMPANY, HE SHALL BE PROMPTLY REPLACED UPON
REQUEST OF COMPANY.

17. HOUSEKEEPING:
CONTRACTOR SHALL STORE MATERIALS AND EQUIPMENT IN AN
ORDERLY MANNER AND SHALL KEEP THE PREMISES AT ALL TIMES
IN A CLEAN AND SANITARY CONDITION, FREE FROM DEBRIS AND
OBSTRUCTIONS. UPON COMPLETION OF THE WORK, CONTRACTOR
SHALL REMOVE ALL TEMPORARY BUILDINGS OR FACILITIES
ERECTED BY CONTRACTOR AND ITS SUBCONTRACTORS, ALL
CONSTRUCTION EQUIPMENT, SURPLUS MATERIALS, AND SUPPLIES
BELONGING TO CONTRACTOR OR SUBCONTRACTORS, AND SHALL LEAVE THE PREMISES AND THE WORK
IN PERFECT ORDER, CLEAN, SANITARY, AND READY FOR USE.

18. WAIVER OF BREACH:
ANY FAILURE BY COMPANY AT ANY TIME, OR FROM TIME TO
TIME, TO ENFORCE OR REQUIRE PERFORMANCE IN ACCORDANCE
WITH THE STRICT CONDITIONS OF THE CONTRACT DOCUMENTS,
SHALL NOT CONSTITUTE A WAIVER BY COMPANY OF ANY B~EACH
OF ANY SUCH TERMS OR CONDITIONS AND SHALL NOT AFFECT OR
IMPAIR SUCH TERMS OR CONDITIONS IN ANY WAY, OR THE RIGHT
OF COMPANY AT ANY TIME TO AVAIL ITSELF OF SUCH REMEDIES AS IT MAY HAVE FOR ANY SUCH
BREACH OR BREACHES OF SUCH TERMS OR CONDITIONS.

19. TIME OF THE ESSENCE: SCHEDULES, FORCE MAJEURE:
UNLESS SPECIFICALLY WAIVED BY COMPANY IN WRITING, ALL
TIMES FOR PERFORMANCE BY CONTRACTOR WHETHER SPECIFIED IN
ARTICLE 3 OF THE CONSTRUCTION AGREEMENT, IN THIS CLAUSE
OR ELSEWHERE IN THE CONTRACT DOCUMENTS SHALL BE OF THE
ESSENCE.  IT IS UNDERSTOOD AND AGREED THAT THE
SCHEDULING, COMPLETION, AND DELIVERY OF THE WORK
,
    HEREUNDER SHALL BE FACILITATED THROUGH THE USE OF THE
    PRECEDENCE DIAGRAM, CRITICAL PATH, PERT, OR OTHER METHOD
    AGREEABLE TO COMPANY.  CONTRACTOR AGREES TO FURNISH
    COMPANY A COMPLETE CHART OF THE WORK SCHEDULE PREPARED BY SUCH METHOD AND TO PROMPTLY
    ADVISE COMPANY OF ANY
    TIME THE WORK FALLS MORE THAN ONE WEEK BEHIND SCHEDULE.
    IN THE EVENT THE WORK IS, AT ANY TIME, MORE T~ ONE
    WEEK BEHIND, CONTRACTOR AGREES TO ADD, AT ITS OWN
    EXPENSE, SUFFICIENT MAN-HOURS, MATERIAL, MACHINERY,
    SUPPLIES, AND EQUIPMENT SO THAT WITHIN ONE WEEK THE WORK
    WILL BE RETURNED TO ITS SCHEDULED TIME.   IN THE EVENT
    ALL WORK IS NOT COMPLETED ON OR BEFORE THE AGREED
    COMPLETION DATE AS SET FORTH IN THE CONSTRUCTION
    AGREEMENT, THE CONTRACTOR SHALL BEAR ALL ESCALATION
    COSTS RELATING TO MATERIAL AND/OR LABOR WAGE RATES
    INCURRED SUBSEQUENT TO THE COMPLETION DATE.   SHOULD THE
    PROGRESS OF THE WORK BE UNDULY DELAYED DUE TO NEGLIGENCE
    OR DEFAULT ON THE PART OF COMPANY, STRIKES AT THE JOB
    SITE OR IN THE SHOPS OF A SUPPLIER, FIRE., FLOODS, ACTS
    OF GOVERNMENT, ACTS OF GOD, OR ANY UNPREVENTABLE
    ACCIDENT, CONTRACTOR SHALL HAVE THE RIGHT TO CLAIM
    EXTENSION OF THE AGREED COMPLETION DATE; PROVIDED,
    HOWEVER, THAT ANY SUCH CLAIM SHALL NOT BE HONORED UNLESS
    NOTICE THEREOF IS DELIVERED IN WRITING TO COMPANY'S
    DESIGNATED ENGINEER; NOR SHALL ANY EXTENSION BE GRANTED FOR ANY PERIOD OF DELAY
    OCCURRING MORE THAN 72 HOURS
    PRIOR TO THE TIME COMPANY RECEIVES NOTICE OF THE CLAIM.

    20. DISCRIMINATION CLAUSE EXECUTIVE ORDER 11246, DATED SEPTEMBER 24, 1965:
    THE ARTICLES, MATERIALS, AND/OR SERVICES COVERED BY THIS
    ORDER ARE TO BE PRODUCED, FURNISHED, AND BILLED IN
    COMPLIANCE WITH ALL APPLICABLE LAWS, PROCLAMATIONS,
    ORDERS, RULES, AND REGULATIONS, INCLUDING WITHOUT LIMITATION, EXECUTIVE ORDER 11246,
    SIGNED BY THE
    PRESIDENT OF THE UNITED STATES OF AMERICA ON SEPTEMBER 24, 1965, AS AMENDED, AND THE
    RULES, REGULATIONS, AND ORDERS ISSUED THEREUNDER.

    DURING THE PERFORMANCE OF THE CONSTRUCTION AGREEMENT,
    AND TO THE EXTENT REQUIRED BY EXECUTIVE ORDER 11246, OR BY ANY CONTRACT BETWEEN
    COMPANY AND ANY GOVERNMENT CONTRACTING AGENCY, THE CONTRACTOR AGREES AS FOLLOWS:

    CONTRACTOR SHALL NOT DISCRIMINATE AGAINST ANY EMPLOYEE
    OR APPLICANT FOR EMPLOYMENT BECAUSE OF RACE, CREED, SEX,
    RELIGION, COLOR, OR NATIONAL ORIGIN. CONTRACTOR WILL
    TAKE AFFIRMATIVE ACTION TO ENSURE THAT APPLICANTS ARE
    EMPLOYED AND THAT EMPLOYEES ARE TREATED, DURING
    EMPLOYMENT WITHOUT REGARD TO THEIR RACE, CREED, SEX, RELIGION, COLOR, OR NATIONAL
    ORIGIN. SUCH ACTION SHALL INCLUDE, BUT NOT BE LIMITED TO THE FOLLOWING:
    EMPLOYMENT, UPGRADING, DEMOTION OR TRANSFER, RECRUITMENT
    OR RECRUITMENT ADVERTISING, LAYOFF OR TERMINATION, RATES
    OF PAY OR OTHER FORMS OF COMPENSATION AND SELECTION FOR
    TRAINING, INCLUDING APPRENTICESHIP. CONTRACTOR AGREES
    TO POST IN CONSPICUOUS PLACES, AVAILABLE TO EMPLOYEES
    AND APPLICANTS FOR EMPLOYMENT, NOTICES TO BE PR,OVIDED BY THE CONTRACTING OFFICER
    SETTING FORTH THE PROVISIONS OF THIS NON-DISCRIMINATION CLAUSE.

    CONTRACTOR SHALL, IN ALL SOLICITATIONS OR ADVERTISEMENTS
    FOR EMPLOYEES PLACED BY OR ON BEHALF OF CONTRAC:TOR,
    STATE THAT ALL QUALIFIED APPLICANTS WILL RECEI~
    CONSIDERATION FOR EMPLOYMENT WITHOUT REGARD TO RACE, CREED, SEX, RELIGION, COLOR, OR
    NATIONAL ORIGIN.

    CONTRACTOR SHALL SEND TO EACH LABOR UNION OR
REPRESENTATIVE OF WORKERS WITH WHICH IT HAS A COLLECTIVE
BARGAINING AGREEMENT OR OTHER CONTRACT OR UNDERSTANDING,
A NOTICE TO BE PROVIDED BY THE AGENCY CONTRACTING
OFFICE, ADVISING THE LABOR UNION OR WORKERS'
REPRESENTATIVE OF CONTRACTOR'S COMMITMENTS UNDER SECTION
202 OF EXECUTIVE ORDER 11246 OF SEPTEMBER 24, 1965, AND
SHALL POST COPIES OF THE NOTICE IN CONSPICUOUS PLACES
AVAILABLE TO EMPLOYEES AND APPLICANTS FOR EMPLOYMENT.

CONTRACTOR SHALL COMPLY WITH ALL PROVISIONS OF EXECUTIVE
ORDER 11246 OF SEPTEMBER 24, 1965, AND OF THE RULES, REGULATIONS, AND RELEVANT ORDERS
OF THE SECRETARY OF LABOR.

CONTRACTOR SHALL FURNISH ALL INFORMATION AND REPORTS
REQUIRED BY EXECUTIVE ORDER 11246 OF SEPTEMBER 24, 1965,
AND BY THE RULES, REGULATIONS, AND ORDERS OF THE
SECRETARY OF LABOR, OR PURSUANT THERETO, AND SHALL
PERMIT ACCESS TO ITS BOOKS, RECORDS, AND ACCOUNTS BY THE
CONTRACTING AGENCY AND THE SECRETARY OF LABOR FOR PURPOSES OF INVESTIGATION TO
ASCERTAIN COMPLIANCE WITH SUCH RULES, REGULATIONS, AND ORDERS.

IN THE EVENT OF THE CONTRACTOR'S NON-COMPLIANCE WITH THE
NON-DISCRIMINATION CLAUSES SET FORTH HEREIN OR WITH ANY
SUCH RULES, REGULATIONS, OR ORDERS, THE CONSTRUCTION
AGREEMENT MAY BE CANCELED, TERMINATED, OR SUSPENDED IN
WHOLE OR IN PART, AND THE CONTRACTOR MAY BE DECLARED
INELIGIBLE FOR FURTHER GOVERNMENT CONTRACTS IN
ACCORDANCE WITH PROCEDURES AUTHORIZED IN EXECUTIVE ORDER
11246 OF SEPTEMBER 24, 1965, AND SUCH OTHER SANCTIONS
MAY BE IMPOSED AND REMEDIES INVOKED AS PROVIDED IN
EXECUTIVE ORDER 11246 OF SEPTEMBER 24, 1965, OR BY RULE, REGULATION, OR ORDER OF THE
SECRETARY OF LABOR, OR AS OTHERWISE PROVIDED BY LAW.

CONTRACTOR SHALL INCLUDE THE PROVISIONS OF THE PRECEDING
PARAGRAPHS IN EVERY SUBCONTRACT OR PURCHASE ORDER UNLESS
EXEMPTED.BY RULES, REGULATIONS, OR ORDER OF THE
SECRETARY OF LABOR ISSUED PURSUANT TO SECTION 204 OF
EXECUTIVE ORDER 11246 OF SEPTEMBER 24, 1965, SO THAT
SUCH PROVISIONS WILL BE BINDING UPON EACH SUBC~NTRACTOR
OR VENDOR.  CONTRACTOR SHALL TAKE SUCH ACTION WITH
RESPECT TO ANY SUBCONTRACT OR PURCHASE ORDER AS THE CONTRACTING AGENCY MAY DIRECT AS A
MEANS OF ENFORCING SUCH PROVISIONS INCLUDING SANCTIONS FOR NON-COMPLIANCE.
PROVIDED HOWEVER, THAT IN THE EVENT CONTRACTOR BECOMES
INVOLVED IN, OR IS THREATENED WITH, LITIGATION WITH A
SUBCONTRACTOR OR VENDOR AS A RESULT OF SUCH DIRECTION BY
THE CONTRACTING AGENCY, CONTRACTOR MAY REQUEST THE UNITED STATES TO ENTER INTO SUCH
LITIGATION TO PROTECT THE INTERESTS OF THE UNITED STATES.

TO THE EXTENT REQUIRED BY EXECUTIVE ORDER 11246 AND ANY
RULES OR REGULATIONS OR ORDERS ISSUED THEREUNDER, OR ANY
CONTRACTS BETWEEN COMPANY AND ANY GOVERNMENT CONTRACTING
AGENCY, CONTRACTOR AGREES TO DEVELOP, SIGN, AND MAINTAIN
A WRITTEN AFFIRMATIVE ACTION COMPLIANCE PROGRAM FOR EACH
OF ITS ESTABLISHMENTS AND TO FILE COMPLETE AND ACCURATE REPORTS ON STANDARD FORM 100
 (EE 01), OR SUCH FORM AS MAY BE PROMULGATED IN ITS PLACE.

21. SUBSTANCE ABUSE:  CONTRACTOR, ITS EMPLOYEES, AGENTS, AND
SUBCONTRACTORS MUST HAVE A DRUG AND ALCOHOL TE9TING PROGRAM THAT
SHALL, AT A MINIMUM, MEET THE REQUIREMENTS SET FORTH IN THE ATTACHED
EXHIBIT E.  CONTRACTOR IS RESPONSIBLE FOR COMPLIANCE BY ITS EMPLOYEES, AGENTS, AND
SUBCONTRACTORS WITH SUCH SUBSTANCE ABUSE REQUIREMENTS.
CONTRACTOR SHALL ENSURE THAT NONE OF ITS EMPLOYEES OR AGENTS, OR THE EMPLOYEES OR
AGENTS OF ANY SUBCONTRACTOR, SHALL EITHER POSSESS OR USE ALCOHOLIC BEVERAGES, ILLEGAL
I


    DRUGS OR DRUG PARAPHERNALIA WHILE ON COMPANY'S PROPERTY OR COME ONTO COMPANY'S
    PROPERTY WHILE UNDER THE INFLUENCE OF ALCOHOL OR ILLEGAL DRUGS. COMPANY SHALL HAVE THE
    RIGHT TO EJECT FROM COMPANY'S PROPERTY ANY PERSON WHO IS INTOXICATED OR UNDER THE
    INFLUENCE OF ILLEGAL DRUGS OR WHO HAS IN HIS POSSESSION, WHILE ON COMPANY PROPERTY,
    ANY ALCOHOLIC BEVERAGE OR ILLEGAL DRUG OR DRUG PARAPHERNALIA.

    22.PERSONAL PROTECTIVE EQUIPMENT REQUIREMENTS:

    CONTRACTOR, ITS EMPLOYEES, AGENTS, AND SUBCONT~CTORS MUST COMPLY WITH THE PERSONAL
    PROTECTIVE EQUIPMENT REQUIREMENTS ATTACHED TO THIS CONTRACT AS EXHIBIT F. CONTRACTOR
    IS RESPONSIBLE FOR COMPLIANCE BY ITS EMPLOYEES, AGENTS, AND SUBCONTRACTORS WITH
    COMPANY'S PERSONAL PROTECTIVE EQUIPMENT REQUIREMENTS.   IF REQUIRED ON A PROJECT BY
    PROJECT BASIS, CONTRACTOR WILL PROVIDE A FULL T.IME SAFETY SUPERVISOR FOR PROJECT.

    EXHIBIT A - COST BREAKDOWN OF PRQJECT SCOPE OF WORK (INSERT OR LIST LINE ITEMS)

    Line Item Description Unit Qty. Unit Cost
    1 Mob/Demob   Subtotal
    1.1 Mobilization LS 1 $525,000
    1.2 Demobilization LS 1 $55,000

    2 Civil I Structural
    2.1 Survey Support LS 1 $23,000
    2.2 Foundations for 72" Horizontal Type Slug Catchers ea. 2 $3,508
    2.3 Foundations for Filter Separators (42" & 48") ea. 5 $16,836
    2.4 Foundations for 72" Contact Tower ea. 2 $28,175
    2.5 Foundations for 3608 Engine & Compressor ea. 5 $255,128
    2.6 Deep Foundations for 3608 Engine & Compressor ea. 1 $713,345
    2.7 Foundations for Glycol Regenerator and Thermal Oxidizer ea. 1 $563,385
    2.8 Compressor Building Foundations LS 1 $0
    2.9 Foundations for MCC Building & Instrument Air Buidling LS 1 $104,880
    2.10 Foundations for Generator ea. 1 $26,680
    2.11 Pipe supports & racks and foundations LS 1 $86,940
    2.12 Cable Trays and foundations LS 1 $144,900
    2.13 Excavation and Backfill for steel pipe LS I $0
    2.14 Excavation and backfill for electrical conquits LS 1 $0
    2.15 Flowable Fill for electrical conduits & below grade pipe LS 1 $0
    2.16 Below Grade Sleepers LS 1 $0
    2.17 Misc. Foundations - Bollards, Stair Pads, Sonotubes, Light poles, Equipment
    Racks, etc.. LS 1 $11,500
    2.18 Filter Separator Platforms - Material/Fabrication/Installation LS 1 $0
    2.19 Tank Sand Base and Containments LS 1 $186,472
    2.20 Final Pad Grading including fabric and stone installation LS 1 $0
    2.21 Fence LS 1 $0

    3 Mechanical
    3.1 Off loading and setting Filters & Slug Catcher LS 1 $150,000
    3.2 Off Loading and setting Contact Tower , Regen, & Thermal Oxidizer LS 1 $200,000
    3.3 Off Loading and setting Compressors LS 1 $800,000
    3.4 Off Loading and setting MCC Building, Air Building, and Generator LS 1 $100,000
    3.5 Fabrication, Testing, and Coating of pipe/valves/fittings that are 2" and smaller
    ND LS 1 $290,000
    3.6 Fabrication, Testing, and Coating of pipe/valves/fittings that are greater than
    2" ND LS 1 $700,000
    3.7 Installation of pipe/valves/fittings that are 2" and smaller ND LS 1 $500,000
    3.8 Installation of pipe/valves/fittings that are greater than 2" ND LS 1 $2,400,000
    3.9 Field Hydro testing - Includes Drying on Discharge Lines,Fuel Gas, and Instrument
    Air LS 1 $400,000
    3.10 Compressor unit Assembly - Assitance from Packager will be provided LS 1 $980,000
    3.11 Installation of ALL Instrumentation, ss tubfng, Vessel Aux Kits, Misc.
    piping/tubing LS 1 $400,000
    3.12 Insulation- Material & Installation LS 1 $407,016
    3.13 Supply of pipe/valves/fittings 2" and smaller ND and ALL ss tubing LS 1 $0
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    3.14 Supply of ALL studs, nuts, bolts, gaskets, and insulating flange kits LS 1 $0
    3.15 Commissioning Support LS 1 $80,000

    4 Electrical   Subtotal
    4.1 Supply conduit , conduit & electrical materials LS 1 $347,394
    4.2 Installation of conduit and cable LS 1 $567,256
    4.3 Terminations LS 1 $57,893
    4.4 Supply of ALL grounding material LS 1 $40,655
    4.5 Installation of grounding system LS 1 $89,683
    4.6 Testing grounding system LS 1 $2,115
    4.7 Supply of ALL Cathodic Protection material LS 1 $0
    4.8 Installation of Cathodic Protection system LS 1 $0
    4.9 Provide and Install Heat Trace LS 1 $42,248
    4.10 Provide and Install Yard Lights LS 1

    5 Additional Cost (TO BE COMPLETED BY CONTRACTOR IF NECESARRY/APPLICABLE)       Subtotal
    5.1 LS 1 $0
    5.2 LS 1 $0
    5.3 LS 1 $0
    5.4 LS l $0
    5.5 LS 1 $0

    EXHIBIT B-1
    PARTIAL WAIVER OF LIEN - CONTINGENT

    STATE OF --------------------
    COUNTY OF

    TO WHOM IT MAY CONCERN:

    WHEREAS THE UNDERSIGNED (NAME OF PARTY)
                                      OF

    (NAME OF CONTRACTOR/SUPPLIER)
                                    ------------------~----------------------- AT
    (STREET)                                            (CITY)

    (STATE)              (ZIP)            BEING FIRST DULY SWORN THAT HE/SHE IS THE

                                 OF ------------------------------------
    (HEREIN AFTER REFERRED TO AS THE "COMPANY") AND IS FAMILIAR WITH THE
    WORK/MATERIALS
    PERFORMED OR SUPPLIED TO THE PREMISES KNOWN AS


                          (HEREIN AFTER REFERRED TO AS THE "PREMISES".

    THE UNDERSIGNED, PENDING THE RECEIPT OF THE SUM OF $

    AND OTHER GOOD AND VALUABLE CONSIDERATION, THE RECEIPT WHEREOF IS HEREBY ACKNOWLEDGED,
    DOES HEREBY WAIVE AND RELEASE ANY AND ALL LIENS, RIGHTS OF LIENS, CLAIMS OR DEMANDS
    WITH RESPECT TO SAID PREMISES, ON ACCOUNT OF SAID LABOR OR MATERIAL, OR BOTH,
    FURNISHED UNDER CONTRACT BY THE UNDERSIGNED TO OR ON ACCOUNT OF

    ------------------------------------------------------------------FOR SAID PREMISES.

    THE UNDERSIGNED FURTHER WARRANTS THAT ALL LABORERS EMPLOYED BY THEM UPON THE AFORESAID
    PREMISES HAVE BEEN FULLY PAID TO THE EXTENT OF THIS RELEASE AND THAT ALL SUPPLIES OF
    MATERIALS FROM THE SUPPLIERS HAVING ANY CLAIM, DEMAND, OR LIEN AGAINST SAID PREMISES,
    AND FURTHER, THAT NO CHATTEL MORTGAGE, CONDITIONAL BILL OF SALE OR RETENTION OF TITLE
    AGREEMENT HAS BEEN GIVEN OR EXECUTED FOR OR IN CONNECTION WITH ANY MATERIAL (S) ,
APPLIANCES, MACHINERY,FIXTURES OR FURNISHINGS AND/OR SERVICES   P~CED   OR INSTALLED IN
THE AFORESAID PREMISES.

SIGNED THE __________DAY OF,                  IN


THE STATE OF   ----------------' COUNTY OF


NAME OF CONTRACTOR/SUPPLIER


AUTHORIZED REPRESENTATIVE


NOTARY

MY COMMISSION EXPIRES
__________________________ TITLE

EXHIBIT B-2
PARTIAL WAIVER OF LIEN - NON-CONTINGENT

STATE OF
COUNTY OF
TO WHOM IT MAY CONCERN:

WHEREAS THE UNDERSIGNED (NAME OF PARTY)
                                   OF
(NAME OF CONTRACTOR/SUPPLIER)                                             AT
(STREET)                                           (CITY)
(STATE)              (ZIP) --------- BEING FIRST DULY SWORN THAT HE/SHE IS THE
                            OF
(HEREIN AFTER REFERRED TO AS THE "COMPANY") ANID IS FAMILIAR WITH THE
WORK/MATERIALS
PERFORMED OR SUPPLIED TO THE PREMISES KNOWN AS

                     (HEREIN AFTER REFERRED TO AS THE "PREMISES".
THE UNDERSIGNED, FOR AND IN CONSIDERATION OF THE SUM OF $

AND OTHER GOOD AND VALUABLE CONSIDERATION, THE RECEIPT WHEREOF IS HEREBY ACKNOWLEDGED,
DOES HEREBY WAIVE AND RELEASE ANY AND ALL LIENS, RIGHTS OF LIENS, CLAIMS OR DEMANDS
WITH
RESPECT TO SAID PREMISES, ON ACCOUNT OF SAID LABOR OR MATERIAL, OR BOTH, FURNISHED
UNDER CONTRACT BY THE UNDERSIGNED TO OR ON ACCOUNT OF


                                        FOR SAID PREMISES.

THE UNDERSIGNED FURTHER WARRANTS THAT ALL LABORERS EMPLOYED BY THEM UPON THE A
FORESAID PREMISES HAVE BEEN FULLY PAID TO THE EXTENT OF THIS RELEASE AND THAT ALL
SUPPLIES OF MATERIALS FROM THE SUPPLIERS HAVING ANY CLAIM, DEMAND, OR LIEN AGAINST
SAID PREMISES, AND FURTHER, THAT NO CHATTEL MORTGAGE, CONDITIONAL BILL OF SALE OR
RETENTION OF TITLE
AGREEMENT HAS BEEN GIVEN OR EXECUTED FOR OR IN CONNECTION WITH ANY MATERIAL
(S),APPLIANCES,MACHINERY,FIXTURES OR FURNISHINGS AND/OR SERVICES PLACED OR INSTALLED
IN THE AFORESAID PREMISES.

SIGNED THE __________DAY OF,                   IN

THE STATE OF   ----------' COUNTY OF
NAME OF CONTRACTOR/SUPPLIER



AUTHORIZED REPRESENTATIVE


NOTARY
MY COMMISSION EXPIRES
______________________TITLE

EXHIBIT B-3
FINAL WAIVER OF LIEN

STATE OF -----------------------
COUNTY OF

TO WHOM IT MAY CONCERN:

WHEREAS THE UNDERSIGNED (NAME OF PARTY)
                                  OF

(NAME OF CONTRACTOR/SUPPLIER) ----------------~~--~----------------- AT
(STREET)------------------~--------~------ (CITY)
_____________________ (STATE) __________ (ZIP)        BEING FIRST DULY SWORN
THAT HE/SHE IS THE
___________________________ OF-=~~~~~~~~~~~~~~~~==
(HEREIN AFTER REFERRED TO AS THE "COMPANY") AND IS FAMILIAR WITH THE WORK/MATERIALS
PERFORMED OR SUPPLIED TO THE PREMISES KNOWN AS  (HEREIN AFTER REFERRED TO AS THE
"PREMISES". THE UNDERSIGNED, FOR AND IN CONSIDERATION OF THE ENTIRE CONTRACT SUM OF   $
PENDING THE RECEIPT OF THE SUM OF AND OTHER GOOD AND VALUABLE CONSIDERATION DOES
HEREBY WAIVE AND RELEASE ANY AND ALL LIENS, RIGHTS OF LIENS, CLAIMS OR DEMANDS WITH
RESPECT TO SAID PREMISES, ON ACCOUNT OF SAID LABOR OR MATERIAL, OR BOTH, FURNISHED
UNDER CONTRACT BY THE UNDERSIGNED TO OR ON ACCOUNT OF
FOR SAID PREMISES.

THE UNDERSIGNED FURTHER WARRANTS THAT ALL LABORERS EMPLOYED BY THEM UPON THE AFORESAID
PREMISES HAVE BEEN FULLY PAID TO THE EXTENT OF THIS RELEASE AND THAT ALL SUPPLIES OF
MATERIALS FROM THE SUPPLIERS HAVING ANY CLAIM, DEMAND, OR LIEN AGAINST SAID PREMISES,
AND FURTHER, THAT NO CHATTEL MORTGAGE, CONDITIONAL BILL OF SALE OR RETENTION OF TITLE
AGREEMENT HAS BEEN GIVEN OR EXECUTED FOR OR IN CONNECTION WITH ANY MATERIAL (S),
APPLIANCES, MACHINERY, FIXTURES OR FURNISHINGS AND/OR SERVICES PLACED OR INSTALLED IN
THE AFORESAID PREMISES.

SIGNED THE   DAY OF_______ IN THE STATE OF   ------------• COUNTY OF



NOTARY
MY COMMISSION EXPIRES
______________________TITLE


AUTHORIZED REPRESENTATIVE


NAME OF CONTRACTOR/SUPPLIER

EXHIBIT C - INSURANCE
Unless and until written notice is provided to Contractor by Company, all contracts
entered into between Company and Contractor will be subject to this Exhibit C
(Insurance) and this Exhibit c (Insurance) will be the same for all such contracts.

Contractor shall obtain and maintain the following basic types and minimum amounts of
insurance during the term of this Agreement:

1. Workers' Compensation and Employer's Liability
a Coverage A - Statutory for states of operation
b Coverage B - Empl9yer's Liability with the following limits:

$1,000,000 Bodily Injury
$1,000,000 Bodily Injury by Disease
$1,000,000 Bodily Injury by Disease (Aggregate)

Broad form Employer's Liability endorsement required if performing services in WV.

  2. Commercial Gene~al Liability
  a $1,000,000 per occurrence I $2,000,000 aggregate
  b Endorsement include:
  i Premises I Operations
. ii Products and Completed Operations
  iii Blanket Contractual Liability
  iv Blowout and Cratering
  v Explosion, Collapse and Underground
  vi Time Element Pollution

3. Automobile Liability
a $1,000,000 CSL (combined single limit)
b Endorsements include:
i Any Auto - Symbol 1, or
ii All Owned, Non-Owned and Hired
iii MCS 90 Endorsement for FHWA and ICC Hazmat transport compliance
iv $100,000 Cargo Insurance for transport of Company property


4. Excess or Umbrella Liability
a $5,000,000 per occurrence I $5,000,000 aggregate
b Endorsements include:
i Scheduling the underlying policies (CGL, Auto and EL)
ii Premises/Operations
iii Products and Completed Operations
iv Blanket Contractual Liability
v Blowout and Cratering
vi Explosion, Collapse and Underground
vii Time Element Pollution

 Contractual indemnity insurance providing coverage to Company Group for Contractor's
 indemnity obligation under Exhibit D indemnity hereof. The policies required herein
 above, other than coverage for Workers' Compensation and Employer's liability, shall
 explicitly (a) list Company and the Company Group as an additional insured, including
 coverage for Company's joint or concurrent negligence; (b) provide coverage to Company
 for claims made by the Contractor's employees; and (c) shall provide coverage to
 Company notwithstanding Contractor being afforded immunity from its employees' claims
 by reason of being a subscriber under the Workers Compensation Act.

 All of the above insurances shall be (i) primary and non-contributory; (ii) written on
 an occurrence basis; (iii) maintained without interruption from the date of this
 Agreement until the expiration or termination of this Agreement; and (iv) issued from
 a reputable insurance company with a minimum financial rating from a.m. best of A-,
 VII or better. The Commercial General Liability, Automobile Liability and Excess or
 Umbrella Liability insurance shall contain a waiver of subrogation against Company and
 each member of the Company Group.
Contractor shall provide Company, prior to executing the Agreement hereunder, with
either an endorsement to the policy naming CNX Resources Corporation, CNX Midstream
Partners LP, their Affiliates, and Subsidiaries and their officers, directors and
employees (the CNX Parties) as additional insured; or a certificate of insurance
naming the CNX Parties as additional insured.  If required by ISNetWorld, Contractor
shall provide to ISNetWorld evidence in the form of copies of insurance endorsements
or certificates of insurance establishing that the policies required herein above
(other than coverage for Workers' Compensation and Employer's liability) include a
blanket additional insured endorsement for contracts between Contractor and Company.

Any ISNetworld contractor must provide the Certificate Holder listed as:

CNX Resources corporation, CNX Midstream Partners LP, their Affiliates, and
Subsidiaries
C/O ISNetworld

All policy endorsements or applicable certificates shall evidence this coverage and
these terms and shall provide written notice to Company at least thirty (30) days
prior to the policies being canceled.
Contractor shall be responsible for ensuring that all subcontractors are insured in
accordance with the above insurance requirements while at the project site and/or
performing any portion of the work.

EXHIBIT D - INDEMNITY

CONTRACTOR SHALL INDEMNIFY AND HOLD THE COMPANY, ITS PARENT, AFFILIATES AND SUBSIDIARY
COMPANIES, THEIR SHAREHOLDERS, OFFICERS, DIRECTORS, AGENTS, AUTHORIZED
REPRESENTATIVES, AND ALL THEIR EMPLOYEES (COMPANY GROUP), HARMLESS FROM THE PAYMENT OF
ANY SUM OF MONEY WHATSOEVER (INCLUDING REASONABLE ATTORNEYS' FEES AND OTHER FEES AND
EXPENSES INCURRED IN CONNECTION THEREWITH) ON ACCOUNT OF ANY LABOR, MECHANICS',
MATERIALMEN'S OR OTHER LIENS AGAINST THE COMP~Y'S PROPERTY BY REASON
OF ANYTHING DONE OR FURNISHED IN ANY MANNER IN AID OF THE PERFORMANCE OF THE WORK
UNDER THIS CONTRACT OR ANY PART THEREOF. CONT~CTOR AGREES TO AND SHALL INDEMNIFY AND
DEFEND COMPANY GROUP FROM ANY AND ALL CLAIMS AND LIABILITY FOR PROPERTY DAMAGE,
ENVIRONMENTAL DAMAGE OR DEGRADATION, AND/OR IN~Y OR DEATH OF ANY PERSON, CAUSED, OR
ALLEGED TO HAVE BEEN CAUSED, IN WHOLE OR IN PART, BY ANY CONDITION OF ANY PROPERTY
UNDER THE USE OR CONTROL OF CONTRACTOR, BY ANY FAILURE OF CONTRACTOR, ITS EMPLOYEES,
AGENTS, AND SUBCONTRACTORS, TO COMPLY WITH     ,
ANY APPLICABLE LAW,REGULATION, GOVERNMENTAL ORDER, OR PROVISION OF THIS CONTRACT, OR
BY ANY OTHER CAUSE RELATED TO PERFORMANCE OF WORK UNDER THIS CONTRACT, INCLUDING THOSE
CLAIMS AND LIABILITIES ALLEGED OR PROVEN TO INVOLVE COMPANY GROUP'S JOINT OR
CONCURRENT NEGLIGENCE.
CONTRACTOR SHALL INDEMNIFY COMPANY PARTIES FOR CLAIMS MADE BY THE CONTRACTOR'S
EMPLOYEES NOTWITHSTANDING CONTRACTOR BEING AFFORDED IMMUNITY FROM ITS EMPLOYEES'
CLAIMS BY REASON OF BEING A SUBSCRIBER UNDER TH:E WORKERS COMPENSATION ACT.

EXHIBIT E - DRUG AND ALCOHOL TESTING POLICY

CNX RESOURCES CORPORATION CONTRACTOR AND SUB-CONTRACTOR DRUG & ALCOHOL TESTING POLICY

In June of 2008, CNX RESOURCES CORPORATION (CNX;) implemented a company-wide drug and
alcohol testing program for all employees.  CNx: is committed to maintaining a safe,
healthy and productive work environment that isi free from the adverse effects of drugs
and alcohol. The importance of work performed 'is such that the work environment at
every location must be free from the adverse ef:fects of drugs and alcohol. Due to the
integral role contractors and sub-contractors play at CNX sites, CNX feels strongly
that its contractors and sub-contractors share CNX's commitment to a drug and alcohol
free workplace. This can be accomplished only by establishing drug and alcohol
testing programs that maintain such an environm~nt.

CONTRACTOR AND SUB-CONTRACTOR DRUG & ALCOHOL REQUIREMENTS:
1. All contractors/sub-contractors must have an independent drug and alcohol testing
program or belong to a consortium that complies with CNX requirements as well as
applicable federal, .state and local laws.

2. All contractors/sub-contractors having an independent drug and alcohol testing
program must have a MEDICAL REVIEW OFFICER (MRO) . A medical review officer is a
licensed physician with the requisite knowledge, experience, training and
qualifications, who is responsible for receiving and reviewing laboratory results
generated by an employer's drug testing program and evaluating medical explanations
for certain drug test results.

3. Drug and alcohol testing sample collection must be performed by a certified
collector or a certified third party collector (TPA) .

4. Analysis of urine samples must be performed by a Health and Human services (HHS) I
Substance Abuse and Mental Health Services Administration (SAMHSA) CERTIFIED LAB in
compliance with Title 49 CFR Part 40 (even for non-DOT-mandated drug and alcohol
tests).

5. "Quick Tests" and/or "Rapid Tests" are NOT acceptable for Pre-employment,
Reasonable
suspicion, and Random Testing. "Quick Tests" may be used for Post-Accident testing
ONLY provided that all urine samples are sent to a certified lab for confirmation, and
"Quick Tests" are acceptable per applicable state and federal laws.

6. All contractor/sub-contractor employee(s) whose drug and/or alcohol tests are
verified POSITIVE by a medical review officer or refuse testing are NOT permitted to
work at a CNX site now or anytime in the future The contractor will prevent any
employee who fails testing under the program from working on a site owned or operated
by CNX RESOURCES CORPORATION or any of its affiliates.

7. Contractors/sub-contractors currently testing under DOT regulations must test per
DOT requirements/thresholds and must ALSO test under CNX's drug and alcohol
requirements for Pre-Employment, Random, Post-Accident and Reasonable Suspicion. This
may mean the administration of two tests to an employee under some circumstances.

a. All contractors are responsible for their sub-contractors' compliance with CNX's
contractor and Sub-contractor Drug & Alcohol Testing Policy requirements.

9. The contractor will make available to CNX, or its designee, upon request, certified
laboratory results that prove the existence of a drug and alcohol testing program that
complies with CNX requirements.

TESTING REQUIREMENTS:

1. Pre-Employment/Pre-Access Testing: All contractor/sub-contractor employee(s) that
will or may work at a CNX site are required to be tested prior to employment. An
employee who is subject to pre-employment testing for drugs or·alcohol under the DOT
preemployment testing program must also be subject to CNX's drug testing requirements.

2. Reasonable Suspicion Testing: All contractor/sub-contractor employee{s) assigned
to a CNX site suspected of being impaired by drugs and/or alcohol may be drug and
alcohol tested immediately, removed from the CNX site and banned from returning upon
confirmation of a positive drug or alcohol test. This includes, but is not limited
to, the following:
- Reporting for work after having used drugs and/or alcohol.
- Possessing illegal substances/paraphernalia/a·lcohol on a CNX site.

3. Post-Accident/Incident Testing: All contractor/sub-contractor employee(s) involved
in an accident at a CNX site resulting in off-site medical treatment to
himself/herself or another employee, or an incident resulting in significant
disruption of the operations at the facility (as determined by CNX and its
affiliates), are required to be tested for drugs and alcohol upon receiving treatment.
'•

     Additionally, all other contractor/subcontractor employees involved in the accident
     must be tested immediately after the accident. An employee who is subject to post-
     accident testing for drugs or alcohol under the DOT postaccident testing program also
     is subject to CNX's post-accident drug and alcohol testing requirements, which are
     broader than DOT's requirements.

     4. Random Testing: All contractors/sub-contractors are required to randomly drug and
     alcohol test at least 25% of their employees that perform or may perform work at a CNX
     site, annually.  This requirement is separate and apart from, and in addition to,
     DOT's random drug and alcohol testing requirements.

     5. Alcohol Testing: All contractor/sub-contractor employee(s) must be subject to
     alcohol testing via breathalyzer or blood alcohol test ONLY. DOT testing must be
     conducted via breathalyzer. Alcohol testing must be performed as part of reasonable
     suspicion, postaccident and random drug and alcohol testing.

     MINIMUM REQUIRED SUBSTANCES:

     1. Alcohol
     2. Amphetamine or Methamphetamine
     3. Cannabinoids
     4. Benzoylecgonine
     5. Opiates
     6. Phencyclidine
     7. Barbiturates
     8. Benzodiazepines
     9. Methadone
     10. Methaqualone
     11. Expanded Opiates I Synthetic Narcotics
     12. Propoxyphene
     13. 6-Acetylmorphine
     14. Ecstasy

     MINIMUM REQUIRED TESTING THRESHOLDS FOR DRUGS:

     The following cutoff levels will be used when    ~nitially   screening a urine specimen for
     drugs:

     Substance Threshold
     Amphetamine 500 ng/ML
     Methamphetamine sao ng/ML
     Barbiturates 200 ng/ML
     Benzodiazepines 200 ng/ML
     Cannabinoids ("Marijuana", THC metabolites)  so: ng/ML
     Benzoylecgonine (Cocaine metabolite)  150 ng/M~
     Methadone 300 ng/ML
     Methaqualone 300 ng/ML
     Opiates 300 ng/ML
     Expanded Opiates/Synthetic Narcotics 300 ng/ML
     Phencyclidine 25 ng/ML
     Propoxyphene 300 ng/ML
     6-Acetylmorphine 10 ng/ML
     Ecstasy 500 ng/ML
     A test yielding a concentration at or greater than the concentrations shown above will
     be considered a laboratory positive test result; and will be subject to confirmation.

     Laboratory positive test results based on the above initial screening will be
     confirmed using Gas Chromatography/Mass Spectrometry (GC/MS), or other forms of Mass
     Spectrometry as approved by HHS I SAMHSA, at the following cutoff levels:

     Substance Threshold
     Amphetamine 250 ng/ML
     Methamphetamine* 250 ng/ML
-.
     Barbiturates 200 ng/ML
     Benzodiazepines 200 ng/ML
     Cannabinoids ("Marijuana", THC metabolites) 15 ng/ML
     Benzoylecgonine (Cocaine metabolite) 100 ng/ML
     Methadone 200 ng/ML
     Methaqualone 200 ng/ML
     Opiates 300 ng/ML
     Expanded Opiates/Synthetic Narcotics** 300 ng/ML
     Phencyclidine 25 ng/ML
     Propoxyphene 200 ng/ML
     6-Acetylmorphine 10 ng/ML
     Ecstasy*** 250 ng/ML

     * - Specimen must also contain Amphetamine at a concentration equal to or greater than
     100ng/ML.
     ** - Expanded Opiates include: Hydrocodone, Hydromorphone and Oxycodone
     *** - MDMA (Methylenedioxymethamphetamine)
     *** - MDA (Methylenedioxyamphetamine)
     *** - MDEA (Methylenedioxyethylamphetamine)

     ALCOHOL TESTING:

     - For a (non-DOT-mandated) Post-Accident test; a breath or blood alcohol test yielding
     a 0.02 BAC or greater will be considered a positive result.

     - For all other tests, including all DOT-mandat:,ed alcohol tests; a breath or blood
     alcohol test yielding a 0.04 BAC or greater will be considered a positive result.

     AUDITING:

     - CNX has the right to audit records to determine compliance with the CNX's Contractor
     and Sub-contractor Drug & Alcohol Testing Policy requirements.

     CONTRACTOR/SUB-CONTRACTOR COMPLIANCE MONITORING:

     CNX has established a business relationship with TEAM Alert to serve as CNX's Non-DOT
     Contractor Drug & Alcohol Compliance Monitoring provider. As a result of this
     partnership, all contract companies are required to become subscribers to TEAM Alert's
     system. All contract companies will be subjected to an Initial, Bi-Annual
     Statistical, Quarterly Compliance and On-site Audits through TEAM
     Alert.

     The following steps are needed to comply with CNX's Drug and Alcohol requirements:
     1. Subscribe to TEAM Alert's system at www.tpsalert.com.
     2. Adopt/Acknowledge the CNX Contractor Drug & Alcohol Drug Free Workplace Policy
     Addendum (occurs during the electronic registration at www.tpsalert.com).
     3. select one of two options for complying with the Contractor Drug & Alcohol
     Compliance Monitoring. These options include:
     a. Option 1: Your organization can utilize Team Professional Services (TEAM) as your
     third party administrator (TPA) for your company's D&A Policy/Program. TEAM will then
     provide CNX with the data required to establish conformance with CNX's requirements.
     Pricing for this service will be determined between each Contractor Company and Team.
     b. Option 2: Your organization can continue to utilize existing systems to administer
     your D&A Policy/Program and establish conformance with CNX's requirements by providing
     reports documenting compliance to TEAM Alert.   The reports will be audited by TEAM
     Alert and results reported to CNX.

     Regardless of which option is selected, your organization's compliance status will be
     determined by TEAM Alert and then reported to CNX though ISNet World. Status will be
     based on timely reporting of data and compliance with the CNX requirements outlined in
     the Contractor Drug and Alcohol Drug Free Workplace Policy Addendum. Any company with
     a failing grade will be prohibited from performing services on CNX property until
     corrective action is taken to become fully compliant.
EXHIBIT F - CONTRACTOR PERSONAL PROTECTIVE EQUIPMENT REQUIREMENTS

*REMEMBER*- YOU MUST BE WEARING -ALL- OF THE FOLLOWING PROTECTIVE ITEMS BEFORE YOU
ENTER OR LEAVE YOUR STAGING AREA. THIS PPE WILL NOT BE PROVIDED BY THE FACILITY.

CONTRACTORS PERSONAL PROTECTIVE EQUIPMENT REQUIREMENTS:

HARD HAT - EVERY EMPLOYEE MUST WEAR AN APPROVED HARDHAT. IT MUST BE IN GOOD CONDITION
WITH NO CRACKS. IT MUST HAVE AT LEAST 6 INCHES OF BLUE REFLECTIVE TAPE ON BOTH SIDES
AND THE BACK. THE EMPLOYEES FIRST AND LAST NAME: IN AT LEAST 1/2" LETTERS AND THE
COMPANY NAME OR LOGO MUST BE ON THE HARD HAT. (ON THE SURFACE, WHEN OPERATING IN
TOTALLY ENCLOSED CABS, WORKING IN PROCESSING PLANT CONTROL ROOMS, AND ON RIVER BARGES,
HARD HATS MAY BE REMOVED ONLY FOR THOSE TASKS.)

EYE PROTECTION - SAFETY GLASSES WITH SIDE SHIELDS MUST BE WORN AT ALL TIMES.
PRESCRIPTION EYE GLASSES MUST MEET THE ANSI STANDARD. ADDITIONAL EYE PROTECTION MAY BE
REQUIRED BY SITE/TASK SPECIFIC HAZARD TRAINING. (WHEN OPERATING IN TOTALLY ENCLOSED
CABS, SAFETY GLASSES MAY BE REMOVED ONLY WHILE IN CONFINES OF THE CAB.) EYE PROTECTION
FOR CNX GAS WORK ONLY- SAFETY GLASSES WITH EYE PROTECTION MUST BE WORN AT ALL TIMES
DURING WORKING HOURS, EXCEPT IN THOSE LOCATIONS SITE MANAGEMENT DETERMINES SUCH IS
UNNECESSARY. ADDITIONAL EYE PROTECTION MAY BE REQUIRED BY SITE/TASK SPECIFIC HAZARD
TRAINING. WHEN OPERATING IN TOTALLY ENCLOSED CABS, SAFETY GLASSES MAY BE REMOVED ONLY
WHILE IN THE CONFINES OF THE CAB. SUNGLASSES 0~ TINTED LENSES SHALL NOT BE WORN IN
LOW LIGHT AREAS.  EXCEPTIONS MUST BE APPROVED IN WRITING BY THE VICE PRESIDENT-SAFETY
AND THE VICE PRESIDENTOPERATIONS.

HEARING PROTECTION - EVERY EMPLOYEE MUST HAVE HEARING PROTECTION AVAILABLE FOR USE AT.
ALL TIMES.  IT IS POLICY THAT YOU MUST WEAR YOUR HEARING PROTECTION IN DESIGNATED
AREAS.

CLOTHING - ALL EMPLOYEES ARE REQUIRED TO WEAR APPROPRIATELY FITTING CLOTHING. THIS
MEANS NO CLOTHING THAT IS EXCESSIVELY BAGGY OR LOOSE. LONG SLEEVE SHIRTS (WHICH
COVERS THE ENTIRE ARM) ARE REQUIRED WHILE WORKIN9 ON THE SURFACE. AT THIS TIME,
EMPLOYEES WORKING IN ENCLOSED CABS AND PERSONS WORKING IN PREPARATION PLANTS ARE
EXCLUDED FROM THIS REQUIREMENT.  THE USE OF COTTON OR FLAME RESISTANT CLOTHING IS
RECOMMENDED.  FIRE RESISTANT CLOTHING MAY BE MANDATED ON SITE SPECIFIC LOCATIONS.

DRILLING OPERATIONS - PERSONNEL ARE REQUIRED TO WEAR FLAME
RESISTANT CLOTHING (LONG SLEEVED) AS REQUIRED ON SITE/TASK
SPECIFIC LOCATIONS SUCH AS OIL & GAS DRILLING, WELL SERVICING OR OIL
AND GAS PRODUCTION-RELATED OPERATIONS WHEN THERE IS A POTENTIAL
FOR FLASH FIRE HAZARDS AS OUTLINED IN OSHA MEMO~DUM DATED
MARCH 19, 2010 (ID 27296). THIS INCLUDES DRILLING OPERATIONS FOR BOREHOLES,
COREHOLES, WELLS, AND WELL PLUGGING.  FLAME RESISTANT CLOTHING IS REQUIRED WHILE ON
THE PAD SITE.

ESTABLISHED SITES - FLAME RESISTANT CLOTHING (LONG SLEEVED)
CLOTHING IS REQUIRED WHEN PERFORMING ANY DUTIES INSIDE THE FENCE AT ANY ESTABLISHED
DEGAS PUMP, DEGAS BOREHOLE, CCR HOLE AND SURFACE SEAL MONITORING BORE,HOLE.

IN THE EVENT THE BOREHOLE, WELL, PUMP OR BOREHOLE IS NOT PROVIDED WITH FENCING
PERSONNEL SHALL NOT APPROACH WITHIN 25' WITHOUT FR CLOTHING

CLOTHING FOR CNX GAS WORK ONLY- ALL EMPLOYEES ARE REQUIRED TO WEAR APPROPRIATELY
FITTING CLOTHING. THIS MEANS NO CLOTHING THAT IS EXCESSIVELY BAGGY OR LOOSE. *THE USE
OF FLAME RESISTANT CLOTHINGS IS REQUIRED ON SITE/TASK SPECIFIC LOCATIONS SUCH AS OIL
AND GAS DRILLING, WELL SERVICING OR PRODUCTION-RELATED OPERATIONS WHEN THERE IS A
POTENTIAL FOR FLASH FIRE HAZARDS AS OUTLINED IN OSHA MEMORANDUM DATED MARCH 19,
2010(ID 27296). SITE SPECIFIC HAZARD TRAINING WILt FURTHER DEFINE SPECIFIC
LOCATIONS/TASKS.*
~EFLECTIVE MATERIAL - THERE MUST BE A MINIMUM OF 24 SQUARE INCHES OF HIGH-VISIBILITY
(REFLECTIVE AND FLUORESCENT) MATERIAL ON THE UPPER TORSO OF THE FRONT AND BACK OF THE
OUTER LAYER OF CLOTHING. ADDITION REFLECTIVE HIGH-VISIBILITY (REFLECTIVE AND
FLUORESCENT) MATERIAL IS REQUIRED ON EACH SIDE (ARMS AND/OR TORSO) OF THE OUTER LAYER
OF CLOTHING TO PROVIDE 360 VISIBILITY. REFLECTIVE MATERIAL INCORPORATED ON SUSPENDERS
DOES NOT COUNT AS PART OF THE 24 SQUARE INCH REQUIREMENT.
REFLECTIVE MATERIAL FOR CNX GAS WORK ONLY- HIGH VISIBILITY CLOTHING- AT A MINIMUM
THERE MUST BE SUFFICIENT REFLECTIVE AND HIGH VISIBILITY MATERIAL TO PROVIDE VISIBILITY
FROM ALL DIRECTIONS ON THE OUTERMOST LAYER OF CLOTHING ON ARMS AND OR/TORSO. YOU HAVE
SEVERAL MEANS AVAILABLE TO COMPLY WITH THIS STANDARD SUCH AS REFLECTIVE VESTS, BELT
SHOULDER STRAPS, SEW ON OR IRON ON MATERIAL, ETC. (NOTE: IN AREAS WHERE FLAME
RESISTANT CLOTHING IS REQUIRED, THIS HIGH VISIBILITY CLOTHINGS MUST ALSO BE FLAME
RESISITANT.)EVERY PERSON WITH LESS THAN SIX MONTHS OF RELEVANT FIELD EXPERIENCE MUST
AFFIX A 1" DIAMETER ORANGE REFLECTIVE DOT ON THE REQUIRED REFLECTIVE TAPE ON BOTH
SIDES AND THE BACK.

METACARPAL GLOVES FOR CNX GAS WORK ONLY - METACARPAL GLOVES MUST BE WORN AT ALL TIMES
BUT MAY BE REPLACED WITH OTHER APPROPRIATE GLOVES(AS DETERMINED BY SITE MANAGEMENT)
WHEN PERFORMING SPECIALITY TASKS SUCH AS ELECTRICAL WORK, HANDLING OILY AND/OR GREASY
MATERIAL, HANDLING CERTAIN CHEMICALS, OPERATING CONTROLS, WELDING ETC.   IMMEDIATELY
UPON COMPLETING THE "SPECIALTY TASK" METACARPAij GLOVES MUST BE WORN. (WHEN OPERATING
IN TOTALLY ENCLOSED CABS, METACARPAL GLOVES MAY BE REMOVED ONLY WHILE IN THE CONFINES
OF THE CAB).

LEG BANDS - PANT LEGS BOTTOMS MUST BE SECURED OR BLOUSED AT ALL TIMES.

METATARSAL BOOTS FOR CNX GAS WORK ONLY- METATARSAL BOOTS- METATARSAL BOOTS ARE
REQUIRED AT ALL TIMES UNLESS A WRITTEN APPROVED EXCEPTION HAS BEEN GRANTED BY THE VP
OPERATIONS AND VP-CORPORATE SAFETY.

Exhibit G- Background Check Guidelines
Introduction and purpose
CNX RESOURCES CORPORATION, (CNX) strives to provide a safe and secure workplace for
its employees, customers, shareholders, and the communities in which they operate. A·
key factor is to know who is working on CNX property and that a proper background
screening has been performed on such persons. To that end, CNX has adopted contractor
Background Check Guidelines (the "Guidelines") effective June 1, 2013 which are
required for "A" and "B" contractors to follow for all newly hired employees who will
work on CNX property.
Elements
The following areas are required "core" elements to be performed by the contractor.
1. Social Security Number (SSN) verification (ihstant address link or skip trace)
This verifies a person's social security number: and address provided on his/her
application.

2. I-9 form identification and citizenship verification
This is required under federal employment law and is included in this list of
requirements as an auditable program element.

3. Federal, state, and county/local criminal history check This searches court records
based on the applicant's past locations of resi~ence and employment for criminal
convictions for the maximum time period permitted by applicable state law.

4. Employment history check
Contractor must submit to CNX Resources by email at brcheck®cnx.com a complete roster
of all of Contractor's and its subcontractor's employees who will be working on CNX
property prior to the commencement date of any ~ork if practical, but in any event no
later than five (5) days after the commencement,date.

5. Education verification
This requirement verifies that a job applicant possesses and maintains all required
diplomas, degrees, licenses and/or certifications required for his/her position with
Contractor and that the applicant is in good standing with any licensing authority
responsible for regulating such license, certification or other requirement.

6. Department of motor vehicles
This requires a check for driving records under applicable state law for persons who
will be driving a Contractor-owned vehicle on CNX property or for the contractor while
providing services to CNX. The check would verify current operator status and/or
suspension status of driving privileges.

7. Other
certain job-specific types of checks, not detailed here, that may be appropriate to
add in certain cases to the "core" requirements include: credit check, bankruptcy
search, liens and judgments, and reference checks, in each case, in compliance with
applicable federal, state and local law.

8. Sound business judgment
Sound business judgment should be used by the contractor in making hiring decisions
based on the above elements, including the applicant's suitability for the position.
CNX reservation of rights; right to audit; certification of contractor
CNX reserves the right to reject an individual employee proposed by contractor for
work on CNX property, subject to applicable federal, state and/or local law (if any).
CNX reserves the right to audit contractor's compliance with these guidelines.
Contractor shall be required periodically to certify its compliance with these
guidelines at the request of CNX or its designee.
Independent contractor: no joint venture, etc.
Contractor is and shall remain at all times an independent contractor. No joint
venture, partnership, joint employment or simi]ar relationship exists between
contractor and CNX. Questions
If you have any questions regarding these guidelines, please contact:
TEAM Alert
E-mail:  cnxbackground®tpsalert.com
Phone: 918-970-4990
     EXHIBIT B
CNX’s Invitation for Bids
                                       INVITATION FOR BIDS                                      10/9/2018
                             EXPANSION OF MORRIS COMPRESSOR STATION
                                        GREENE COUNTY, PA




Project Scope Statement: CNX Midstream Partners LLC (CNXM) is requesting bids from qualified
CONTRACTORS to provide labor, materials, tools and equipment necessary for the expansion of Morris
Compressor Station detailed below. The CONTRACTOR is intended to act as the General CONTRACTOR
responsible for all civil, mechanical, electrical and instrumentation work. CONTRACTOR is expected to
be proactive in planning with all other CNXM groups and CONTRACTORs.

Station expansion will handle (3) Tiers of Service (inlet gas pressures) as follows, Free Flow: 600-1440
psig, Tier 1: 300-600 psig, and Tier 2: 150-300 psig. Free flow and Tier 1 services are ANSI 600 systems
rated for 1440 psig. Expansion of the station includes Tier 1 and Tier 2 service with inlet filtration,
compression and dehydration with anticipated TIL date of 6/1/2019.

The CNXM Engineering team is currently at the 60% review milestone with the design drawings. Most
equipment has been purchased and other equipment and long lead materials are in the process of being
bid out. The intent of this RFP is to pick a CONTRACTOR in the early phases to ensure availability for the
construction phase of the project. CNXM is requesting a pricing for the work detailed in this and all
accompanying documents based on the current schedule and 60% design set. The structure of this bid is
T&M plus fixed markup of labor and materials. The lump sum will be compared to other CONTRACTOR
bid pricing as well as the budgeted amount. The CONTRACTOR is required to include all assumptions and
completely fill out the SOV document based on experience and provided documentation. Once IFC
drawings have been developed, the CONTRACTOR will have the opportunity to apply pricing to the
updated plansets quantities to firm up the project cost. CNXM and the CONTRACTOR will work together
to agree on final pricing prior to a final PO being issued. CNXM has developed a list of Key Performance
Indicators (KPIs) that the CONTRACTOR will be graded on. Upon award CNXM and the CONTRACTOR will
develop an agreed upon bonus based on KPI performance.

    1. Instruction to Bidders
           a. COMPANY is referring to CNX Midstream
           b. CONTRACTOR is referring the successful bidder.
           c. All bids are to be entered into your respective company Response Folder in the
               ShareFile Bid System. Do not email your bid, it must be submitted into the system for
               acceptance.
           d. Bids shall be submitted to ChaseDavis@CNX.com and must include all CONTRACTOR
               submittals described in section 6 “CONTRACTOR Submittals”.
           e. COMPANY maintains the right to award this project to any CONTRACTOR.
           f. All questions shall be emailed to ChaseDavis@CNX.com. Chase will combine questions
               and distribute to the COMPANY team to answer and be redistributed to all bidders.

    2. Communication
          a. The COMPANY will have a dedicated Project Engineer and Construction Foreman
             throughout project.
                                                                                                     EXHIBIT
                                                                                                               exhibitsticker.com




                                                                                                           1
   Name                                      Phone Number         Email Address
   Chase Davis – Supply Chain                (724) 485-3801       ChaseDavis@cnx.com
   Aaron Currey – Supply Chain               (724) 485-3031       AaronCurrey@cnx.com
   Carissa Hansen – Project Engineer         (724) 485-3050       CarissaHansen@cnx.com
   Kevin Dunn – Construction Foreman         (724) 350-4259       KevinDunn@cnx.com
   Ryan Aubuchon – Supervisor Engineering    (314) 304-7922       RyanAubuchon@cnx.com
   Dennis Koscho- Construction Manager       (724) 464-1597       DennisKoscho@cnx.com


3. Project Description
       a. Summary
               i. Morris Compressor Station expansion includes,
                       1. Pig Receivers
                       2. Suction piping header for new Tiers of service
                       3. Inlet Slug Catchers
                       4. Inlet Filtration
                       5. Compression
                               a. Remove (2) 3516 leased gas fired compressors
                               b. Install (3) 3608 (gas fired with electric powered coolers)
                       6. Dehydration
                               a. Install (1) 200MM dehy contact tower
                               b. Install (1) 2.5 MMBTU Reboiler
                       7. Post Dehydration filtration
                       8. Tanks
                               a. Remove existing tank farm
                               b. Install new tank farm (2) 400 BBL tanks and (1) 450BBL tank
                       9. Metering, control valves
                       10. Electrical and Instrumentation and grounding
                               a. Powerline and substation (provided by others)
                       11. Air Compressor building and process piping
                       12. Fuel gas conditioning skid and associated piping
                       13. Discharge piping
       b. Status
               i. The current AQ permit allows for the installation of the second dehy and the
                   replacement of the (2) 3516’s for 3608’s. The AQ permit modification will
                   require approval before construction of the new tank farm can begin, affecting
                   when the exiting tanks can be removed and deep foundations installed for
                   additional compression. Construction for work already approved is expected to
                   start immediately, with the remainder to follow as soon as the AQ permit is
                   approved. The AQ permit is anticipated to be approved by 2/9/19.
       c. Address
               i. 293 Stringtown Road, Graysville, PA
       d. Coordinates
               i. 39.944927, -80.371284
       e. Approved Haul Routes will be provided prior to mobilization
4. Scope of Work
      a. This project includes civil, structural, mechanical, electrical and instrumentation
          construction of the above-mentioned facility per the provided drawings and
          requirements described in this document. The pad, access road, powerline, and
          substation will be completed by others.
      b. Mobilize to site and provide survey support, layout and install all foundations.
      c. Offload and set/install all major equipment including,
                 i. (2) – NDS 72” Horizontal Type Slug Catcher
                ii. (1) – PECO Gemini 54” Horizontal Filter Separator (Tier 2b Inlet)
               iii. (2) – CAT 3608 / Ariel Compressor Packages
               iv. (3) – PECO Gemini 42” Horizontal Filter Separators (Dehy)
                v. (1) – Shultz 40” Horizontal Filter Separators (Dehy)
               vi. (2) – 72” Contact Tower – instrumentation provided.
              vii. (1) – 2.5 MMBTU/hr Glycol Regenerator and Envirotherm Enclosed Ground Flare
             viii. (1) - Instrument Air Building
               ix. (1) MCC Building & Backup Generator
                x. (2) 400bbl and (1) 450bbl produced water tanks
               xi. (1) – Aeron VDU unit
              xii. All Interconnect Piping, Valves, Pipe Supports, Steel Structures, Buildings, Etc.
                    per provided drawings
             xiii. Instrumentation, including mounting, tubing, and electrical terminations
             xiv. Electrical cable/conduit, cable racks, cable trays and all electrical terminations
              xv. Cathodic Protection and Grounding System
             xvi. Yard Lights
            xvii. Fencing and Vehicle Barriers
      d. Final Pad Grading

5. Schedules
      a. Use Table 1 and Table 2 below for bidding purposes. Major equipment delivery
          schedules are subject to change.
      b. CONTRACTOR is responsible for providing schedule and manpower necessary to meet
          TIL date.
      c. Posted blackout times must be strictly observed.
      d. Normal weather conditions for the time of year should be considered in the proposal.
          CONTRACTOR should prepare for anticipated weather events for effective schedule
          management.
      e. CONTRACTOR is required to maintain a detailed construction schedule to meet the
          Mechanically Complete, Electrically Complete, and fully commissioned project
          schedules. This schedule should be in GANTT chart form and updated at weekly
          construction meetings and distributed to everyone involved with the project. Any
          changes to the originally agreed upon milestones above must be cleared with the
          Manager of Construction and the Project Engineer prior to sending out the updated
          schedule.
   Table 1 : Bid Schedule
            Date                                Description
        10/9/18       Issue RFP
        10/9/18       Bid Review Meeting
        10/16/18      Site Visit
        10/19/18      Bid Questions Due
        10/26/18      Bids Due
        10/30/18      Clarifications
        11/1/18       Award Project

   Table 2: Project Schedule
            Date                                 Description
        11/5/18        Construction Kickoff Meeting
        11/19/18       IFC Equipment Drawings – Approval to Start Shop Fabrication
        TBD            PVF – Delivery to CONTRACTOR Fabrication Shop
        10/15/2018 90% Drawing Package Review
        02/09/19       AQ Permit Approved
        2/1/19         Compressor Delivery (earliest)
        2/1/19         Slug Catcher Delivery
        2/15/19        Dehy Train Delivery
        12/15/18       Filters Delivered
        2/15/19        Ground Flare Delivery
        TBD            MCC Building
        TBD            Instrument Air Building
        TBD            Back Up Generator
        TBD            Building Erection – By Others
        TBD            Powerline and Substation Complete
        5/4/2019       Mechanically Complete
        5/4/2019       Electrically Complete
        5/30/2019 Commissioning Complete
        5/31/2019 PSSR
        6/1/2019       Expansion Complete – Safe to flow


6. Bid Instructions
       a. CONTRACTOR is required to complete the attached Schedule of Values (SOV) to provide
           Lump Sum pricing for the facility work. Sections labeled T&M are to be filled out as a
           lump sum. Completion of T&M work must be agreed upon in the field by CONTRACTOR
           and COMPANY Foreman prior to invoicing. The following documents are required at
           time of bid submittal.
       b. Proposal Letter
       c. Completed SOV in Excel format
       d. Proposed Project Schedule
     e. Resumes for expected Superintendent, Project Manager, and other project leadership,
        including subcontractors.
     f. List of subcontractors that will be utilized
     g. Time and Material rates for Labor and Equipment
     h. List of all assumptions and clarifications.
     i. Submittals must be uploaded to your respective COMPANY Response Folder in the
        ShareFile Bid System no later than 5PM on the day bids are due. Please contact Chase
        Davis with any ShareFile issues prior to the time bids are due.
7. COMPANY Responsibilities
     a. Pad and Access Road Construction
     b. Powerline and Substation Construction
     c. SOW, SOV, and detailed drawings (IFC Drawings)
     d. COMPANY Design & Construction Standards
     e. Inspection Services
     f. NDT Services
     g. Major Equipment – Filters, Meter, Tanks, Control Valves, etc.
     h. Pipe, valves, fittings, nuts, bolts, and gaskets that are 8” and larger.
     i. Instruments
     j. Anodes, Test Stations, and SSD’s
     k. Structural Steel

8. General Requirements
      a. CNX Safety Training for all personnel working on site including subcontractors.
      b. Attend Weekly Construction Meetings
      c. Provide an office trailer
      d. CONTRACTOR’s work and storage areas are to be kept clean, neat, and orderly.
          CONTRACTOR will be responsible for providing a dumpster and trash containers
          throughout the work space.
      e. CONTRACTOR is responsible for providing survey services to confirm spacing, elevations,
          etc. Permanent benchmark information will be provided by CNXM. CONTRACTOR is
          responsible for preserving established stakes or benchmarks.
      f. CONTRACTOR is responsible for providing appropriate sanitation facilities to
          accommodate staffing for the project as outlined by OSHA.
      g. A Project Status Update call will be held weekly with all stakeholders until project closeout
          is complete. Project control documentation needs submitted by COB on day prior to call.
          The call schedule shall be established upon project kickoff.
      h. A detailed schedule with Gantt chart is required detailing construction plan and
          construction progress. The schedule should be updated weekly after the weekly
          construction meeting and distributed to the project team. Any deviations in the schedule
          should be highlighted.
      i. The CONTRACTOR’s Project Management representative is required for maintaining
          Percent Complete, Request for Information, Change Order Request, and Change Order
          Log documentation.
        j. Percent Complete documentation shall be submitted every two weeks. CONTRACTOR
           can invoice against the agreed amount once approved and returned by the Construction
           Foreman.
        k. CONTRACTOR is to notify the Construction Foreman and Facilities Engineer immediately
           upon identifying the potential for exceeding the established Purchase Order. No
           unbudgeted work is to be performed.
        l. Daily time logs are to be filled out to include equipment, labor, and materials for
           unbudgeted work and approved by the Construction Foreman in preparation for change
           order.

9. Safety / Environmental Requirements
       a. 2018 CNXM Hazard Training is required for all CONTRACTOR employees and
           subcontractors. Hazard training is conducted weekly at CNX Gas Training Academy.
       b. OSHA 10 hr or approved equivalent is required prior to CNXM Hazard Training.
       c. CONTRACTOR must comply with all COMPANY PPE requirements including but not limited
           to FR clothing, metatarsal gloves, metacarpal boots, safety glasses, hard hat, and hearing
           protection.
       d. An on-site kickoff meeting will be conducted with field crews prior to starting the job.
       e. Morning safety meetings followed by a superintendent’s coordination meeting.
       f. Daily Paperwork- Risk Assessments, Equipment Inspections, Hot Work Permits, Lift Plans,
           etc.
       g. Gas detectors are required and must be bump tested daily.
       h. CONTRACTOR shall conduct at minimum a weekly safety review and provide a report to
           CNXM.
       i. Smoking is only permissible in designated smoking areas.
       j. All personnel must familiarize themselves of the station alarms and respond
           appropriately. Muster point signs are posted and shall be identified.
       k. Spill kits must be made available to adequately address LOPC incidents.
       l. Secondary containment must be provided for generators, light plants, fuel tanks, chemical
           storage areas, air compressors, and other fixed equipment.
       m. Storage containers must be labeled.
       n. Trigger locks must be removed from refueling equipment.
       o. All incidents, regardless of severity, must be immediately reported to on site CNXM
           construction representative and site management.
       p. CONTRACTOR to conduct E/S inspections weekly, after significant weather events, and
           provide maintenance for E/S controls.
10. Material Requirements
       a. Tracking of all materials, MTRs, delivery documents, and verification that they meet the
           design requirements.
       b. Most equipment and materials will be delivered to site, but CONTRACTOR is expected to
           make runs to COMPANY Rice’s Landing yard or supply houses as needed.
         c. Pipe, Valves, Fittings that are smaller than 8” N.D are CONTRACTOR responsibility, but
            must adhere to COMPANY AML.
         d. One off needs of 8” and larger will be the CONTRACTOR’s responsibility to procure. The
            COMPANY has an agreement with DNOW that the CONTRACTOR can procure these
            parts directly to a COMPANY PO. If the part is unavailable the CONTRACTOR may go
            elsewhere to procure with COMPANY approval and following the COMPANY AML.
         e. Flange bolt up kits (studs, nuts, washers & gaskets) smaller than 8” N.D.
         f. Insulating Gasket Kits
         g. Stainless Steel Tubing
         h. Coating Materials
         i. All electrical material, including grounding, heat trace, and insulation.
         j. All civil material
         k. All structural steel
         l. Fencing and vehicle barriers
         m. Yard Lights
         n. The CONTRACTOR shall provide all tools, equipment, competent labor, supervision,
            consumables, and services for the successful completion of work as outlined in the RFB
            and Bid Documents.
         o. All Material and Services not listed in “COMPANY RESPONSIBILITES”
11. Civil Requirements
         a. CONTRACTOR is responsible for performing the One Call
         b. CONTRACTOR is responsible for installation of fabric and final pad grading per drawings
         c. CONTRACTOR is responsible for all excavation and back fill
         d. CONTRACTOR is responsible for all foundation material and installation
         e. CONTRACTOR is responsible for all civil materials including stone, sand, flowable fill,
            concrete, rebar, anchor bolts, forms, structural steel, padding material etc.
         f. CONTRACTOR is responsible for seed and mulch in areas that previously contained
            vegetation and were disturbed by the CONTRACTOR.
         g. CONTRACTOR is responsible for verifying foundation locations and elevations and
            maintaining survey control during construction of the project. If “randoms” or Field
            Weld Tie-Ins are not designed into shop fabricated spools, the CONTRACTOR is
            responsible for surveying tie-in points and confirming shop fabrications will fit up prior
            to installation.
         h. CONTRACTOR is responsible for securing all piping and equipment to foundations per
            provided drawings.
         i. Third party testing for concrete is to be provided by the CONTRACTOR. The third party’s
            scope of work is to include collection of samples and break analysis for each foundation
            per CNXM’s Concrete Specification 10-15-15 REV3 document (7 days, 28 days, and hold).
            Data is to be submitted to CNXM as soon as breaks are conducted and included with the
            completed job book.

12. Mechanical Requirements
a. CONTRACTOR is responsible for the material, fabrication and installation of all pipe
   supports, foundations, and installation of COMPANY provided maintenance platforms,
   steps, and staircases.
b. CONTRACTOR shall submit a lift plan to COMPANY 48 hours prior to lift, COMPANY
   maintains the right to classify any lift as a “Critical Lift”.
c. CONTRACTOR is responsible for providing appropriate sanitation facilities to
   accommodate staffing for the project as outlined by OSHA.
d. Specialty items and equipment such as cranes, forklifts, man lifts, rigging materials,
   welding rigs, welding consumables, scaffolding, fuel, coating materials, pressure testing
   materials, PPE, spill kits, temporary containments, etc. shall be the responsibility of the
   CONTRACTOR and included in the proposal cost submission. CONTRACTOR should note
   accessibility constraints for the project and be willing to coordinate site work with other
   parties.
e. CONTRACTOR is to provide temporary office space with internet communication.
          i. Power is scheduled to be installed prior to mobilization; however, the
             CONTRACTOR is to assume providing a temporary generator with grounding and
             containment for bid purposes.
         ii. The CONTRACTOR is encouraged to supply a break trailer for their staff.
f. Escorts must be used for tractor trailer deliveries. Blackout times must be observed and
   the roadway kept clean at the entrance of location.
g. Commissioning support includes (2) pipe fitters, (1) electrician, and applicable
   equipment (i.e., man basket, fork lift, telehandler) for during commissioning phase
   through TIL.
h. The As-Built job book is considered a living document and should be assembled during
   the project as fabrication is underway. A third party will be hired by the COMPANY to
   QA/QC the job book for completeness and verify material standards. The CONTRACTOR
   is responsible for taking lead at assembling, organizing, and verifying all documentation
   is correct including MTR’s, test records, weld maps, bills of lading, X-Ray reports, etc.
   Refer to the As-built documentation guide provided with the bid for full details.
i. Materials
          i. All material is to have the proper paper work (MTR’, etc.) before installation.
             Documentation is to be organized and incorporated into the job book upon
             installation.
         ii. A materials manager is responsible for accounting for all materials, verifying
             material meets specs, verifying all paperwork is accounted for, identifying
             missing or extra parts, and ordering missing materials.
        iii. All material and equipment is to be visually inspected for integrity prior to use.
             Defective or damaged material needs reported to the Construction Foreman
             immediately.
j. Equipment
          i. CONTRACTOR is responsible for offloading all equipment, Crane and equipment
             loading details shall be provided with bid.
k. Piping
          i. CONTRACTOR is responsible for fabrication, pressure testing, drying, coating,
             and installation of all pipe, valves, and fittings.
         ii. CONTRACTOR is responsible for holiday inspection for all buried pipe.
        iii. All below grade piping shall have a minimum cover depth of 36” to top of pipe.
       iv. All below grade piping must have a written cathodic protection plan provided by
             the COMPANY.
         v. CONTRACTOR supplied valves that are 2” and smaller ND shall be rated for
             3,000 psig Working Pressure.
       vi. Glycol lines are to be 2” flanged connections.
      vii. Threaded pipe to have unions every 40’.
      viii. CONTRACTOR supplied 1” and 2” pipe and fittings shall be Schedule XS, Grade B.
        ix. All piping 2” and larger shall be flanged connections unless approved by
             Supervisor of Engineering.
l. Bolting/Torqueing
          i. A torque map shall be provided with the as built documentation.
         ii. Lineup pins shall be made available by the CONTRACTOR to assist with pipe
             installation. Drive pines are not preferred.
       iii. Stud bolts for flanges should be 1/4” longer than standard so that 2-3 threads are
             showing after tightening
       iv. CONTRACTOR is to confirm torque value with the Construction Foreman.
         v. Three passes shall be made for each flanged connection in a 30%, 60%, and 100%
             value process at a minimum.
       vi. CONTRACTOR is required to supply at a minimum a pneumatic and hydraulic
             torque package with two torque heads per each flange size.
       vii. CONTRACTOR is to fill out COMPANY provided torque reports for the As-Built
             documentation.
m. Coating
          i. CONTRACTOR shall adhere to CNX Coating Specifications.
         ii. CONTRACTOR is responsible for all coating material, including paint, below
             grade coating, wraps, rock shield, soil/air transitions wraps, etc.
       iii. CONTRACTOR is to provide coating for all pipe, fittings, valves, and CONTRACTOR
             provided small bore pipe supports.
       iv. CONTRACTOR is to comply with CNXM’s Above Ground Coating SOP and Below
             Ground Coating SOP
         v. Top coat/finish coat is not required for insulated piping. Base and intermediate
             only.
       vi. Coating needs applied to all new and reworked fabrication.
      vii. Coating reports are to be performed and documented for all applications.
     viii. A non-spark media is to be used if CONTRACTOR elects to apply coating on site.
n. Welding
          i. CONTRACTOR shall adhere to CNX provided welding procedure which meets API
             1104 requirements.
        ii. CONTRACTOR shall obtain CNX Welding Certifications prior to any welding.
       iii. Welding to be performed in designated hot work areas. Hot work permits and
            fire watch personnel are required.
       iv. All fabrication shall be performed in accordance to the CNX-SMAW-X42/X65-
            8010-1.1 procedure.
        v. Testing material is provided by CNXM and made available for pick up at the Rice’s
            Landing warehouse.
       vi. Shop welding procedures and proposed field fabrication procedures need to be
            submitted, reviewed, and approved prior to use.
      vii. Measurements shown in isometric drawings must be field verified.
o. Non Destructive Examination (NDE)
         i. All welds shall be 100% NDT at expense of the COMPANY.
        ii. CONTRACTOR is responsible for coordinating with COMPANY provided NDT
            Vendor.
       iii. X-Ray and NDT services from a CNXM approved vendor to be provided by
            CONTRACTOR. Inspection to be in accordance with ASME B31.8. All
            correspondence and scheduling with NDT personnel shall be communicated with
            CNXM.
       iv. Inspection is to be performed on 100% of all welds and read to ASME B31.8. All
            butt-welds are to be 100% X-Ray. MT and PT are suitable for other welding
            applications.
        v. Weld maps are required to display the MTR, heat number, welder stencil, and
            NDT numbering.
       vi. X-Ray film shall be submitted with the completed job book. Digital copies are also
            accepted.
p. Pressure Testing
         i. Pressure tests must adhere to the COMPANY O&M 1003 and SWP-501.
        ii. All above ground pressure testing shall be 4-hour hydrostatic tests unless
            otherwise specified in writing from a COMPANY representative. Refer to
            COMPANY O&M and SWP for detailed pressure test requirements.
       iii. Pressure testing shall NOT take place without prior written approval from
            COMPANY.
       iv. Pressure testing shall NOT take place without a COMPANY representative
            witnessing the test.
        v. CONTRACTOR shall provide COMPANY with a Pressure Test Procedure for
            approval 72 hours prior to starting the test.
       vi. CONTRACTOR is responsible for providing a pressure test report to COMPANY
            Engineering for approval prior to commencing with test. Test report
            requirements are detailed in O&M 1003 and SWP-501, but includes details of
            pressure testing equipment, calibrations records, materials, associated
            documentation such as MTRs and calibration records.
      vii. CONTRACTOR is responsible for providing and disposing of test water and
            providing manifests for sourcing and disposal.
               viii. CONTRACTOR is responsible for providing all DOT required documentation
                     before and after the pressure test.
                ix. MTR’s are required for all components included in the pressure test, including
                     temporary test headers, caps, blinds, etc.
                 x. CONTRACTOR is responsible for all material, consumable, and labor associated
                     with dewatering, cleaning, and drying to COMPANY standards.

13. Electrical Requirements
        a. Electrical construction shall adhere to NEC code and CNX and Industry Standards.
        b. CONTRACTOR is responsible for providing all electrical material.
        c. CONTRACTOR is responsible for installing all electrical material.
        d. Heat Trace must be rated for Class 1 Division 2 Locations and installed per NEC and
            NFPA codes.
        e. Heat Trace shall be 5 watt/ft and include end light kits.
        f. Buried electrical conduits must be installed at 18” cover depth with 6” flowable fill
            concrete and red warning ribbon.
        g. CONTRACTOR is responsible for terminations at end devices.
        h. COMPANY will assist CONTRACTOR in terminations at RTU and PLC cabinets.
        i. CONTRACTOR is responsible for pouring all conduit seals.
        j. CONTRACTOR is responsible for installing and testing the grounding system.
        k. CONTRACTOR is responsible for redlines and as-built drawings.



14. Project Specific Notes
        a. CONTRACTOR shall construct this project to COMPANY standards. This project is not an
            interconnect requiring adherence to another company’s standards.
        b. CONTACATOR is responsible for making sure they adhere to the superseding standards.
        c. This project will have interaction with multiple parties to ensure it’s success. It is the
            CONTRACTOR’s responsibility to work with other COMPANY contractors to ensure a
            timely delivery of the fully commissioned facility.
        d. Archer Road is shared with CONSOL Coal Company whom will be upgrading the Archer
            Road for the local coal portal. Tight coordination of road use will be responsibility of the
            CONTRACTOR. The CONTRACTOR is responsible for working with other local crews, pre-
            planning deliveries, and providing traffic control on the access road when/if required.
            COMPANY will also assist in keeping the access road clear.
        e. Due to COMPANY workload during the first two quarters of 2019, it is requested that
            CONTRACTOR begin what work is permissible by the AQ permit immediately.

15. Job Book Documentation
        a. A Third-party COMPANY provided contractor will perform QA/QC of CONTRACTOR
           package. CONTRACTOR is responsible for developing a complete package and self-
           performing QA/QC prior to turning documentation over to third party. CONTRACTOR is
           responsible for communicating with third party to ensure a timely and complete
           package.
       b. CONTRACTOR is responsible for providing a hard copy and electronic copy of the
          following within two weeks of project completion. Some documents may be requested
          in advance based on project requirements.
                 i. Red Lined As-Built Drawings
                ii. Pressure Test Pressure Charts and Drawings
              iii. Pressure Test equipment certifications
              iv. MTR’s
                v. Bills of lading
              vi. Heat Number Drawing
              vii. Welder Certifications
             viii. Weld Map & Weld Reports including NDT tracking
               ix. All Qualified Personnel Certifications
                x. Coating Reports
               xi. Torque Reports
              xii. All additional DOT required documentation.

16. Extra Work
        a. There shall not be any changes in the Scope of Work without written permission from a
           COMPANY representative.
        b. COMPANY and CONTRACTOR shall agree upon an estimated cost provided by the
           CONTRACTOR prior to approving any extra work.
        c. COMPANY will not pay for extra work that was not approved in writing by COMPANY
        d. All change orders will require T&M back up documentation at time of invoicing.
           COMPANY will not approve any Change Order Invoices without T&M back up
           documentation and proof of COMPANY authorization of additional work.
        e. CONTRACTOR is responsible for keeping a Change Order Log in excel format and sending
           it to COMPANY Project Manager and Construction Representative on a weekly basis.

17. Payment Terms
       a. Net 60 or per preestablished payment term discounts.
       b. Retainage:
                i. A retainer of 10% of the total PO will be held as a line item upon completion of
                   the project.
                       1. 5% will be paid out once the project is completed
                       2. Remaining 5% will be paid out once all job books are turned in by the
                            CONTRACTOR
               ii. Invoices should be submitted with total amount but should include a comment
                   referencing the 10% retainage and the amount that will be withheld from each
                   invoice. (Do not deduct retainage from the amount invoiced, only reference the
                   retainage amount)
              iii. Retainage invoices will be submitted to construction supervisor for approval.
                   Construction foreman will send approved retainage invoices to AP for release.
            EXHIBIT C
“CNXM Station RFP Questions 20181024”
          November 5, 2018
Can you please clarify if this contract will be a T&M or a Lump Sum contract? T&M

Do you want all SOV lines as T&M Not to Exceed? Yes

If it is T&M, will it be billed through our submitted Labor and Equipment Rates with a standard mark-up
on Subcontractors and Materials? Yes, but we expect the labor rates to roll up into the line items listed
in the SOV.

If it is T&M, is this a T&M not to exceed amount based upon our submitted lump sum Budget? Yes

What exactly are the KPI’s and how does apply toward a bonus? Please disregard this in the original RFP.
A revised RFP has been uploaded with this language removed.



Morris

For the tank battery, will we be reusing demoed pipe, structural steel, pipe supports, or will we be
fabricating new? Construct new. The new tank farm needs constructed and in operation before we can
tear the old one out. CNXM will purchase the SS. Equipment from the old tanks needs transported to
Rice’s Landing

If we are fabricating new, who will be handling/discarding demoed material? CNMX will provide
dumpster for disposal of pipe and one for concrete.

Can we expect to receive any civil drawings for the deep compressor foundations? Yes, 10/26

Bid form calls out compressor building foundation, will we receive any drawings for this foundation?
Yes, 10/26

Section 7 in the SOW states that the company will supply structural steel, but Section 10 makes is sound
like the structural steel is on the contractor. Clarification? CNXM purchases SS. Contractor to purchase
anchor bolts.

Are we simply removing the compressors? Or will we be removing the associated piping as well? Pipe
racks and tanks next to the demoed compressors? Remove the (2) 3516’s and rework pipe along the
pipe header for all (5) units. This is shown in the model with colored pipe.

Is everything in shaded purple on the NavisWorks model to be demoed in our scope of work? Yes. The
scope of work does not mention this, but it is included on the model, so we would like clarification on
whether or not the contractor is responsible for this demo? It was mentioned in the bid meeting and on-
site. The contactor will be responsible for removing existing pipe/equipment that is no longer needed
and replacing as necessary. For example, at the beginning of the site meeting, we looked at the inlet and
discussed removing the 12” and 10” inlets and replacing with 72”x30’ S/S horizontal slug catchers.



Archer
Section 7 in the SOW states that the company will supply structural steel, but Section 10 makes is sound
like the structural steel is on the contractor. Clarification? CNXM purchases SS. Contractor to purchase
anchor bolts.

It doesn’t look like we have been provided with any civil foundation or structural steel drawings for this
site. Can we be expecting to receive those? If not, how should we proceed in including pricing for the
foundations and structural steel in our bid? These were uploaded under 90% Drawings
  EXHIBIT D
ACS’s Initial Bid
November 6, 2018
November 6, 2018


Chase Davis, PMP
Strategic Sourcing Specialist
CNX Midstream
1000 CONSOL Energy Drive
Canonsburg, PA 15317

Dear Mr. Davis:

Subject:           Morris Station Expansion
                   ACS Bid No. 18056

ACS is pleased to submit our T & M plus Fixed Markup of Labor and Materials proposal for the above
referenced project as detailed within the scope documents, clarified within this proposal and based on
the following:

                   Attachment 1   Schedule of Values
                   Attachment 2   Clarifications
                   Attachment 3   Exclusions
                   Attachment 4   Preliminary Project Schedule
                   Attachment 5   Organizational Chart
                   Attachment 6   Resumes
                   Attachment 7   List of Sub-Contractors
                   Attachment 8   Time and Material Rates for Labor and Equipment

Should you require any further information or have any questions, please feel free to contact me at
906.280.9328.

Very truly yours
Jim Glass
Jim Glass
Vice President - Estimating


DA/JG/JC/DJ CC
                  Morris Station Upgrade

                     Attachment 1

                   Schedule of Values




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                                        Morris Station Upgrade

                                              Attachment 2

                                              Clarifications

  1. Proposal is based on Request for Quotation dated 10/05/2018. Also includes the 60% Drawings, 90%
     Drawings and all subsequent Updates received 10-9-18, 10-22-18, 10-24-18, 10-26-18 and 10-29-
     18.

  2. ACS’s proposal is based on all work being performed on a 1-10-6 work schedule. Overtime, Sundays
     and holidays are excluded.

  3. The work will be phased due to the AQ Permits. The current permit allows for the installation of the
     second DEHY and the replacement of the (2) 3516’s for 3608’s.

  4. Once the AQ Permit Modification is approved by February 9th, 2019, the construction of the new
     Tank Farm can begin. The existing Tanks can then be removed and the Deep Foundations for the
     additional compression can be installed.

  5. Includes Survey Services to confirm spacing, elevations, etc. Owner to provide Control Points.

  6. All welding to be in accordance with CNXM Specifications which meets API 1104 requirements.
     CNXM is responsible for procuring all NDT services.

  7. A 4-hour Hydrotest of the piping is included in the shop and in the field. Includes supply and disposal
     of the test water and test materials.

  8. Our T & M proposal is based on piping qty’s derived from Model included in the 90% Bid Package.
     No additional piping has been allowed.

  9. Installation of only the equipment called out in Section 3. Project Description Item a. Summary and
     Section 4. Scope of Work Item c. of the Invitation for Bids dated 10/9/2018.

  10. Provide labor and equipment to offload and set/install all major equipment listed in Section 4.
      Scope of Work Item c. of the Invitation for Bids dated 10/9/2018.

  11. Due to the delivery dates of the DEHY, it is very important that the MCC and Backup Generator
      arrive in the same time frame. We have included the use of a 500 Ton crane to set the DEHY due
      to the setting radius of approximately 160 feet. We have included a 230 Ton Crawler Crane that
      will handle a maximum of 120,000 lbs. at a 35-foot radius to set the Generator Skids. Once an
      accurate schedule of delivery dates is provided, we will be able to determine our crane needs.




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                                          Morris Station Upgrade


  12. Provide Pipe, Valves, Fittings, Flange Bolt Up Kits (Studs, Nuts, Washers & Gaskets) smaller than 8”
      Nominal Diameter. The cost of this material is not included in this bid. At this point, we are only
      proposing a 15% mark-up of this material when we purchase it.

  13. Provide labor and equipment to install all sizes of Pipe, Valves, Fittings and Flange Bolt Up Kits.


  14. Provide labor, material and equipment to install Pipe Supports and Buildings as shown and
      described.

  15. Provide labor and equipment only to install Company provided Steel Structures, Company
      provided Maintenance Platforms, Steps and Staircases.

  16. Provide transportation for material from Rice’s Landing yard to site.

  17. Includes offloading all equipment utilizing crane and necessary equipment.

  18. Provide and install Insulating Gasket Kits and Stainless Steel Tubing.

  19. Furnish and install all Insulation as required.

  20. Provide labor and equipment only to install Instrumentation.

  21. Provide and apply Coating Material. All Pipe, Fittings, Valves and Small-Bore Pipe Supports will be
      coated. This also includes all new and reworked fabrications.

  22. Electrical work includes supplying and installing all electrical material. This includes Heat Trace,
      Conduit, Conduit Seals, Cable, Cable Racks, Cable Trays and Grounding Systems.

  23. This proposal includes terminations at Electrical End Devices, Redlines and As-Built Drawings.

  24. Main feeders for MCC A1 and A2 are based on installing 1/C#750 from the load side of the
      switchgear (installed by others). A total of 600 LF of cable has been included for both feeders.

  25. Seals have been included per NEC.




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  26. Conduits have been sized per NEC. Conduit Fill has been included per NEC. Multiple circuits have
      been included in one circuit.

  27. Skid packages are assumed to have Instrumentation mounted, tubed and wired complete to an
      on-skid junction box provided by skid manufacturer.

  28. MCC Building is assumed to have all components pre-installed, pre-wired and tested by the
      building manufacturer.

  29. Loop Check is based on point to point Continuity Checks.

  30. Includes 1,940 LF of tray has been included. NOTE: the model does not indicate tray from the MCC
      Building over to the pipe rack. We have included two 36” trays.

  31. Instrument wiring and new instrument installation have been based on Drawing CNX-MOR-70-
      IOL3 (I/O List – Instrument Additions and Relocations).

  32. Power Wiring has been based on the new one lines and the Load List for Panel PDP-HS1.

  33. Heat Tracing is limited to a total of 600 LF of Heat Trace Cable with a total of a 6 Power
      Connections.

  34. Provide and install Vehicle Barriers as required.

  35. Civil work includes performing the One Call, furnishing and installing Fabric and Final Pad Grading,
      Excavation and Backfill, Concrete Foundations, Third-Party Concrete Testing, Stone per our
      disturbed areas, Sand, Flowable Fill, Rebar, Anchor Bolts and Padding Material.

  36. Proposal includes Temporary Office Space with Internet Connection, Temporary Generator with
      Grounding and Containment.

  37. Provide Commissioning Support consisting of (2) Pipefitters, (1) Electrician and applicable
      equipment for Commissioning Phase through TIL. We assume this time frame to be approximately
      3 weeks.

  38. Proposal assumes Regen Skid is provided assembled except for the oversized stacks.

  39. Includes F2 Foundations shown decide the Compressor Blocks per Addendum #2.


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                                        Morris Station Upgrade


  40. Proposal is based on Approved Haul Routes being provided by others prior to mobilization.

  41. There are (37) Tie-ins on this project. This proposal does not allow for any delays. Any costs
      associated with delays will be in addition to this proposal and could potentially impact the
      schedule. No contingency has been allowed for any delays.

  42. This proposal has no allowance or consideration for delays or interruptions due to other
      contractors work activities onsite.

  43. This proposal set forth assumes that both ACS and CNXM will reach mutually agreeable Terms &
      Conditions.

  44. Cost breakdown given per Schedule of Values is for Accounting purposes only.

  45. This proposal assumes immediate issue and receipt of a Purchase Order due to the time critical
      schedule. Any delays to issue of a purchase order is a change to our schedule day for day. No
      acceleration or additional cost to mitigate such delay has been included in this proposal.




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                                               Attachment 3

                                                Exclusions

  1. Permits
  2. Liquidated/Consequential Damages
  3. Rock Removal as defined by any material encountered that cannot be ripped from the ground with
     a 290 Excavator. If required ACS can provide you with unit prices for rock removal
  4. Testing, Abatement and or removal of any materials deemed hazardous or toxic. Including but not
     limited to Asbestos, Lead, PCB’s. Contaminated soil
  5. Pad and Access Road Construction (by others)
  6. Powerline and Substation (by others)
  7. Inspection Services (by others)
  8. NDT Services (by others)
  9. Supply of Major Equipment – Filters, Meter, Tanks, Control Valves, etc. (by others)
  10. Supply of Pipe, Valves, Fittings, Nuts, Bolts and Gaskets that are 8” and larger (by others)
  11. Supply of Instruments (by others)
  12. Supply of Anodes, Test Stations & SSD’s (by others)
  13. Supply of Structural Steel (by others)
  14. Equipment to load trucks at the Rice’s Landing Yard
  15. Permanent Benchmark Survey Information (by others)
  16. Epoxy Grouting of Compressor Skids
  17. Equipment Insulation
  18. Fencing
  19. Additional High Point Vents and Low Point Drains
  20. The Cooler Grade Beams shown on Drawing CNX-40-MOR-3017 due to lack of detail
  21. Foundations F12, F13, F16, F17, F18 and F27 which are assumed to be existing
  22. Supply and installation of Cathodic Protection
  23. Installation of underground piping
  24. Supply of I & E Enclosures (by others)




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  25. Specialty Systems such as Security System, Camera system, Access Control System and Lightning
      Protection




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                         Attachment 4

                  Preliminary Project Schedule




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                      Attachment 5

                   Organizational Chart




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                     Attachment 6
                       Resumes




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                      Attachment 7

                  List of Subcontractors




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                       Attachment 8

                  Time and Material Rates




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  EXHIBIT E
ACS’s Revised Bid
November 26, 2018
November 26, 2018

CNX Morris Team,
Thank you for your continued consideration in this project. ACS leadership would like to once again reassure
you that our project and safety teams are committed to assisting CNX on this project and others. Our
commitment to this region is to provide the best service with a commitment to safety and environment,
including where possible to leave it better than we found it.

ACS is a minority owned vendor with a strong commitment to promoting diversity, veterans and region. This
spirit resonates in both the work place and in the community.

Per recent conversations we request to submit a revised number for your review. We have included a few
brief comments on how we arrived at our revised price.

Our original proposal was based on a 90% issue package. Questions were asked and answered to the extent
possible. Clarifications were carried in our proposal along with assumptions made utilizing many years of
experience in the Oil & Gas industry.

One concern we have is the 37 tie ins that have to be made. Working with Operations and minimizing
downtime to production schedules is always the goal. However, it becomes difficult to account for a lost
production across a job when we are not able to make the planned tie-ins. This results in stacking of trades
and compounded costs. With indirect cost alone, it is $1500.00 per hour of lost time between supervision
and equipment. Additionally, equipment delivery dates may cause some delays which push the planned
work past the schedule dates and could affect indirect cost.

Our Original proposal of $14,108,760.00 submitted November 6th, 2018 was a number that sought to
mitigate all concerns above and other unforeseen issues. Essentially, we included contingencies and risk
against tie-In delays and subsequent schedule delays and slippages. We included a contingency for
inclement weather, snow or rain. Our goal was to take care of any makeup days. Basically, we tried to cover
all possible issues to avoid any addition cost to CNX.

When asked we responded that our number was a Plus Minus 10% Number and after further review of the
documents that were provided since the bid due day. That statement is true still. After reviewing the
documents, we feel we have a viable number that provides a budget to CNX that they can be used for
budgeting purposes. It allows for construction activities, weather delays, equipment and material delays,
schedule slips regarding tie ins.

If ACS removes the 10% contingency our number is $12,826,145.50 and obviously removes the mitigation
controls mentioned above. Also when removing delays related to tie ins included our number the total
further reduces.


                                                                                                  EXHIBIT
                                                                                                               exhibitsticker.com




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ACS management has had several rounds of discussion and feel that with in depth planning, and holding
agreed upon dates for equipment & tie-ins, our number would be closer to $11.5 million than to $12 million.
Obviously at this level any change or deviation from scope as it stands now, or schedule would be addressed
very transparently between ACS and CNX.
Here are some ways in which money could be saved. 1.CNX could purchase all materials and save the 10-
15% margin on materials. 2. Push your equipment vendors to move up your delivery dates to meet your
schedules. The possible savings are in crane time and in indirect cost.
We look forward to speaking with you in-depth about this project and how we, as a team could move
forward and make this project a huge success.



A few informational items
PIPING SUMMARY
Lineal Ft Pipe – 12,119
Valves - 877
Average Pipe Size - 8.2 inch
Field welds per hundred ft. – 8.8
OTHER
Instruments installed – 140
Tubing – 1000ft
Equipment to Install or Relocate 35 pieces (1.8 million lbs.)
Equipment to Demo – 10 pieces
Civil Approx. 2800 yd (includes engineered base qty)
Structural Steel Approx. – 92,000lbs
Misc. Steel – 35,000 lbs.
Coating
Torqueing
Hydro-test
Line Drying
Punch out
Startup Support
Tie-Ins - 37


Thank you once more for considering us. We look forward to discussing this project further with you.

Jim Glass
Vice President Estimating @ ACS the 8760 Company
9062809328




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     EXHIBIT F
Kevin Dunn Deposition
     w/o exhibits
      CNX MIDSTREAM DEVCO 1 v.
APPLIED CONSTRUCTION SOLUTIONS, INC.




            KEVIN DUNN
              12/22/2020
CNX MIDSTREAM DEVCO 1 v.                                                                                                          KEVIN DUNN
APPLIED CONSTRUCTION SOLUTIONS, INC.                                                                                               12/22/2020
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·1·   · · · · · · · · ·IN THE UNITED STATES COURT                               ·1· · · · · · · · · EXAMINATION INDEX
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·2
·3                                                                              ·3· KEVIN DUNN
·4·   CNX MIDSTREAM DEVCO 1,                                                    ·4· · · ·BY MR. BRUMLEY . . . . . . . . . . . . . .· ·6
· ·   LP,
·5                                                                              · · · · ·BY MR. MICHAELS· . . . . . . . . . . . . . 157
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·8·   · · · · · · · · · Magistrate Judge Lisa Pupo Lenihan
                                                                                ·8
·9
10·   APPLIED CONSTRUCTION                                                      ·9
· ·   SOLUTIONS, INC.,                                                          10
11
· ·   · · ·Defendant.                                                           11
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14                                                                              13
15·   · · · · ·The Zoom deposition of KEVIN DUNN, taken                         14
· ·   upon oral examination, pursuant to notice and
                                                                                15
16·   pursuant to the West Virginia Rules of Civil
· ·   Procedure, before Jaime L. Stroud, Registered                             16
17·   Professional Reporter and Notary Public in and for                        17
· ·   the State of West Virginia, on Tuesday, December
18·   22, 2020, at 9:30 a.m.                                                    18
19                                                                              19
20
· ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·REALTIME REPORTERS, LLC              20
21·   ·   ·   ·   ·   ·   ·   ·   ·   ·   · Jaime L. Stroud, RPR                21
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22·   ·   ·   ·   ·   ·   ·   ·   ·   ·   · Charleston, WV 25301
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· ·   · · · · gmichaels@dmclaw.com                                              · · Deposition Exhibit Number
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·9·   ·   ·   ·   ·   cbrumley@flahertylegal.com                                ·9
· ·   ·   ·   ·   ·   Evan S. Aldridge, Esquire                                 · · ·6· · ·Photograph· · · · · · · · · · · · · · · 134
10·   ·   ·   ·   ·   ealdridge@flahertylegal.com                               10
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11·   ·   ·   ·   ·   200 Capitol Street                                        11
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12·   ·   ·   ·   ·   304.347.4249                                              13
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CNX MIDSTREAM DEVCO 1 v.                                                                               KEVIN DUNN
APPLIED CONSTRUCTION SOLUTIONS, INC.                                                                    12/22/2020
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·1· · · · · · · ·THE VIDEOGRAPHER:· This is the             ·1· limited --
·2· deposition of Kevin Dunn recorded on video for the      ·2· · · · · · · ·(Crosstalk.)
·3· record taken by the defendant in the matter of CNX      ·3· · · Q.· ·So as -- Mr. Dunn, maybe a little -- I
·4· Midstream Devco 1, LP, versus Applied Construction      ·4· didn't know how much you got into this with Greg,
·5· Solutions, Inc., being Civil Action Number              ·5· but in this suit, the Court has currently directed
·6· 2:20-CV-00290.                                          ·6· us to do discovery relating to the contract between
·7· · · · · · · ·This deposition is being conducted         ·7· the parties and what may constitute the agreement,
·8· remotely via Zoom conferencing taking place on this     ·8· the legal agreement.
·9· 22nd day of December, 2020.                             ·9· · · · · · · ·It has several different elements to
10· · · · · · · ·My name is Adam Hager.· I'm the legal      10· that, and I don't expect you to quite follow that,
11· video specialist.· The court reporter is Jaime          11· but for the purposes of today's deposition, my
12· Stroud.                                                 12· inquiry will be limited for the most part to the
13· · · · · · · ·We're now on the record.· The time is      13· agreement that existed between the party, and that
14· 9:30 a.m.· Would counsel please introduce               14· is -- also gets into some of the pattern and
15· themselves, who they represent, and please confirm      15· practices and conduct of the parties during the
16· that you have no objection to the witness being         16· project.
17· sworn remotely.                                         17· · · · · · · ·I'm going to reserve the right to come
18· · · · · · · ·MR. BRUMLEY:· We have Chris Brumley        18· back, and if we need to, get into some of the
19· and Evan Aldridge on behalf of ACS, and we do not       19· nitty-gritty, which -- which I will call the muddy
20· have objection to the remote swearing in.               20· part of this case, like how much money is actually
21· · · · · · · ·MR. MICHAELS:· Gregory Michaels,           21· owed.· We're going to talk about that today just
22· Dickie, McCamey & Chilcote representing CNX             22· because they have to do with amounts of change
23· Midstream, Devco 1, LP, and no objection to the         23· orders and things like that, but all of the
24· witness being sworn in remotely.                        24· questions that I've presented in my outline have to
                                                   Page 6                                                      Page 8
·1· · · · · · · ·THE VIDEOGRAPHER:· Would the court         ·1· do with trying to establish what actual agreement
·2· reporter please swear the witness.                      ·2· existed between CNX and ACS.· Okay?
·3· · · · · · · · · · · ·*· * *                             ·3· · · · · · · ·So you don't have to understand that,
·4· · · · · · · · · · ·KEVIN DUNN,                          ·4· but we -- just so you understand that there's a lot
·5· was called as a witness by the Defendant, pursuant      ·5· of things we're not going to talk about in detail
·6· to notice, and having been first duly sworn,            ·6· that you probably are going to believe are
·7· testified as follows:                                   ·7· pertinent, but it's just not time for us to do that
·8· · · · · · · · · · ·EXAMINATION                          ·8· yet.· Okay?
·9· BY MR. BRUMLEY:                                         ·9· · · A.· ·Understood.
10· · · Q.· ·Mr. Dunn, we've not met personally and only    10· · · Q.· ·Mr. Dunn, where -- where are you joining us
11· gotten acquainted by poor video connection here         11· from video-wise here today?
12· over the last ten minutes or so, but my name is         12· · · A.· ·Washington, Pennsylvania.
13· Chris Brumley, and I represent ACS, and we're here      13· · · Q.· ·Okay.· And is that your residence that
14· to take your deposition today relating to the           14· you're in?
15· project -- what we refer to internally as CNX           15· · · A.· ·It is, yes.
16· Morris Expansion Project.                               16· · · Q.· ·Okay.· What is that address?
17· · · · · · · ·So let's -- to get started, would you      17· · · A.· ·1395 Park Avenue, Washington, PA 15301.
18· please state your full name, proper name, as it         18· · · Q.· ·And how long have you -- how long have you
19· appears like on a birth certificate or driver's         19· resided at that address (audio distortion)?
20· license?                                                20· · · A.· ·25 years.
21· · · A.· ·Kevin Lee Dunn.                                21· · · Q.· ·And who's your current employer?
22· · · · · · · ·MR. MICHAELS:· Chris, if I may             22· · · A.· ·CNX Resources.
23· interject, are we taking this -- are you taking         23· · · Q.· ·All right.· And corporate America has a
24· this in total for Mr. Dunn, or as we to the             24· habit of changing names and identities but kind of

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·1· maintaining the same core group of management.          ·1· · · A.· ·That's understood, yes.
·2· · · · · · · ·How long have you been with CNX            ·2· · · Q.· ·Okay.· And are you under the influence --
·3· Resources group?                                        ·3· are you on any medications, or have any medical
·4· · · A.· ·They just changed their name here I think      ·4· conditions that would otherwise affect your ability
·5· recently.· I just -- I really don't know exactly        ·5· to reasonably hear and understand at least
·6· the -- the -- the actual name they're going under       ·6· cognizable questions if I'm able to ask those?
·7· now to be honest with you.                              ·7· · · A.· ·No, I'm not.
·8· · · Q.· ·Okay.· Have you given a deposition before?     ·8· · · Q.· ·Okay.· So at least as far as you know,
·9· · · A.· ·I have, yes.                                   ·9· there's nothing prohibiting you from having a fair
10· · · Q.· ·How many times?                                10· and honest conversation with us today on the
11· · · A.· ·Once.                                          11· record.
12· · · Q.· ·All right.· When was that?                     12· · · A.· ·That's correct.
13· · · A.· ·It was seven years ago.                        13· · · Q.· ·All right.· So a lot of the issues in this
14· · · Q.· ·Was it in relation to a business matter for    14· case are of technical nature, which of the six
15· CNX or some other type of issue?                        15· people that are sitting here in this video
16· · · A.· ·It was a -- it was a business matter for       16· chatroom, you're probably the only one that has the
17· CNX, yes.                                               17· skill, knowledge, and experience.· So I may ask you
18· · · Q.· ·Okay.· Do you remember the name of that        18· questions today that aren't technically correct as
19· case or a project that that deposition related to?      19· you would understand them with your experience in
20· · · A.· ·I remember the -- you know, what -- what it    20· the -- in the -- in the CNX construction
21· related to.· I don't -- I don't remember the actual     21· superintendent management world.
22· name of the case.                                       22· · · · · · · ·What I ask of you is, is that if
23· · · Q.· ·Okay.· Was it related to --                    23· there's any part of my question you don't
24· · · · · · · ·(Crosstalk.)                               24· understand, or any part of my question that isn't
                                                  Page 10                                                     Page 12
·1· · · A.· ·I know the name of the person that it was      ·1· technically accurate, although tedious, please
·2· against, you know, but -- or --                         ·2· correct me on it.· Okay?· Don't -- don't figure out
·3· · · Q.· ·Okay.· All right.· Was it a specific           ·3· what I'm trying to ask and just go ahead and answer
·4· project or was it like a personal injury suit of        ·4· it.· Let me know that you don't understand the
·5· some type?                                              ·5· question or somehow the question doesn't make
·6· · · A.· ·It had to do with a specific project.          ·6· technical sense to you.· Okay?
·7· · · Q.· ·Okay.· What project would that have been,      ·7· · · A.· ·Okay.
·8· just generally?                                         ·8· · · Q.· ·All right.· And, likewise, you know, you're
·9· · · A.· ·Majorsville.· Majorsville Compressor           ·9· here under oath to tell the truth and the whole
10· Station, I guess you'd say.                             10· truth as to what Kevin Dunn knows.· I may ask you
11· · · Q.· ·Okay.· Well, so, you may have had a            11· things about other people, but I'll try to clarify.
12· discussion with Greg about your deposition today,       12· I really want to know what Kevin Dunn's firsthand
13· and it's not my intention to ask you any questions      13· knowledge is today.· And if we get outside of that,
14· that have to do with the substance of your              14· you just have to say well, you understand this to
15· conversations with Greg.· So if I ask you a             15· be true, but you don't -- it's not your knowledge.
16· question and your answer would somehow require you      16· All right?
17· to divulge conversations or communications with         17· · · A.· ·That's understood.
18· counsel, I want you to not answer with that             18· · · Q.· ·Okay.· Otherwise, if I ask you a base
19· information.                                            19· question and you answer it, you agree it's fair
20· · · · · · · ·We're in a, you know, tech world.          20· that if you don't tell me it's wrong, that you
21· Sometimes visibility to object can be delayed or --     21· understand the question.· Do we have that agreement
22· I just want you to understand that rule.                22· between you and I today?
23· · · · · · · ·In general, you are -- understand          23· · · A.· ·Yes.
24· you're under oath today?                                24· · · Q.· ·All right.· This is not a marathon. I


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·1· don't -- I hope not to be here more than -- you         ·1· what -- on your resume, you know, what
·2· know, not all day with you, but any time you need a     ·2· responsibilities did you have with that entity?
·3· break or there's something that you need to do, or      ·3· · · A.· ·When I left there, I was a superintendent.
·4· we're having technical difficulties, all you --         ·4· · · Q.· ·And did you leave there in about 2013?
·5· just raise that point and we'll take that break and     ·5· Would that -- that be correct?
·6· move on.                                                ·6· · · A.· ·Yeah, the beginning of '14.· Early -- early
·7· · · · · · · ·I'm going to have -- my client is          ·7· in '14.
·8· going to be in and out of the facility here today,      ·8· · · Q.· ·What's your educational background?
·9· Dave Alvarez.· So, you know, there may be times         ·9· · · A.· ·I have 30 years' experience in industrial
10· where we have to take a break and mute up.· But any     10· construction.· I don't -- I don't have a college
11· time you need to take a minute, just please let us      11· education.
12· know that.· Okay?                                       12· · · Q.· ·Okay.· Did you grow up in PA?· I mean, did
13· · · A.· ·Okay.                                          13· you go to high school there or?
14· · · Q.· ·All right.· So getting back to your CNX        14· · · A.· ·Yes, I did.· Yeah.
15· career.· How long have you been with CNX, whether       15· · · Q.· ·Okay.· What year did -- I like to do a
16· it's this company that we just talked about that        16· timeline here just so I can understand your
17· may be newer, but, you know, as the big company,        17· background and I don't miss anything.
18· CNX, what's that career span been?                      18· · · · · · · ·So I assume you graduated in '73 or '2
19· · · A.· ·It's coming up on seven years.                 19· or '4.· What year did you graduate high school?
20· · · Q.· ·Okay.· And what is -- what is your date of     20· · · A.· ·'77.
21· birth?                                                  21· · · Q.· ·And you said you were born in '57?
22· · · A.· ·10/29/57.                                      22· · · A.· ·That's correct.
23· · · Q.· ·Okay.· So what did you do before that?         23· · · Q.· ·Okay.· So 30 years -- this will probably be
24· What company were you with?                             24· easier to do it this way.· 30 years in industrial
                                                  Page 14                                                     Page 16
·1· · · A.· ·I was with a industrial contractor called      ·1· construction experience.· Take me through -- it
·2· Hartman & Hartman.                                      ·2· sounds like we know CNX for the last seven.· We
·3· · · Q.· ·Okay.· And -- and how long were you with       ·3· know, we have a big group of the Hartman group
·4· them?                                                   ·4· before that.
·5· · · A.· ·20 -- almost 30 -- 29 years.                   ·5· · · · · · · ·What was the -- did you have work
·6· · · Q.· ·Okay.· And what -- what business were they     ·6· prior to that in industrial construction?
·7· in?                                                     ·7· · · A.· ·Yes.· I mean, we worked extensively.· When
·8· · · A.· ·Industrial construction.                       ·8· I say, "we," I mean Hartman & Hartman as I worked
·9· · · Q.· ·Okay.· Well, that's pretty broad.· Like,       ·9· there.· We worked extensively in -- in coal; coal
10· building facilities, doing pipe work, exactly what      10· mining industry, the steel industry, the glass
11· was that company involved in?                           11· industry.
12· · · A.· ·They were an industrial general contractor.    12· · · · · · · ·Worked in the power industry such as,
13· So they had an electrical division, a mechanical        13· you know, power plants and substation-type work.
14· division, a civil conv -- division.· You know, they     14· You know, those would -- those would be the -- the
15· had a broad -- pretty broad work, you know.             15· key -- the key things, and that was before oil and
16· Different -- different types of different phases of     16· gas became so popular, prevalent.· I would say the
17· projects.                                               17· last five years that I was there, it was
18· · · Q.· ·Okay.· Did they specialize in energy, oil      18· extensively primarily oil and gas.· Yeah.
19· and gas, or were they, you know, just general           19· · · Q.· ·Okay.· So was -- was Hartman your first gig
20· industrial?                                             20· in the industrial construction field?
21· · · A.· ·I mean, yes.· They -- they were and are        21· · · A.· ·Yes, it was.
22· specialists in oil and gas as well as others.           22· · · Q.· ·Okay.· So did you kind of come up through
23· · · Q.· ·What was your job title with them?· Like if    23· the ranks there as a field laborer and move up
24· I was going to ask you what your background is,         24· through, you know, the -- the layers of project

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·1· control until you became superintendent?                ·1· they hired you out from somebody that built it and
·2· · · A.· ·Yes, that's correct.                           ·2· knew how it worked?
·3· · · Q.· ·The -- the Morris project that we're           ·3· · · A.· ·They hired me to -- for -- I think more
·4· involved here, as I understand it, involves a -- an     ·4· because of my knowledge of construction,
·5· expansion to a compressor station; is that              ·5· industrial-type construction, the oil and gas
·6· accurate?                                               ·6· industry, and managing, that type of work.· I think
·7· · · A.· ·That is accurate, yes.                         ·7· they were -- they were wanting somebody like that
·8· · · Q.· ·Okay.· We're not going to get                  ·8· to -- to work for them.
·9· hypertechnical except that I need to have a little      ·9· · · Q.· ·Okay.· While you were at Hartman, did you
10· bit of background of that to talk about how the         10· have an involvement in any other CNX facility
11· bids and the contract came to be.                       11· buildouts or modifications?
12· · · · · · · ·But did you have any experience at         12· · · A.· ·Yes, there were many.· So I was -- I was
13· Hartman with the type of facility that was at the       13· like the CNX guy for -- for Hartman.· I -- I
14· Morris location?                                        14· managed and oversaw most all of the CNX projects
15· · · A.· ·Yes.· I was very familiar with the Morris      15· for Hartman & Hartman.· And at times there was more
16· location.                                               16· than one going on at a time.
17· · · Q.· ·So would Hartman -- (Crosstalk) --             17· · · Q.· ·Okay.· So in some of the materials that
18· · · A.· ·I lived there -- I had worked on that          18· were in the bids and other information in this
19· particular location when I was with Hartman.            19· case, requests and the like, I saw a reference to,
20· · · Q.· ·Okay.· All right.· Well, that's kind of        20· like, a Buckland job.
21· what I was asking.                                      21· · · · · · · ·Was that a Hartman original buildout
22· · · · · · · ·So take me through how Hartman was         22· project?
23· affiliated with the Morris location prior to you        23· · · A.· ·No, that was not.
24· coming to CNX.                                          24· · · Q.· ·Okay.
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·1· · · A.· ·So we -- we did the original build there on    ·1· · · A.· ·Buckland actually came after -- after
·2· that project as -- as a greenfield site.· We come       ·2· Morris.
·3· in and installed all the original equipment, you        ·3· · · Q.· ·Okay.· So tell me why you left Hartman to
·4· know, and did all the -- all the utility work.· We      ·4· go work for CNX.
·5· did not do the -- the primary excavation, like the      ·5· · · A.· ·Less hours and more money.
·6· road leading into the pad and the pad itself.· That     ·6· · · Q.· ·And do you remember -- I mean, am I correct
·7· was done by others.                                     ·7· that your start date would have been around 2013?
·8· · · · · · · ·But we did all the foundation work,        ·8· Do you actually know when that was precisely?
·9· all the -- all the structural work, set all the         ·9· · · A.· ·Yeah, it was -- my start day was March 14th
10· equipment, did all the piping in the first phase of     10· of '14.· Or I'm sorry, March 17th of '14.
11· that project.                                           11· · · Q.· ·Okay.· When you started at CNX, what was
12· · · Q.· ·Okay.· So, essentially, Hartman was one of     12· your job title when you were hired?
13· the primary contractors that built that facility        13· · · A.· ·I was a -- it's a four word title, so I
14· then?                                                   14· have to try to remember it here.· I never had a
15· · · A.· ·Yes.· The first phase and then another         15· four word title before this.· It was a --
16· phase.· There were quite a few phases, maybe            16· · · Q.· ·That gets you less hours and more money?
17· possibly five.                                          17· · · A.· ·I believe it does, yeah.
18· · · Q.· ·What -- what time frame are we talking         18· · · Q.· ·Oh, then I'm going to change mine.
19· about there?                                            19· · · A.· ·I was a -- I was a facility coordinator.
20· · · A.· ·That would have been probably around 2011.     20· Got two.· Those are two of the -- two of the four
21· 2010, 2011.                                             21· words.
22· · · Q.· ·Okay.· So you went from Hartman to CNX.        22· · · Q.· ·Okay.· What about as you sit there today,
23· Did that have to do with essentially your knowledge     23· what's your -- what's your title there today?
24· of the Morris project and the facility?· I mean,        24· · · A.· ·Well, they changed management at one point

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·1· in time, and they -- the management changed our         ·1· · · Q.· ·Okay.· So --
·2· titles to foreman, so I'm considered a foreman.         ·2· · · A.· ·Just tried to recall some of the -- some of
·3· · · Q.· ·And does your title change based on            ·3· the events, I guess.· Some -- just tried to replay
·4· specific jobs?· Like can you be a project foreman       ·4· the job in my mind a bit, but I didn't do any
·5· for a job and then be a project foreman for another     ·5· researching or anything like that.
·6· job?· I mean, is that generally how your -- your        ·6· · · Q.· ·Okay.· So you haven't reviewed any of
·7· job responsibilities go?· I mean, you're just           ·7· the -- you're the first witness in this case to be
·8· assigned as foreman to construction projects, or do     ·8· deposed, and it's a little -- it's always a little
·9· you have job responsibilities for regular facility      ·9· bit more of a labor intensive for the first person
10· operations as well?                                     10· to give testimony, but -- so you're sort of the
11· · · A.· ·No.· I'm -- I work strictly for the            11· sacrificial lamb on that respect, I apologize.
12· construction -- our construction department.· So        12· · · · · · · ·But you haven't reviewed, for
13· all of my work involves some type of construction.      13· instance, documents that we have provided in
14· · · Q.· ·Okay.· Sounds like Hartman and CNX covers      14· discovery to CNX, or that CNX produced in the
15· most of your construction career.                       15· lawsuit itself to us in preparation for your
16· · · · · · · ·Do you have any other, like, technical     16· deposition; is that accurate?
17· degrees, you know, welding certificates, OSHA           17· · · A.· ·I -- I don't know what documents CNX has
18· safety certificates, any type of other training         18· provided, so I mean --
19· that --                                                 19· · · Q.· ·Okay.
20· · · A.· ·Yes.                                           20· · · A.· ·-- I don't know that I've looked at, you
21· · · · · · · ·(Crosstalk.)                               21· know, anything provided or not.
22· · · Q.· ·-- you hold out?                               22· · · Q.· ·Okay.· Do you maintain any records of your
23· · · A.· ·There's a long list of training that I -- I    23· own relating to the Morris Expansion Project that
24· couldn't sit here and recite it, you know, without      24· we're in this lawsuit about that was let out in
                                                  Page 22                                                     Page 24
·1· actually putting a list in front of myself.             ·1· 2018 and was constructed from late '18 through
·2· · · Q.· ·Since you've been at CNX -- I know it's        ·2· 2019?
·3· been -- you know, we're going on six and a half         ·3· · · A.· ·I -- yes.· I have some files, yes.
·4· years, and I'm just asking for an estimate.             ·4· · · Q.· ·Okay.· Describe for me what you posses with
·5· · · · · · · ·And one of our rules today, Mr. Dunn,      ·5· respect to that project.
·6· is I don't want you to wholesale guess at answers,      ·6· · · A.· ·I have some paper files that -- my wife was
·7· right?· But if I say has it been 50 or 100, it's        ·7· -- is my office assistant, and she files some
·8· fair for you to give me an estimate knowing that,       ·8· papers, and I don't even know exactly what she has.
·9· you know, this isn't -- this isn't something we're      ·9· I know -- I know she has a folder, and I have --
10· going to hold you to, you know, to the precise          10· · · Q.· ·Okay.
11· number.                                                 11· · · A.· ·-- I have not looked at it.
12· · · · · · · ·But how many projects would you            12· · · Q.· ·Is your wife Robin?
13· estimate that you've been involved with on the          13· · · A.· ·Yes.
14· construction side for CNX since you went there in       14· · · Q.· ·I saw her name on some e-mails in this
15· 2014?                                                   15· case, so I wondered whether she was obviously --
16· · · A.· ·Well, some of them were quite large and        16· pretty good chance she was a relation of yours.
17· lengthy, so the number would be probably in the ten     17· · · A.· ·Yes.
18· range.                                                  18· · · Q.· ·Does she formally work for CNX?
19· · · Q.· ·Okay.· The -- and before we get into this      19· · · A.· ·No, she doesn't.
20· project, I just want to understand.· Outside of         20· · · Q.· ·Okay.· So she just helps you facilitate
21· conversations with Mr. Michaels or other counsel        21· documents and other things, and has an e-mail
22· for CNX, what did you do to prepare for your            22· address that might have appeared in e-mails to you
23· testimony here today?                                   23· and otherwise; is that fair?
24· · · A.· ·Nothing.                                       24· · · A.· ·That's correct, yes.

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·1· · · Q.· ·Okay.· Are you a direct employee of CNX,       ·1· · · A.· ·Something like that.
·2· Mr. Dunn, or you have an individual -- like a           ·2· · · Q.· ·-- anything to do with the Morris --
·3· contractor relationship?                                ·3· · · A.· ·No.
·4· · · A.· ·No, I'm a direct employee.                     ·4· · · Q.· ·-- issue that we have?
·5· · · Q.· ·So there -- there's a -- there's a -- you      ·5· · · A.· ·No.· And I did not -- I -- I didn't reply
·6· have a folder of some type, and you're not sure         ·6· to James himself but the -- the request for a
·7· what's in it; you didn't review it in preparation       ·7· recommendation came through and I gave the
·8· for today's deposition?                                 ·8· recommendation.
·9· · · A.· ·That's correct, yeah.                          ·9· · · · · · (Court reporter admonition.)
10· · · Q.· ·Okay.· Besides Mr. Michaels, when is the       10· · · Q.· ·Okay.· Mr. Dunn, I didn't go over this.· On
11· last time you had any conversation about the Morris     11· this Zoom call -- I say this in most depositions --
12· Expansion Project?                                      12· but as we're talking, for the court reporter's
13· · · A.· ·Last week.                                     13· benefit, we have to -- and it's mostly going to be
14· · · Q.· ·Okay.· Did that relate to this lawsuit?        14· my fault, but we have to pretend like we're on a CB
15· · · A.· ·Yes, it did.                                   15· radio.· Only one person can hold the button down at
16· · · Q.· ·And with whom was that conversation had?       16· a time.· So we'll try not to talk over each other.
17· · · A.· ·Carissa Hansen.                                17· · · · · · · ·In a room, the court reporter usually
18· · · Q.· ·Okay.· Did that have to do with preparation    18· figures that out.· On Zoom she just can't hear us,
19· of your understanding of this deposition today?         19· so I'll do my best to let you finish your answer,
20· · · A.· ·No, it didn't.                                 20· and if there's any question that you're answering
21· · · Q.· ·Okay.· Well, then, if it doesn't relate to     21· and I rudely interject, just please hold your hand
22· your deposition, why -- what is the basis of a          22· up and I'll -- I'll go back and let you finish.
23· communication with Carissa a week ago?                  23· It's not intentional.· It's just a -- you know, a
24· · · A.· ·I'm not sure.· I mean, she had some            24· 23-year habit.
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·1· questions; if I remembered certain things about the     ·1· · · A.· ·Okay.
·2· project, and she was asking me if I recollect this      ·2· · · Q.· ·And there's also -- I've done a few of
·3· or that --                                              ·3· these now.· There's going to be times where the
·4· · · Q.· ·Okay.                                          ·4· stream stutters and there's like pauses, like you
·5· · · A.· ·-- and --                                      ·5· have -- like you're watching something on your
·6· · · Q.· ·The -- when is the last time you had           ·6· phone and it's got a bad connection.· If that
·7· communication with anybody from the ACS side?           ·7· occurs, please let me know as well so if you -- you
·8· · · A.· ·I really don't remember.                       ·8· know, if not all the question came through clearly.
·9· · · Q.· ·Okay.· And just to be sure, when I say,        ·9· · · · · · · ·So my basic understanding is that --
10· "communication," that could be e-mail, text             10· what do you call the Morris facility?
11· message, phone call, Zoom meeting, any type of          11· · · A.· ·Morris.· Just Morris.
12· information exchanged with anybody at ACS.              12· · · Q.· ·Okay.· So my understanding is that the
13· · · A.· ·It was --                                      13· project at issue in this suit had to do with
14· · · Q.· ·Even if it doesn't (audio distortion) to       14· developing and expanding the facility so it might
15· the Morris project.                                     15· be able to handle different input pressures into
16· · · A.· ·There -- there was an e-mail earlier this      16· the compress -- is it -- it's a compressor station.
17· year from a James Putman asking me if I would --        17· Am I using that term correctly?
18· I'm trying to think of the right word -- give a         18· · · A.· ·Yes.· That's part of it, yes.
19· reference for one of his employees basically.           19· · · Q.· ·Okay.· If you would, just describe for me
20· · · Q.· ·Okay.· So he had a -- he had an employee       20· what the general plan was for this project.· What
21· looking to get on somewhere else and asking you to      21· were we hoping to do at the Morris facility?
22· support his qualifications type interaction?            22· · · A.· ·We were looking to increase throughput, and
23· · · A.· ·Yes.                                           23· we were adding compression.· We were also adding a
24· · · Q.· ·Didn't have --                                 24· new tier of service, and we were also adding to the

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·1· dehy capabilities.                                      ·1· Upgrades to, you know, Maymont.
·2· · · Q.· ·Okay.· And there are -- there will be          ·2· · · Q.· ·So you named four of those.· Were all of
·3· times -- even though I probably know the answer --      ·3· those at CNX, or is that a mix of Hartman and CNX
·4· we're going to have a transcript of this thing when     ·4· projects?
·5· we're done, and I may ask you to explain some terms     ·5· · · A.· ·That's a mix of Hartman and CNX projects.
·6· that we're familiar with, but just to make sure         ·6· · · Q.· ·Okay.· Which of those would have been --
·7· it's on the same record.                                ·7· but those are all CNX facilities?
·8· · · · · · · ·When we talk about a dehy ability or       ·8· · · A.· ·That's correct.
·9· function, what is that?                                 ·9· · · Q.· ·Okay.
10· · · A.· ·Dehydration.· So your gas stream has liquid    10· · · A.· ·Yeah.
11· hyrdrocarbons and water as it comes -- you know, it     11· · · Q.· ·Were you generally a foreman or a
12· comes from the well pad to the compressor site.         12· superintendent on all those jobs?
13· And you have to dry that -- that gas and it's --        13· · · A.· ·Yes.
14· it's a process, you know, that's used to dry the        14· · · Q.· ·I'd -- I've seen in the materials for the
15· gas stream.                                             15· Morris job you being referred to as the project
16· · · Q.· ·Okay.· So in a -- in a very broad sense,       16· manager.· Is -- was that --
17· there's gas production from gathering lines and         17· · · A.· ·(Crosstalk).
18· wells in the area around the Morris station, and        18· · · Q.· ·-- your role or is that a misstatement?
19· that facility's function is to separate, clean,         19· · · A.· ·I'm basing it on my title as CNX calls it.
20· and -- and make the gas useable for -- is it sale       20· My --
21· into a production line?· Is that what the final         21· · · Q.· ·Okay.
22· result is?                                              22· · · A.· ·My duties include some type of management
23· · · A.· ·Yeah.· We sell it to, like, a transmission     23· obviously.
24· company that would use it for many different            24· · · Q.· ·Okay.· So at the Morris pad, were you
                                                  Page 30                                                     Page 32
·1· purposes.· They may -- they may refine it further       ·1· on-site daily?
·2· or they may sell it, you know, as pretty much of a      ·2· · · · · · · ·I said "pad."· That's a misstatement.
·3· raw product as well.                                    ·3· I'm sorry.
·4· · · Q.· ·Okay.· So the -- the -- so this is             ·4· · · · · · · ·The Morris facility, were you on-site
·5· essentially an improvement to the Morris station to     ·5· frequently and even daily?
·6· help it operate at a better capacity and more           ·6· · · A.· ·Yes.
·7· efficiently.· Is that just a -- is that a fair          ·7· · · Q.· ·Okay.
·8· generalization?                                         ·8· · · A.· ·Up to a point.
·9· · · A.· ·Yes, I guess.                                  ·9· · · Q.· ·All right.· And when you say, "up to a
10· · · Q.· ·Okay.· Had you overseen any projects for --    10· point," is that when you were transferred off of
11· ever, going even back to Hartman, that the -- the       11· that project?
12· purpose was essentially the same as it was at the       12· · · A.· ·That's correct.
13· Morris expansion that we're here about in this          13· · · Q.· ·Okay.· Do you remember about -- I know -- I
14· case?                                                   14· think that was in July of '19 that you were taken
15· · · A.· ·Yes.                                           15· off the Morris project.
16· · · Q.· ·Okay.· Tell me what those were.                16· · · · · · · ·Do you remember the -- with any more
17· · · A.· ·We had, you know, upgrades to the dehy         17· specificity exactly when you left the Morris
18· system, at Hopewell and we added dehydration.· We       18· project?
19· had upgrades to -- many upgrades to our Majorsville     19· · · A.· ·I don't remember the exact day.· I believe
20· plant which included dehydration, compression,          20· it was in July.
21· separation, heat -- heat exchange, that type of         21· · · Q.· ·Okay.· And where did you go to after the
22· stuff.· So there were many phases to Majorsville        22· Morris project?· Were you transferred to another
23· that I was involved in.                                 23· construction job?
24· · · · · · · ·Upgrades to the McQuay plant.              24· · · A.· ·Yes.· The Dry Ridge project.

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·1· · · Q.· ·Dry Ridge?                                     ·1· project?· Did you have some -- still maintain some
·2· · · A.· ·Yes.                                           ·2· responsibilities for the Morris project?
·3· · · Q.· ·Okay.· Do you -- what -- whose decision was    ·3· · · A.· ·No.· I -- I think I was probably on the
·4· it that you were transferred from the Morris            ·4· group message and I was -- I was being copied,
·5· Project to the Dry Ridge project?                       ·5· just -- just to be kept up to speed with some of
·6· · · A.· ·I'm not sure whose decision it was, sir,       ·6· the, you know, e-mails going back and forth.· They
·7· but I know who told me or who instructed me.            ·7· were -- I was being copied.
·8· · · Q.· ·Okay.· Who is that?                            ·8· · · Q.· ·Okay.· Well, it's hard to get off the
·9· · · A.· ·Dennis Koscho.                                 ·9· e-mail string or a text string once you're on
10· · · Q.· ·And at what -- at what stage, if you can       10· there.· I understand.
11· explain to me as a layperson -- at what stage of        11· · · A.· ·Yeah.
12· construction completion was the Morris project when     12· · · Q.· ·Did -- did you provide any guidance on the
13· you left in July of '19?                                13· remaining stages to the Morris project after you
14· · · A.· ·We were -- we -- I mean, we were about         14· formally left to go to the Dry Ridge project?
15· probably two-thirds of the way through the project,     15· · · A.· ·I don't remember, to be honest with you. I
16· based on installing five units of compression, and      16· may have -- I may have answered an e-mail or
17· we had -- we had installed three of the five, so we     17· something or interjected something at some -- some
18· were -- we were at like 60 percent of the project.      18· of my thoughts, but I don't remember, to be honest
19· · · Q.· ·Okay.· And do -- were you advised as to why    19· with you.
20· you were being transferred from the Morris project      20· · · Q.· ·Okay.· To the extent you received e-mails
21· to the Dry Ridge project when you were in July of       21· post your departing the project, did you read those
22· '19?                                                    22· e-mails?· I mean, did you keep up to speed if they
23· · · A.· ·Yes, there was -- there was some               23· were sent to you?
24· explanation there.                                      24· · · A.· ·I did not read all of them.· I may have --
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·1· · · Q.· ·Okay.· I had a -- I had a technical glitch     ·1· I may have read them briefly, but probably did not
·2· there, Mr. Dunn.· I think it's on my end because        ·2· respond to them.
·3· everybody froze but me.                                 ·3· · · Q.· ·Okay.· All right.· I'm going to take --
·4· · · · · · · ·Can you repeat that last answer,           ·4· · · · · · · ·MR. BRUMLEY:· Greg and Realtime, and
·5· please?                                                 ·5· Kevin, we're going to take -- I'm going to take
·6· · · A.· ·Yes, it was explained to me why.               ·6· like a couple minute break here.
·7· · · Q.· ·What was that explanation?                     ·7· · · · · · · ·THE DEPONENT:· Okay.
·8· · · A.· ·That I was needed on the other project         ·8· · · · · · · ·MR. BRUMLEY:· Get another cup of
·9· because there were some issues that needed my           ·9· coffee, stretch my legs.· Let's reconvene in like 5
10· attention.                                              10· minutes.· Okay?
11· · · Q.· ·Okay.· Who would have replaced you at the      11· · · · · · · ·THE DEPONENT:· Okay.
12· Morris project when you left?                           12· · · · · · · ·THE VIDEOGRAPHER:· Going off the
13· · · A.· ·I'm not sure how they decided who -- who       13· record.· The time is 10:14 a.m.
14· would fill my role.                                     14· · · · · · · ·(A recess was taken after which the
15· · · Q.· ·Okay.· And I see in the materials we've        15· · · · · · · ·following proceedings continued as
16· been provided, you are still on some e-mail             16· · · · · · · ·follows.)
17· communications following you leaving the Morris         17· · · · · · · ·THE VIDEOGRAPHER:· Now begins media
18· project.                                                18· unit 2 in the deposition of Kevin Dunn.· We're back
19· · · · · · · ·Do you recall still getting                19· on the record.· The time is 10:25 a.m.
20· communications even though you had left to go to        20· BY MR. BRUMLEY:
21· the Dry Ridge project?                                  21· · · Q.· ·Okay.· Mr. Dunn, with respect to the Morris
22· · · A.· ·Yes.                                           22· station expansion, when did you first become aware
23· · · Q.· ·What was the purpose of the -- you still       23· that that project was in -- in the making?
24· being communicated with, if you were at the other       24· · · A.· ·It was in the fourth quarter of '18.


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·1· · · Q.· ·Okay.· So if we establish -- we have a        ·1· our engineering team as the lead -- lead engineer
·2· timeline, and if I'm -- trust me, if I'm off base,     ·2· on the project.
·3· please correct me, but it looked like that bids        ·3· · · Q.· ·How many people are in the CNX engineering
·4· were solicited in October of '18.                      ·4· team?· I mean, do they have 50 engineers, or do
·5· · · · · · · ·How long before whenever the bid          ·5· they have Carissa and three or four more?· How big
·6· information packets were released and solicited        ·6· is that group generally?
·7· were you aware that the Morris expansion was on the    ·7· · · A.· ·It's not very big.· It's maybe five or six.
·8· table for CNX?                                         ·8· · · Q.· ·Okay.· And had you worked with Orbital
·9· · · A.· ·I -- I had known for some time.· You know,    ·9· before in projects?
10· I knew the job was up and coming.· I was not aware     10· · · A.· ·Yes.
11· that I was going to be involved in it until the        11· · · Q.· ·What project would that have been?· Or
12· fourth quarter, till -- just before bedtime, I         12· projects?
13· attended a couple meetings.                            13· · · A.· ·I don't remember the specific projects, but
14· · · Q.· ·Okay.· The -- so up until the bids were       14· I have worked with them in the past, yes.
15· solicited, I take it you had some role in the          15· · · Q.· ·So you were involved in identifying the
16· project?                                               16· entities that would be solicited to provide bids
17· · · A.· ·Yes.· Just -- yes, I had a -- in the bid      17· for the Morris expansion.· Were you on that
18· selection process, and deciding who would be           18· decision train, so to speak?
19· selected to be on the bidder's list.                   19· · · A.· ·I'm sorry, could you restate the question,
20· · · Q.· ·Okay.                                         20· please?
21· · · A.· ·Reviewing the -- reviewing the model and      21· · · Q.· ·Yeah.
22· the drawings.                                          22· · · · · · · ·So when -- when the project was going
23· · · Q.· ·So take me through for the Morris project.    23· to be let out for bids to, you know, construction
24· I understand that Orbital was a design group that      24· teams like ACS, were you part of the group that
                                                 Page 38                                                     Page 40
·1· worked on this project.· Do you recall them?           ·1· decided what companies would be solicited to bid on
·2· · · A.· ·Yes, I do.                                    ·2· this work?
·3· · · Q.· ·What was Orbital's role?                      ·3· · · A.· ·Yes.
·4· · · A.· ·They were the designer, design engineering    ·4· · · Q.· ·Okay.· Who else was on that -- who else was
·5· firm, that CNX had hired to -- to do that -- that      ·5· in that group that was determining who would be
·6· type of work for them.                                 ·6· asked to do bids?
·7· · · Q.· ·Okay.· To your knowledge, had Orbital done    ·7· · · A.· ·Carissa Hansen, Dennis Koscho, Ryan
·8· similar projects for CNX as the designer?              ·8· Aubuchon, Adam Beck, and Chase Davis.
·9· · · A.· ·Yes, they had.                                ·9· · · Q.· ·Okay.· And so in addition to ACS, who else
10· · · Q.· ·Okay.· So does CNX have its own design        10· was solicited to bid on this project for the
11· group that also works on design of the project?        11· construction side?
12· · · A.· ·They do, yes, but it's limited.· So on a      12· · · A.· ·I don't remember specifically.· I could --
13· project of this size, they would go to a               13· it would be a guess if I -- if I -- I think I --
14· third-party firm to do it and then our people would    14· · · Q.· ·Well --
15· manage that.                                           15· · · A.· ·I think I know, but I don't know for sure.
16· · · Q.· ·Okay.· When you say your people, who from     16· · · Q.· ·Okay.· Would it have been three or four
17· the CNX side would be interacting with Orbital to      17· other groups or would it have been 50?· What --
18· get the -- the design needs met?                       18· give me an idea of what the competition was for
19· · · A.· ·Well, the project engineer was Carissa        19· bidding this work?
20· Hansen, so she was in direct communication with        20· · · A.· ·I think there were five or six that
21· Orbital.                                               21· received bid packages, and then it was narrowed
22· · · Q.· ·All right.· Were you part of --               22· down to just two or three that actually were called
23· · · · · · · ·(Court reporter clarification.)           23· in for bid clarification.
24· · · A.· ·So I said Carissa Hansen was in our -- on     24· · · Q.· ·Okay.· Were you able to review the design


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·1· that was made available to bidders for doing            ·1· · · A.· ·I had very limited input, but it was -- it
·2· responses for bids on this project?· Like did you       ·2· was mostly Carissa.
·3· get to sit down with whatever existed for               ·3· · · Q.· ·Okay.· So if we were to talk about the
·4· contractors, like ACS, to review to produce a bid?      ·4· reason be -- behind potential time delays of
·5· · · A.· ·Yes.· I had access to the bid documents.       ·5· Orbital producing design documents, do you have
·6· · · Q.· ·Okay.· Tell me generally what's in -- what     ·6· information as to whether, for instance, that would
·7· were in the bid documents that all the entities         ·7· be them waiting on information from CNX
·8· bidding would have received?                            ·8· Engineering, or them just not producing design
·9· · · A.· ·There was a model, what we called a 60         ·9· documents in a timely fashion?
10· percent model.· It -- it was not complete.              10· · · · · · · ·Do you have any information relating
11· · · Q.· ·Tell me what 60 -- what does 60 percent        11· to that subject matter?
12· mean?                                                   12· · · A.· ·No, sir.
13· · · A.· ·There was 40 percent of it that was not        13· · · Q.· ·Okay.· So that's not -- when you got less
14· shown in the model.                                     14· hours and more pay, that wasn't put into your
15· · · Q.· ·Okay.· Is that -- as far as the model, was     15· hourly base then.
16· that done by Orbital; to your knowledge?                16· · · A.· ·That's correct, yes.
17· · · A.· ·Yes, it was.                                   17· · · Q.· ·Okay.· Did you have a direct communication
18· · · Q.· ·And on the 60 percent model, from your work    18· with anybody at Orbital?
19· on projects such as this, is that the standard          19· · · A.· ·Yes, I did.
20· information that is typically provided to bidders,      20· · · Q.· ·Who was that contact?
21· a 60 percent model?                                     21· · · A.· ·Jeff Metzger.
22· · · A.· ·It's not uncommon to see a bid go out with     22· · · Q.· ·Okay.· And what was the nature -- I mean,
23· bid documents going out at 60 percent.· It's always     23· what reasoning did you have to communicate with
24· more desirable to have a complete design available      24· Jeff Metzger?
                                                  Page 42                                                     Page 44
·1· for bidding purposes, but that's -- that's really       ·1· · · A.· ·He would visit the -- the job site
·2· not -- I mean, in that -- in that particular time       ·2· occasionally.· My job was more geared to how -- how
·3· frame, that was not what -- you know, what we did.      ·3· are we going to achieve the goals that we set and
·4· It's because --                                         ·4· not really decide what -- you know, what we were
·5· · · Q.· ·Okay.                                          ·5· going to do but how we were going to do it.
·6· · · A.· ·-- because of time constraints.                ·6· · · · · · · ·So Jeff would come out and visit the
·7· · · Q.· ·Okay.· That -- that's my next question.        ·7· site and get some of my thoughts on how we would,
·8· · · · · · · ·What limitations were there that           ·8· you know, do our tie-ins to the existing piping,
·9· prohibited or -- or made it such that a 60 percent      ·9· and -- and how we would -- you know, different --
10· design was available as opposed to something that       10· you know, which -- which particular different
11· was more developed?· Why was it that way?               11· tie-ins we would do, like, at any particular
12· · · · · · · ·MR. MICHAELS:· Objection to form.          12· outage, and which ones, you know, we would wait to
13· · · · · · · ·You can answer, Kevin.                     13· a later time.
14· · · A.· ·Strictly my opinion only, but just trying      14· · · · · · · ·So we -- it was more like a
15· to secure a -- get a contractor to -- an -- on          15· coordinating -- coordinating the effort, you know,
16· board ahead of time because of the -- the way the       16· to kind of give him an idea of what -- you know,
17· market was, you know.· There was -- everybody was       17· what we wanted to do first.
18· very busy at that time, so we were -- we were           18· · · Q.· ·Okay.· So was he more of a as you proceeded
19· trying to establish, you know, a contractor to get      19· in the construction process, and back and forth for
20· somebody on board sooner rather than later.             20· detail so that it could be added to design
21· · · Q.· ·Did you have direct interaction with           21· components of the project?
22· Orbital to build upon the initial model, you know,      22· · · A.· ·I don't understand the question.· Sorry.
23· to make the 60 percent more complete as it went         23· · · Q.· ·Well, so, I guess if we have Carissa
24· forward?· Was that part of your job or -- or not?       24· communicating with Orbital as the project engineer,


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·1· so to speak, I'm just trying to get an idea as to       ·1· undertaken by CNX in the evaluation of the bids
·2· what part of the information you were providing to      ·2· that were submitted by the people that placed bids
·3· Orbital or getting from Orbital that helped you as      ·3· on this project.
·4· the, you know, the project foreman?                     ·4· · · A.· ·So the bid -- the proposal would -- would
·5· · · A.· ·Well, any of the -- you know, as the job       ·5· be put on -- online, put on a share site that we
·6· unfolded, you know, we got 60, 70, you know, 80         ·6· could go and read through the proposal of each
·7· percent more -- you know, the more information as       ·7· particular contractor.· And, you know, I had access
·8· it unfolded, it certainly helped to -- to schedule.     ·8· to that and I could go in and see, you know,
·9· It helped to determine which -- which particular        ·9· where -- you know, what they excluded from the
10· items needed done first, second, third, that type       10· project, what they clarified, what, you know,
11· of thing.· Just managing the schedule, the              11· different questions that were asked, and I was able
12· manpower, and that kind of thing.                       12· to review those -- those particular proposals.
13· · · Q.· ·Okay.· There were multiple change orders       13· · · · · · · ·And, of course, the -- their estimated
14· issued from Orbital to CNX throughout the project.      14· cost, of course, was there as well.
15· Were you ever part of the communication string when     15· · · Q.· ·Do you re -- for instance, do you recall
16· Orbital said they had to do a design change that        16· the type of bid system that was utilized for this
17· resulted in a change order?                             17· project as far as what you were asking the
18· · · A.· ·No, I was not part of that.                    18· proposals to encompass?
19· · · Q.· ·Okay.· So let's go back to the bid process.    19· · · A.· ·Yes.· So we --
20· The projects led out to bid in October of '18, were     20· · · Q.· ·Describe -- as a lay person -- hold on a
21· you part -- I understand there was a PowerPoint         21· second.
22· that was provided to potential bidders as an            22· · · · · · · ·As a lay person, describe for me the
23· initiation description overview, so to speak, of        23· information that you were soliciting and how you
24· the project.· Are you aware of that?                    24· would have gotten to compare sort of the bids to
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·1· · · A.· ·I am, but not -- I don't remember the          ·1· each other.· What were you asking people to provide
·2· details of it.                                          ·2· you?
·3· · · Q.· ·Okay.                                          ·3· · · A.· ·So being that we are offering the 60
·4· · · A.· ·I don't remember.                              ·4· percent documents, we were looking for a contractor
·5· · · Q.· ·You didn't put that together, but you          ·5· that had experience and knowledge to hypothesize
·6· probably saw it; is that fair?                          ·6· what the final outcome would be based on their
·7· · · A.· ·That's fair, yes.                              ·7· experience and knowledge of building compressor
·8· · · Q.· ·Okay.· And in the -- in the bid process,       ·8· plants and dehys.
·9· were you involved in evaluating the bids that were      ·9· · · · · · · ·And a lot of that went, you know, as
10· provided by construction entities for this project?     10· part of, you know, our decision making of who --
11· · · A.· ·Yes.                                           11· who presented the best forecast of, you know, what
12· · · Q.· ·Okay.                                          12· the overall cost would be at a hundred percent.
13· · · · · · · ·THE VIDEOGRAPHER:· This is the             13· And, you know, that's -- that's -- you know, that's
14· videographer.· I'm sorry to interrupt.· Mr. Dunn,       14· where the final number was coming from, you know,
15· is it possible you could tilt your camera down just     15· with the -- use the 60 percent and estimate your
16· a little bit?                                           16· final buildout number.
17· · · · · · · ·THE DEPONENT:· Okay.                       17· · · · · · · ·And, you know, we used their proposal
18· · · · · · · ·THE VIDEOGRAPHER:· It's kind of            18· to kind of see, you know, what they foresaw coming,
19· cutting off your chin a little bit there.               19· you know, like what was going to be needed that was
20· · · · · · · ·THE DEPONENT:· Is that better?             20· not shown on the 60 percent.· And, you know, you
21· · · · · · · ·THE VIDEOGRAPHER:· That's perfect.         21· can get a pretty good feel for who knows what
22· Thank you.                                              22· they're doing by doing -- by, you know -- by
23· BY MR. BRUMLEY:                                         23· reviewing that proposal.
24· · · Q.· ·Take me through what steps that were           24· · · Q.· ·Okay.· So you were looking at -- I would


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·1· assume that the cost and projected project costs       ·1· · · Q.· ·Well, we'll have a race for that one, I
·2· were one of the factors that you were evaluating in    ·2· think.
·3· the bids you received (audio distortion)?              ·3· · · A.· ·It's a little small, I guess, is what I'm
·4· · · A.· ·Yes.                                          ·4· saying.
·5· · · Q.· ·And do you -- do you remember what my         ·5· · · · · · · ·(Crosstalk)
·6· client's initial bid price was?                        ·6· · · · · · · ·THE VIDEOGRAPHER:· This is the
·7· · · A.· ·I don't remember the exact number, no, but    ·7· videographer.· If I can make a suggestion, if
·8· I had a -- I have an idea what it was, but I don't     ·8· you're able to maximize that window there, it may
·9· remember the exact number.                             ·9· make that document a little easier to see.· Zoom
10· · · · · · · ·UNIDENTIFIED SPEAKER:· 14, 1.             10· it.· Perfect.
11· · · Q.· ·My recollection -- and we're not going to     11· · · · · · · ·MR. MICHAELS:· Can we -- Chris, can we
12· hold you to the dollar amounts because this isn't      12· give him a chance to take a look --
13· part of the deposition, but it is important for the    13· · · · · · · ·(Crosstalk.)
14· concept of how we got to this project                  14· · · · · · · ·MR. BRUMLEY:· Yeah.
15· operationally.                                         15· · · Q.· ·Mr. Dunn, this is in an e-mail that we sent
16· · · · · · · ·I think it was over 14 million for the    16· that it sounds like Greg has sent to you.
17· whole project at that point.· Does that sound about    17· · · · · · · ·MR. BRUMLEY:· And in their exhibits,
18· right to you from the initial bid?                     18· is it D.?
19· · · A.· ·Yes.                                          19· · · · · · · ·MR. MICHAELS:· Yes.
20· · · Q.· ·And where were the other bidders in           20· · · Q.· ·Okay.· If you want to open it on your own
21· relation to AC&S's bid?· Were they higher, lower,      21· to review.· The problem we have with us putting it
22· or mixed?                                              22· on the screen is we have to scroll for you to read
23· · · A.· ·Yeah.· They were mixed, yes.                  23· it, so that's why I wanted to give you the e-mails.
24· · · Q.· ·Okay.· The records would reflect that the     24· But see if you can open the e-mail.
                                                 Page 50                                                     Page 52
·1· bids were received by CNX in and about November of     ·1· · · A.· ·Okay.· Can I -- can I just hit leave?· I'm
·2· 2018.· Does that meet with your recollection?          ·2· not familiar with --
·3· · · A.· ·Yes.                                          ·3· · · Q.· ·Well, I think you can just minimize.
·4· · · Q.· ·Let's try to use a little technology here     ·4· · · · · · · ·MR. MICHAELS:· Yeah, Kevin.· You can
·5· just as a fun demo.                                    ·5· minimize and it won't -- you know, we won't follow
·6· · · · · · · ·MR. BRUMLEY:· Evan, I've got Exhibit D    ·6· you.· We won't see what you're doing.
·7· up.· Can you bring up the Invitation for Bids dated    ·7· · · Q.· ·Yeah, don't -- just -- just minimize the
·8· October 9th, 2018.                                     ·8· screen and open your e-mail.
·9· · · · · · · ·Greg, this is the CNX Invitation for      ·9· · · A.· ·Yeah, I'm not seeing minimize on my screen
10· Bids for Expansion of the Morris Compressor Station    10· here.· It's typically up in the right hand corner
11· in Green County.                                       11· and I don't see it there.
12· · · · · · · ·MR. MICHAELS:· Okay, Kevin, just so       12· · · · · · · ·THE VIDEOGRAPHER:· When a screen share
13· you know, I did -- I know you probably -- you've       13· is active, if you move your cursor to the top
14· been testifying and the e-mails did come through to    14· portion of your screen, you may have a little menu
15· us and I have forwarded them on to you as well.        15· or a little button that will allow you to exit the
16· BY MR. BRUMLEY:                                        16· full screen.
17· · · Q.· ·Okay.· So, Mr. Dunn, are you able to see      17· · · · · · · ·You may also try hitting the escape
18· the document as we placed the first part of the        18· key on your keyboard, and that may shrink that down
19· first page on the screen?                              19· to a regular size Zoom window as opposed to a full
20· · · A.· ·Yes.                                          20· screen.· Sometimes screen sharing will just open up
21· · · Q.· ·Is it -- most importantly, is it readable     21· full screen.
22· to you?· Are you able to see it?· It's not --          22· · · · · · · ·THE DEPONENT:· Okay.· I just opened
23· · · A.· ·It's -- you know, it's -- it's readable       23· the view options.· Would I hit "Hide video panel"?
24· until my eyes go crossed and then I can't read it.     24· Would that -- would that work?· Oh, no, that's

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·1· just -- okay.· I see what that did.· Let's see         ·1· you to your CNX e-mail with just Exhibit C.
·2· here.                                                  ·2· · · · · · · ·THE DEPONENT:· Okay.
·3· · · · · · · ·THE VIDEOGRAPHER:· Yeah.· It may have     ·3· BY MR. BRUMLEY:
·4· an option that says full screen during screen share    ·4· · · Q.· ·Mr. Dunn, when you're able to open that,
·5· or something like that.                                ·5· just go ahead and tell us when you've -- you know,
·6· · · · · · · ·THE DEPONENT:· Yeah.· Exit full           ·6· you don't have to read it word for word, but I want
·7· screen.· Still don't see where to minimize here.       ·7· you to be comfortable with what the document is, so
·8· · · · · · · ·Can I just hit, like, "Stop video" and    ·8· --
·9· go to my e-mail or -- I don't see how to minimize      ·9· · · · · · · ·Just let us know when you're ready.
10· it.                                                    10· · · · · · · ·THE DEPONENT:· Yeah.· That last e-mail
11· · · · · · · ·THE VIDEOGRAPHER:· Do you have Zoom       11· you sent me, Greg, it's just -- it's not just
12· full screen right now?· Is that the problem?           12· Exhibit C.· It's --
13· · · · · · · ·THE DEPONENT:· Let's see.· I don't --     13· · · · · · · ·MR. MICHAELS:· Well, there should be
14· I can't --                                             14· another one.· I just sent you another one, so you
15· · · · · · · ·MR. MICHAELS:· You know what -- hey,      15· can give it one more shot.· The other one (Audio
16· Chris, is it -- could Evan stop sharing his screen     16· distortion) I did sent you just exclusively Exhibit
17· just for a minute?· That may help Kevin get where      17· C.
18· he needs to get.                                       18· · · · · · · ·THE DEPONENT:· Yeah, it hasn't -- it
19· · · · · · · ·THE DEPONENT:· Yeah.                      19· hasn't came through yet.· I just still have the
20· · · · · · · ·MR. MICHAELS:· Would that make it a       20· list of the -- all the -- all the different files
21· little easier?                                         21· here.
22· · · · · · · ·THE DEPONENT:· Now I can minimize,        22· · · · · · · ·MR. MICHAELS:· Got you.
23· yeah.                                                  23· · · · · · · ·We'll give that a minute, but it
24· · · · · · · ·MR. MICHAELS:· Okay.· There we go.        24· should be coming through to you.
                                                 Page 54                                                    Page 56
·1· Okay.                                                  ·1· · · · · · · ·THE DEPONENT:· Okay.
·2· · · · · · · ·THE DEPONENT:· Yeah -- okay.· What --     ·2· · · · · · · ·Yeah, the last one I got, Greg, was at
·3· what particular exhibit am I looking for?              ·3· 10:44.
·4· · · · · · · ·MR. MICHAELS:· Exhibit C is how           ·4· · · · · · · ·MR. MICHAELS:· Okay, I sent you one at
·5· they're labeled if you go open up the file.            ·5· 10:54.
·6· · · · · · · ·THE DEPONENT:· Yeah, I got -- yeah, I     ·6· · · · · · · ·THE DEPONENT:· Okay.· I do not have it
·7· gotta download it.                                     ·7· yet there.
·8· · · · · · · ·It's not letting me open it.· I know      ·8· · · · · · · ·MR. MICHAELS:· Let's see.
·9· CNX has a -- has a lock on zip files because           ·9· · · · · · · ·THE DEPONENT:· Yeah, I'm connected.
10· security reasons.· I may need -- I may need some IT    10· All my folders are up to date.· The last one was
11· help to open this.                                     11· 10:44.
12· · · · · · · ·MR. MICHAELS:· Hey, Kevin, I did send     12· · · · · · · ·MR. MICHAELS:· Yeah, and that was --
13· it to your wife's e-mail address that you              13· · · · · · · ·THE VIDEOGRAPHER:· Would you-all like
14· instructed just to --                                  14· to go off the record so we can sort this out, or
15· · · · · · · ·THE DEPONENT:· Okay.· Let's see here.     15· would you like to stay on the record?
16· · · · · · · ·MR. MICHAELS:· (Audio distortion)         16· · · · · · · ·MR. MICHAELS:· It's Chris's call.· I'm
17· around that problem.                                   17· happy to go off for a minute here.
18· · · · · · · ·MR. BRUMLEY:· Greg, maybe as we can go    18· · · · · · · ·MR. BRUMLEY:· Yeah, let's go off the
19· through it, you could -- if you can unzip it, send     19· record for a minute.
20· him the individual exhibits, and that way he can       20· · · · · · · ·THE VIDEOGRAPHER:· Going off the
21· open them one at a time.                               21· record.· The time is 10:57 a.m.
22· · · · · · · ·MR. MICHAELS:· That's not a problem.      22· · · · · · · ·(A recess was taken after which the
23· Sure.                                                  23· · · · · · · ·following proceedings continued as
24· · · · · · · ·All right, Kevin, I just sent it to       24· · · · · · · ·follows.)

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·1· · · · · · · ·THE VIDEOGRAPHER:· Now begins media        ·1· current schedule and 60 percent design set."
·2· unit 3 in the deposition of Kevin Dunn.· We're back     ·2· · · · · · · ·Do you see that sentence?
·3· on the record.· The time is 11:05 a.m.                  ·3· · · A.· ·Yes.
·4· · · · · · · ·MR. BRUMLEY:· And, Jaime, we'll mark       ·4· · · Q.· ·And the next sentence, "The structure of
·5· this as -- it's attachment D to our set, but just       ·5· this bid is T&M plus fixed markup of labor and
·6· let's mark it as Dunn Depo Exhibit 1.                   ·6· materials."
·7· · · · · · · ·COURT REPORTER:· Okay.                     ·7· · · · · · · ·What does that mean?· What is a
·8· · · · · · · ·DUNN DEPOSITION EXHIBIT NO. 1              ·8· structure of "T&M plus fixed markup of labor and
·9· · · · · · · ·(Invitation to Bid was marked for          ·9· materials mean"?
10· · · · · · · ·identification as Dunn Deposition          10· · · A.· ·It's -- it means cost plus to me.
11· · · · · · · ·Exhibit No. 1.)                            11· · · Q.· ·Well, I mean, do you know of any other
12· BY MR. BRUMLEY:                                         12· interpretations of that, or is that what it means
13· · · Q.· ·So, Mr. Dunn, the document that we've just     13· generally in the construction area?
14· been off the record and you've reviewed, do you         14· · · A.· ·(Crosstalk) time and material plus your
15· recognize that document generally?                      15· markup on your -- that you've agreed to through
16· · · A.· ·Yes.                                           16· your Master Service Agreement, whatever that markup
17· · · Q.· ·What is it?                                    17· may be.
18· · · A.· ·It's -- it's an Invitation for Bid as it       18· · · Q.· ·Okay.· And the next sentence is, "A lump
19· states on the top there.                                19· sum will be compared to other contractor bid
20· · · Q.· ·Okay.· So every --                             20· pricing as well as the budgeted amount."
21· · · A.· ·(Audio distortion) -- the work.· I'm sorry.    21· · · · · · · ·What is the lump sum?
22· · · Q.· ·Go ahead.· I'm sorry for interrupting.         22· · · A.· ·I think that -- well, I'm not sure to be
23· · · A.· ·No.· It describes the work that's going to     23· honest with you.· I -- I know that T&M was
24· be performed.                                           24· different than lump sum, so I'm not sure what that
                                                  Page 58                                                     Page 60
·1· · · · · · · ·MR. MICHAELS:· Hey, Chris, I don't         ·1· means.
·2· want to stop.· You mentioned this was attachment D,     ·2· · · Q.· ·Did -- the next line says, "The contractor
·3· but I think you had referenced it being Exhibit C.      ·3· is required to include all assumptions and
·4· I know they're the -- they're kind of same              ·4· completely fill out the SOV document based on
·5· document, so which one --                               ·5· experience and provided documentation."
·6· · · · · · · ·MR. BRUMLEY:· So to avoid confusion, C     ·6· · · · · · · ·What does SOV stand for?
·7· and D are essentially the same document.· One was       ·7· · · A.· ·Schedule of values.
·8· the initial bid, and the other -- I think C is the      ·8· · · Q.· ·Okay.· And were you familiar with that
·9· subsequent October 26th, perhaps, revised bid           ·9· document as it was provided by the bidders and
10· document that only revises some of the dates in the     10· filled out by the bidders for this project?
11· middle, but we're using C that you sent to him and      11· · · A.· ·Yes.· I don't remember in detail, but I see
12· reviewed for this purpose, which I believe is the       12· those often.· Schedule of value.
13· second revised document.· So it's the same              13· · · Q.· ·Okay.· The next sentence says, "Once IFC
14· document, just with one more revision.                  14· drawings have been developed, the contract will
15· · · Q.· ·Okay, Mr. Dunn.· Going back to what we were    15· have the opportunity to apply the pricing to the
16· saying.· The -- all the bidders would have received     16· updated plan set quantities to firm up the project
17· this document along with the model that we referred     17· cost."
18· to before that was a 60 percent design model; is        18· · · · · · · ·What is IFC drawings?
19· that correct?                                           19· · · A.· ·Issued for construction.
20· · · A.· ·Yes.                                           20· · · Q.· ·Okay.· So are those the design drawings
21· · · Q.· ·And the -- if you look at the third            21· that the contractor would have in his hand to
22· paragraph there, it -- halfway down, it says that,      22· actually know the detail of building the -- the
23· "CNXM is requesting a pricing for the work detailed     23· project that they -- that was involved in this
24· in this, and all company documents based on the         24· case?· Is that what I need, sort of the blueprints?

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·1· · · A.· ·Yes.                                           ·1· equipment and (audio distortion.)
·2· · · Q.· ·Is the issue for construction documents        ·2· · · Q.· ·Okay.· I don't know if you broke up on me
·3· part of the 40 percent that isn't included in that      ·3· there, or you were just away from the mic, but --
·4· initial 60 percent model?                               ·4· so if you -- if you scroll down the document a
·5· · · A.· ·Yes.                                           ·5· little bit, it lists the communication people for
·6· · · Q.· ·When was the issue for construction            ·6· the company, and you are the construction foreman
·7· documents due to bidders so they could provide the      ·7· per that list in part 2 -- or category 2
·8· estimate referred to in this paragraph?                 ·8· communication in this document, correct?
·9· · · · · · · ·MR. MICHAELS:· Objection.                  ·9· · · A.· ·Yes.
10· Misrepresents the text of the document.                 10· · · Q.· ·So eventually ACS obviously was awarded
11· · · Q.· ·Do you understand the question, Mr. Dunn?      11· this job.· Who did you work with mainly to
12· · · A.· ·Yes.· Could you repeat the question,           12· communicate regarding scope and proposed changes on
13· please?                                                 13· this project while you were there?
14· · · Q.· ·Okay.· So -- so let me make it simpler so      14· · · A.· ·James Putman.
15· even us lawyers can understand it.· That's pretty       15· · · Q.· ·Okay.· And is it your understanding as
16· simple.                                                 16· changes were proposed or identified by Mr. Putnam
17· · · · · · · ·The -- we have a 60 percent model that     17· (sic) that you were the person in charge of
18· are provided to bidders, and then we have reference     18· approving those changes or not?
19· here to these issued for construction drawings, and     19· · · A.· ·Yes, that's correct.
20· the statement that the contractor will have the         20· · · Q.· ·Okay.· You made reference a couple seconds
21· opportunity to apply pricing to the updated plan        21· ago to identifying whether changes were within --
22· sets to firm up project costs.                          22· something was within the original scope or was a
23· · · · · · · ·Was it your understanding that a           23· change.
24· contractor would be selected and then update its        24· · · · · · · ·Is that part of what your job was?

                                                  Page 62                                                    Page 64
·1· pricing when the IFC designs were provided, or that     ·1· · · A.· ·Yes.
·2· there would be a supplemental opportunity for           ·2· · · Q.· ·All right.· So tell me what you used to
·3· contractor to see IFC drawings before CNX selected      ·3· define what the scope was in order to determine
·4· the winning bidder?                                     ·4· whether something was within the scope or was a
·5· · · · · · · ·MR. MICHAELS:· Objection to form.          ·5· change?
·6· · · · · · · ·You can answer, Kevin.                     ·6· · · A.· ·Several things.· I used the model.· I used
·7· · · A.· ·Yeah, it was -- it was -- the IFCs would       ·7· the PNID drawings.· I used the isometric drawings,
·8· have come after contractor selection.                   ·8· and I would use the -- the ortho drawings.
·9· · · · · · · ·MR. BRUMLEY:· Where is that?· Okay.        ·9· · · Q.· ·What of those drawings were available to
10· All right.                                              10· bidders when they laid out their initial bid price
11· · · Q.· ·So if I understand it correctly, you were      11· for the project?· Was it just the model, or were
12· going to get the bids, select a contractor, and         12· other drawings available to them?
13· then IFC design drawings were going to be provided,     13· · · A.· ·I don't remember to be honest with you.
14· and then you were going to work on it from there;       14· · · Q.· ·Okay.· The -- at some point after the bids
15· is that fair?                                           15· were submitted -- and just for representation, I
16· · · A.· ·Yes.                                           16· think that ACS's bid was in the $14,100,000 range.
17· · · Q.· ·So tell me precisely what your role --         17· · · · · · · ·Are you aware that CNX asked for
18· once -- once they started work, what was Kevin          18· contingencies to be removed from that bid amount to
19· Dunn's role on the project?                             19· lower the price?
20· · · A.· ·So I was just to oversee the quality of the    20· · · A.· ·I was aware that the price was lowered. I
21· work, to interface with the contractor as far as        21· don't -- I didn't remember -- or I don't remember
22· scheduling's concerned.· Any work outside of the        22· why.
23· scope would be discussed and approved by myself,        23· · · Q.· ·Okay.· Well, who at CNX would have
24· and coordinate -- coordinate, you know, delivery of     24· requested that that price be lowered?


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·1· · · A.· ·I'm not sure.                                 ·1· · · A.· ·There were times -- or there was a time
·2· · · Q.· ·And you don't know the reasoning why that     ·2· that I had a discussion with Frank (audio
·3· request was made?                                      ·3· distortion) about using a reducing tee in several
·4· · · A.· ·No.                                           ·4· places in lieu of a weldolet.
·5· · · Q.· ·So if -- take me through, Mr. Dunn, what      ·5· · · Q.· ·Okay.· So let's -- using that as an
·6· information and interaction you would have with the    ·6· example, I assume that there's a number of those.
·7· ACS representative, James Putnam (sic).· Was this      ·7· You don't recall each and every one of them; is
·8· like a daily meeting or a weekly meeting?              ·8· that fair?
·9· · · · · · · ·I mean, tell me how you guys worked       ·9· · · A.· ·That's fair, yeah.
10· together to get this project built.                    10· · · Q.· ·Okay.· Did you end up having to use any
11· · · A.· ·James was my main point of contact, my        11· other design professionals besides Orbital on this
12· first point of contact, I would say.· Him and I        12· project?
13· both were on site daily.· We met daily several         13· · · A.· ·Not that I can recall.
14· times a day.· They -- we normally met in the           14· · · Q.· ·Okay.· Did -- did CEC have any involvement
15· evening to -- to clarify any -- any -- anything        15· in this project?
16· that -- you know, any outstanding issues of the        16· · · A.· ·Yes.
17· day, you know, things that were needed for the next    17· · · Q.· ·What was their role?
18· day, the next week, the next month, and so forth.      18· · · A.· ·Their role was to help with field measuring
19· · · · · · · ·Kind of -- so we met, you know, at        19· to -- so we could, you know, get measurements to
20· least at minimum every -- every afternoon or every     20· the shop for accuracy you might say.
21· evening near the end of the shift.· You know, I was    21· · · Q.· ·Okay.· Were -- was the -- what point did
22· out on location and out of my office, and I'll --      22· they become involved in this project?· Were they
23· you know, where the work was being done often. I       23· intended to be involved from the outset, or is that
24· would communicate with James, you know.· Him and I     24· a need that developed during the project itself?
                                                 Page 66                                                     Page 68
·1· would both walk the site together and, you know,       ·1· · · A.· ·That's a need that developed as the project
·2· bounce ideas off each other of what -- you know,       ·2· unfolded.
·3· what direction it needed to go from there, you         ·3· · · Q.· ·And explain for me why that was a need in
·4· know, because there were some things that were kind    ·4· this project and wasn't part of the Orbital design
·5· of unclear, but -- that we had to kind of work out     ·5· itself.
·6· in the field, such as tie in points and outage --      ·6· · · A.· ·I believe it was the contractor was
·7· outage days and certain things like that.              ·7· responsible for field measuring to do -- to do the
·8· · · Q.· ·So if you look in the document that we are    ·8· checks and balances to make sure that the -- that
·9· using as Exhibit 1, it talks about what the            ·9· the isos were correct, and, you know, to field --
10· contractor is to do, and you see in the first          10· to field verify any and all isos.
11· paragraph as far as the scope statement, it's to       11· · · · · · · ·They were -- well, CEC was brought in
12· provide labor, materials, tools, and equipment         12· to help ACS do that at CNX's expense actually.
13· necessary for the expansion of the Morris              13· · · Q.· ·Any other design work that you -- or
14· Compressor Station.                                    14· technical work like CEC that you needed to use on
15· · · · · · · ·Was it your understanding that the        15· this project that wasn't covered by Orbital?
16· contractor would have any design responsibilities      16· · · A.· ·I mean, I -- Carissa Hansen was our project
17· in this project?                                       17· engineer who made this -- who made decisions at
18· · · A.· ·No.                                           18· times.
19· · · Q.· ·Okay.· As the project developed, did you      19· · · Q.· ·The project was proposed -- if you look at
20· find it necessary to work with the contractor to do    20· the schedule, initially the award date for this
21· field design solutions to make up gaps that weren't    21· project was the first of November of 2018 and was
22· included in the Orbital design documents?              22· moved back a week.
23· · · A.· ·Yes.                                          23· · · · · · · ·Do you know why that was, why the
24· · · Q.· ·Okay.· Give me some examples of those.        24· award date was pushed back?

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·1· · · · · · · ·MR. MICHAELS:· Are we on page 3 of        ·1· number.
·2· this doc -- or page 4 of this document?                ·2· · · · · · · ·He had a numbering system for each and
·3· · · · · · · ·MR. BRUMLEY:· Yes.                        ·3· every item, and, you know, we would -- we would
·4· · · A.· ·Is that Table 1, Morris Bid Schedule?         ·4· agree to track that.· Not -- not agree to add funds
·5· · · Q.· ·Yes.                                          ·5· to their PO, but agree to track it to see where we
·6· · · A.· ·I don't recall why that got pushed back.      ·6· were going to end up at the end there at the -- at
·7· · · Q.· ·All right.· So as far as you recall, you      ·7· the -- and see if those funds were actually needed,
·8· don't know of any other design professionals           ·8· you know, to be added to the PO.
·9· besides CEC that was used on this project, right?      ·9· · · Q.· ·Okay.· So if I'm hearing you correctly,
10· · · A.· ·I don't recall.                               10· when you looked and determined that materials were
11· · · Q.· ·Okay.· The contractor had an obligation to    11· actually a change in scope, then ACS would assign
12· field measure as you've just mentioned, correct?       12· it a number, you had already approved it, and it
13· · · A.· ·Correct.                                      13· would be deemed a change, but you didn't allocate
14· · · Q.· ·Did you find that there was an extreme        14· that as it related to -- you didn't, for instance,
15· amount of field measurement due in this project        15· increase the PO because you had new out of scope
16· because of the lack of Orbital detail in design        16· work.· It just went to the same PO.
17· that led to CEC's involvement?                         17· · · A.· ·That's correct.
18· · · · · · · ·MR. MICHAELS:· Objection.· Assumes        18· · · Q.· ·All right.· Did you ever track the time and
19· facts not in evidence.· And objection to form.         19· material charges that were within scope?· Like did
20· · · · · · · ·Go ahead and answer, Kevin.               20· you have a category of, okay, they've spent 4
21· · · A.· ·I mean, any -- any and all isos were to be    21· million on in scope work and they got 500,000 of
22· field verified by CNX -- or I'm sorry.· I -- any       22· out of scope work.· Did you track it by that means
23· and all isos were to be field measured by ACS, and     23· at all?
24· they did not -- they were not keeping up with the      24· · · A.· ·They would bill against the schedule of
                                                 Page 70                                                     Page 72
·1· field measuring, and we brought in -- we, as in        ·1· values.· So their invoices would reflect the
·2· CNX, brought in CEC to help move along the -- the      ·2· schedule of value, you know, what percentage
·3· field (audio distortion) process.                      ·3· complete of that particular line item, you know,
·4· · · Q.· ·Okay.· So it's your testimony that the CEC    ·4· and then would be -- you know, it would be invoiced
·5· measurement was just to supplement the obligations     ·5· as completed work.
·6· of ACS for measurement and didn't build into any       ·6· · · Q.· ·Sure.· But I mean, if you have a change
·7· way the field design of the project?                   ·7· order and it has a cost associated with it, it's
·8· · · A.· ·That's what I recall, yes.                    ·8· going to add to the overall cost of the project,
·9· · · Q.· ·So I'd like you to take me through,           ·9· right?
10· Mr. Dunn, the process of how a change to the           10· · · A.· ·That's correct.
11· project scope was presented to you in a -- this is     11· · · Q.· ·Okay.· So the change orders were being
12· more of the process, not anyone in specific, at        12· billed simultaneously with the regular percentage
13· this time by ACS.                                      13· completion work, correct?
14· · · · · · · ·Take me through how that happened.        14· · · A.· ·I don't recall actually.
15· What was the protocol?                                 15· · · Q.· ·For the change order, I guess you could add
16· · · A.· ·If there was something that wasn't            16· materials, right?
17· identified in the -- in the model or the PNIDs or      17· · · A.· ·Yes.
18· in the isos or in the orthos, that item would be       18· · · Q.· ·And then you could have the -- the time
19· determined by me to be out of scope.· And James        19· costs, the labor, you know, the -- what makes up
20· Putman would bring it to my attention that this was    20· T&M, right?
21· needed to be done, and, you know, him and I would      21· · · A.· ·Right.
22· go look at it, and I would determine that, you         22· · · Q.· ·And those -- that's how you calculated and
23· know, it was out of scope work, and then he would      23· approved the changes.
24· assign it a number of some -- some type of billing     24· · · A.· ·Well, my job was to track, to agree or

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·1· disagree with the manpower used, the equipment         ·1· the work, you were -- they were monitoring and you
·2· used, the third-party subcontractors used, and not     ·2· were monitoring the total time and materials costs,
·3· really to agree or disagree with the actual cost.      ·3· and the only reason you would go and get more money
·4· · · Q.· ·Well --                                       ·4· allocated to this project is if it increased the
·5· · · A.· ·I was simply agreeing that, yes, you use      ·5· bid amount.
·6· that manpower.· Yes, you use that equipment (Audio     ·6· · · A.· ·Yes.
·7· distortion) on that particular job.· And that's --     ·7· · · Q.· ·And that happened on multiple occasions for
·8· that's what I was approving.· I wasn't approving       ·8· this project, right?
·9· any dollar amount.                                     ·9· · · A.· ·Yes.
10· · · Q.· ·But those costs were already fixed in this    10· · · Q.· ·Okay.· Let me look through the rest of this
11· -- in the contract, right?· I mean, we knew what       11· document and make sure I'm done with it there,
12· the hourly charges were, and if you had to buy         12· Mr. Dunn.
13· materials, we knew that that was the cost of the       13· · · · · · · ·As far as the -- let's go back to the
14· materials plus some markup.· I mean, those -- those    14· change process we were discussing.
15· prices were already established.                       15· · · · · · · ·Were you familiar and aware of the
16· · · A.· ·Yes.                                          16· language in the main contract document for this
17· · · Q.· ·Okay.· Did you and Mr. Putnam (sic)           17· project?
18· generally reach agreement as to items being either     18· · · A.· ·No, I wasn't.
19· within the scope or being a change because they        19· · · Q.· ·Okay.· So your process was done based upon
20· were outside the scope?· For the most part, did you    20· your understanding of the project and not any
21· guys agree on the resolution of those items?           21· reading by yourself of how these things were
22· · · A.· ·Yes.                                          22· supposed to operate on the Morris Expansion
23· · · Q.· ·Would you then communicate any of that        23· Project?
24· information to CNX Engineering or accounting?          24· · · A.· ·That's correct.
                                                 Page 74                                                     Page 76
·1· · · A.· ·Yes.                                          ·1· · · Q.· ·Okay.· And is it fair to say that your base
·2· · · Q.· ·Okay.· How would you do that?· Tell me        ·2· understanding was that you were going to monitor
·3· the -- tell me the process of you providing either     ·3· the work, make sure it was fair and reasonable, and
·4· the engineering department or the -- the accounting    ·4· that those costs would be applied to this project
·5· department information that they needed to follow      ·5· on a time and material basis?
·6· along with the -- with the project.                    ·6· · · A.· ·Yes.
·7· · · A.· ·There were several tools for that.· One       ·7· · · · · · · ·MR. MICHAELS:· Objection to form.
·8· being a -- we'd have a weekly shop progress            ·8· · · Q.· ·Did this project become a concern to your
·9· meeting, and in that meeting we would keep -- or we    ·9· knowledge, Mr. Dunn, because it was exceeding what
10· would discuss changes with -- with the engineering     10· CNX had as a budgeted amount for this expansion?
11· department, and -- and construction management         11· · · A.· ·I did not know what -- (Crosstalk).
12· department.                                            12· · · · · · · ·MR. MICHAELS:· Objection.· I'm sorry.
13· · · Q.· ·Okay.· Who at CNX would have been the         13· · · · · · · ·I just want to get in I object.· Calls
14· person responsible for understanding that you've       14· for speculation.
15· authorized a change that's going to result in a        15· · · · · · · ·Kevin, answer if you can.
16· increase of the total cost of completion?              16· · · A.· ·Yes.· Repeat the question, please.
17· · · A.· ·Well, it was -- it was understood by me       17· · · Q.· ·Yeah, I wanted to know if you became aware
18· that if they did not cross the threshold of a          18· that CNX had concerns about the increased cost of
19· certain amount that was agreed to, that it would       19· completion of this project.
20· not be considered extra work.· It would be included    20· · · A.· ·Yes, I was aware of that.
21· in the -- in the total cost of the job.· That's --     21· · · Q.· ·Okay.· Tell me when you became aware of
22· that's the way I understood it.                        22· that and what you know about it.
23· · · Q.· ·Okay.· So the way you understood it, even     23· · · A.· ·I mean, they were -- I mean, CNX was aware
24· though you were identifying things as changes to       24· that I was identifying certain items that were out


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·1· of scope, and they were -- they understood that        ·1· · · A.· ·That's correct.
·2· those items could possibly put us over the amount      ·2· · · Q.· ·And if there were no changes to the work
·3· that was agreed to not to exceed.                      ·3· and their T&M was 14, they still would only be paid
·4· · · Q.· ·What is in your mind the "not to exceed"      ·4· 12 million, correct?· Because it's not to exceed
·5· concept?· What does "not to exceed" mean to you in     ·5· that price in your mind.· So --
·6· these projects?                                        ·6· · · A.· ·Not exactly.
·7· · · A.· ·Based on the contract information, you        ·7· · · Q.· ·I'm sorry.
·8· would -- it would be done T&M.· The scope of work      ·8· · · A.· ·(Audio distortion.)
·9· described would be done T&M, not to exceed a set       ·9· · · Q.· ·Okay.· So did you track the work that was
10· dollar amount.· If the -- if the scope -- if it was    10· within scope in T&M versus the work that was
11· within scope and it exceeded that set dollar           11· changed in scope T&M?
12· amount, then it would be determined that the           12· · · A.· ·It -- yes.· I mean, it was tracked through
13· contractor would be responsible for the costs.         13· the invoicing process.
14· · · Q.· ·Okay.· So does it work this way?· If the      14· · · Q.· ·Okay.· So the only way I would know that is
15· contractor was given the scope of the project and      15· if James Putnam (sic) and you agreed it was a
16· was given a hundred percent complete design, then      16· change, and they would bill it out as a change,
17· they would only get to charge the contract amount      17· then it's added to the change category, and it
18· to this job no matter how much they spent.             18· doesn't -- it would be extra over the "not to
19· · · · · · · ·MR. MICHAELS:· Objection.· Calls          19· exceed" price?
20· for --                                                 20· · · A.· ·Yes.· If -- if the -- the extras that we
21· · · · · · · ·(Crosstalk.)                              21· were identifying caused the job to go over the 12
22· · · Q.· ·There's no change --                          22· million plus threshold, then that -- those changes
23· · · A.· ·Yeah, that was a break up there.· Sorry.      23· would be used.· Those -- those approved changed
24· Can you repeat it?                                     24· items would be calculated and would weigh into the
                                                 Page 78                                                     Page 80
·1· · · · · · · ·MR. MICHAELS:· One of the factors of      ·1· final payment the way I saw it.· If they --
·2· Zoom here, but you can't -- objection.· I objected     ·2· · · Q.· ·So they --
·3· on basis of circulation.· Calls for a hypothetical.    ·3· · · · · · · ·(Crosstalk.)
·4· · · · · · · ·MR. BRUMLEY:· Sure.                       ·4· · · Q.· ·I'm sorry.
·5· · · Q.· ·Go ahead, Mr. Dunn.· Am I -- did I -- am I    ·5· · · A.· ·If they were to complete the project,
·6· understanding that "not to exceed" correctly, that     ·6· including the changes, and came in under that
·7· if there were no changes to scope, if the              ·7· amount, they would only be paid, you know, the 11
·8· contractor would have had all the information and      ·8· million that you --
·9· it didn't modify at all, that the contract price       ·9· · · Q.· ·I understand.
10· was the maximum amount that they would make on this    10· · · · · · · ·So in the change order world, there
11· project under the "not to exceed" concept?             11· were a number of small changes, but the first
12· · · A.· ·No, that's not correct.                       12· change order for this project was like 1.9 or 1.6
13· · · Q.· ·Okay.· Tell me where I'm -- where I'm off     13· million dollars.
14· base with that then.                                   14· · · · · · · ·Tell me how the change orders that
15· · · A.· ·So it would be -- it would be tracked as      15· increased the PO amount came to be.· How did that
16· T&M, and if -- if the job was completed under the      16· process work?
17· set amount, then that would be what would be           17· · · A.· ·Well, I think several things weighed into
18· awarded to the con -- you know, paid to the            18· that.· One of them being when the -- when the 100
19· contractor.                                            19· percent drawings -- or when the -- issued for
20· · · Q.· ·Okay.· So but -- so if this project was       20· construction, the IFC drawings come out, there were
21· initially bid out at 12 point -- 12 million            21· changes that needed made.· Obviously there were --
22· dollars, and they were able to do all the work with    22· there were additional items that were not included
23· no changes for 11, they would only be paid 11          23· in their original bid, and those items were
24· million, right?                                        24· identified and calculated.

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·1· · · · · · · ·And then there were also the day-to-       ·1· the project?
·2· day items that we were -- that James Putman and         ·2· · · A.· ·Yes.
·3· myself were identifying as outside of scope, and I      ·3· · · Q.· ·Okay.· Was that the intent from the
·4· would sign off on those.                                ·4· beginning that Orbital would provide design some
·5· · · · · · · ·But I don't think change order is the      ·5· time frame prior to that particular work being
·6· right word, even though it was -- I think we were       ·6· done?
·7· using a change order letterhead or a change order       ·7· · · A.· ·I really don't know what the intent was
·8· format.· In my mind, we were tracking with those        ·8· from Orbital, so I really can't comment on that.
·9· forms that I was approving.· We were tracking the       ·9· · · Q.· ·Okay.· Did you ever find yourself as the --
10· cost and we were going to use it if we went over        10· you know, being in charge of the project from CNX
11· the 12 plus, you know, contract amount.· And I          11· waiting on Orbital design components?
12· believe those -- you know, between those items and      12· · · A.· ·Not from the field.· I mean, not -- not
13· the items identified in the IFCs, that's what           13· really like firsthand on the field.· I know there
14· created the change order that was actually -- that      14· were some delays on -- for isos as far as shop
15· actually increased the PO.                              15· fabrication.
16· · · Q.· ·Okay.· So when I see that first change         16· · · Q.· ·Okay.· Explain what that -- explain in lay
17· order taking us from, you know, the 12 million          17· terms what that means.
18· number up to 14 million number, that was really --      18· · · A.· ·So the pipe that was coming to the job and
19· that work had already been done in the field,           19· fabricated at AFC shop was coming in slower than
20· right?· That was just changing the PO amount?           20· anticipated, let's say.· The delivery.· And it --
21· · · A.· ·I'm not sure if the IFC increase was           21· they were saying it was caused by not having the
22· already completed at the time of the PO increase,       22· isos -- the isometric drawings as needed.
23· but the -- but I believe that all the -- I believe      23· · · Q.· ·Who is "they"?
24· that part of that anyway was what -- the ones that      24· · · A.· ·ACS.
                                                  Page 82                                                     Page 84
·1· I signed off on were included in that first PO.         ·1· · · Q.· ·When -- I want to fast-forward for just a
·2· First and second, I believe.· I don't have that         ·2· second, Mr. Dunn.· But when you left the project in
·3· information in front of me, though.                     ·3· July of 2019, you said three of the five units had
·4· · · Q.· ·In the -- in the scope and in the other        ·4· been completed.
·5· areas of this project, for instance, it refers to       ·5· · · · · · · ·Did you understand where the AC&S time
·6· contractor establishing field personnel, field          ·6· and materials totals were for the original scope of
·7· office, storage of field -- materials in the field      ·7· the work when you left?
·8· is -- where is that?· What is the, quote, field?        ·8· · · A.· ·Please repeat that.
·9· · · A.· ·I don't understand your question.              ·9· · · Q.· ·Yeah.
10· · · Q.· ·Well, in the documents that refers to field    10· · · · · · · ·So when you left -- I just quantified
11· design, things of that nature, I just want to know      11· it a little bit.· You told me that the project was
12· from you what is the, quote, field?· Is that the        12· -- had three of the five units completed when you
13· project site?                                           13· left in July of '19.
14· · · A.· ·Yes.                                           14· · · · · · · ·When you left the project, were you
15· · · Q.· ·The -- when -- so you went through the         15· aware of the dollar amount that AC&S had in the
16· process.· When -- do you remember when in the job       16· project for time and materials that was within what
17· process that the IFC documents became available to      17· you considered the original scope of the project?
18· contractor?                                             18· · · A.· ·Yes.
19· · · A.· ·I don't remember exactly when that             19· · · Q.· ·What was that?· Tell me where they were
20· occurred.                                               20· with that at that point.
21· · · Q.· ·Okay.· It seems that based on Orbital's        21· · · A.· ·In dollar amounts?
22· production, they were releasing stages of design as     22· · · Q.· ·Or percentage of the contract amount,
23· the project went along.· Is that your recollection      23· whatever way you monitored it.
24· of how Orbital provided more detailed designs in        24· · · A.· ·Yeah.· I mean, I don't remember exactly,

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·1· you know, what -- what had been invoiced and what      ·1· have that.· Kevin, it would have been the last
·2· had been paid.                                         ·2· e-mail I just sent you, would have X in it.
·3· · · Q.· ·Okay.· So -- so you understand that it had    ·3· · · · · · · ·MR. BRUMLEY:· Yeah.· So mark this as 2
·4· been invoiced, but you didn't know, for instance,      ·4· for the court reporter.
·5· if the original scope in the contract amount was 12    ·5· · · · · · · ·And, Kevin, it's a one-page document,
·6· million dollars, you didn't know how much of that      ·6· so I don't think you have to open the exhibit.· You
·7· had been billed to the project at that point in        ·7· can read it on the screen that's in front of you.
·8· time?                                                  ·8· · · A.· ·Yes, I can read it.
·9· · · A.· ·Yes.· I knew -- I knew how much the           ·9· · · · · · · ·DUNN DEPOSITION EXHIBIT NO. 2
10· invoices totaled up to.                                10· · · · · · · ·(Project Status Report from Orbital
11· · · Q.· ·Okay.                                         11· · · · · · · ·was marked for identification as Dunn
12· · · A.· ·Yes.                                          12· · · · · · · ·Deposition Exhibit No. 2.)
13· · · Q.· ·But did you know which -- what I'm trying     13· · · Q.· ·Okay.· Tell me what Exhibit 2 is.
14· to get at:· Did you know what the invoices were        14· · · A.· ·If you give me a second, I'll digest it.
15· that related exclusively to the original scope?        15· · · Q.· ·Take -- take your time.· Yeah, take
16· · · A.· ·I did at the time, but I don't remember       16· whatever time you need to review it.
17· exactly, you know, how it broke down to the            17· · · A.· ·So this is I guess what it says it is.
18· schedule of values.                                    18· Project Status Report from Orbital.· I -- I don't
19· · · · · · · ·MR. BRUMLEY:· All right.· I need to       19· recall ever seeing this before.
20· take a quick break here, so let's take five            20· · · Q.· ·Okay.· Well, that was my next question.
21· minutes.                                               21· · · · · · · ·So in your work as the -- the CNX
22· · · · · · · ·MR. MICHAELS:· Do you want to take a      22· project manager, you didn't get these reports from
23· little bit longer?· It's noon here.· Did you want      23· Orbital?
24· to think about lunch and give Kevin a chance           24· · · A.· ·No.
                                                 Page 86                                                     Page 88
·1· here -- (Audio distortion) --                          ·1· · · Q.· ·Okay.· You'll have to speak up there.· Is
·2· · · · · · · ·MR. BRUMLEY:· I'm willing to do           ·2· that a "no"?
·3· whatever you guys want to do.· Do you want to do a     ·3· · · A.· ·That's no, yes.
·4· lunch -- lunch break 30 minutes?· We can't go          ·4· · · Q.· ·Okay.· Well, then, just -- I've highlighted
·5· anywhere, but yeah.                                    ·5· some issues on here.· You don't -- they're not
·6· · · · · · · ·MR. MICHAELS:· Well, hey, Kevin's in      ·6· going to relate to this document, but in the Work
·7· his house, so he --                                    ·7· Plan, Phase 1, the schedule is by January 14th of
·8· · · · · · · ·(Crosstalk.)                              ·8· '19, the civil, including electrical and grounding
·9· · · · · · · ·MR. BRUMLEY:· Have Robin make us some     ·9· design.
10· lunch or something and show it to us so we --          10· · · · · · · ·Do you know whether or not Orbital had
11· · · · · · · ·THE VIDEOGRAPHER:· Going off the          11· that portion of the design done by January 14th?
12· record.· The time is 11:53 a.m.                        12· · · A.· ·I don't recall.
13· · · · · · · ·(A recess was taken after which the       13· · · Q.· ·Okay.
14· · · · · · · ·following proceedings continued as        14· · · A.· ·And just to make a point.· I -- I was
15· · · · · · · ·follows.)                                 15· not -- I was there but I wasn't overseeing directly
16· · · · · · · ·THE VIDEOGRAPHER:· Now begins media       16· the electrical portion which would be electrical
17· unit 3 in the deposition of Kevin Dunn.· We're back    17· and grounding.
18· on the record.· The time is 12:32 p.m.                 18· · · Q.· ·Okay.· Well, then let's look at the next
19· BY MR. BRUMLEY:                                        19· one.· By the end of January, the 31st, mechanical.
20· · · Q.· ·Okay, Mr. Dunn.                               20· Was the mechanical design done by January 31st?
21· · · · · · · ·MR. BRUMLEY:· And, Greg, we're going      21· · · A.· ·I don't recall.
22· to use Exhibit X next.· It's only one page, so         22· · · Q.· ·The -- do you know what the -- when they
23· we're going to put it up on the screen.                23· refer -- when it refers to Phase 1 and Phase 2, did
24· · · · · · · ·MR. MICHAELS:· Okay.· Kevin should        24· you have a characterization of phases for this

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·1· project?                                                ·1· project?
·2· · · A.· ·No.                                            ·2· · · A.· ·My wife has a way of collecting things that
·3· · · Q.· ·Okay.· So to you, it was just one project.     ·3· I have that need to be saved, and she just collects
·4· You didn't have it broke down into phases.              ·4· it and files it away, and keeps it -- certain
·5· · · A.· ·That's correct.                                ·5· things that -- it's not things that I've told her
·6· · · Q.· ·Okay.· Civil design of February 11, 2019.      ·6· to collect or save.
·7· Do you know whether the civil design was completed      ·7· · · · · · · ·I may have a pile of things on my desk
·8· at that point?                                          ·8· that she would gather up and keep, you know, on her
·9· · · A.· ·I -- I don't recall the date that it was       ·9· own behalf because she likes to keep things like
10· complete.                                               10· that.· I usually, you know, have them right there
11· · · Q.· ·Mr. Dunn, did you experience delays in the     11· on my desk but she'll put them away.
12· field due to waiting on Orbital design components?      12· · · · · · · ·So I don't know what she has in there.
13· · · A.· ·No.· Not that I remember.                      13· I haven't -- I haven't looked.· Again, I moved on
14· · · Q.· ·Okay.· All right.· So you're saying that       14· to other things and never looked back.
15· there was never a time delay on the project waiting     15· · · Q.· ·Okay.· Well, then let's go from your -- I
16· on Orbital design materials.                            16· mean, it sounds to me like you made infield
17· · · A.· ·Well --                                        17· determinations as to what was within the original
18· · · · · · · ·MR. MICHAELS:· Objection.                  18· scope as bid and what was a change and add to the
19· · · · · · · ·Assumes (audio distortion.)                19· project.
20· · · A.· ·-- there may have been --                      20· · · · · · · ·Would -- do you recall in the project
21· · · · · · · ·MR. MICHAELS:· -- testimony.· He           21· ever having a delay due to lack of permitting or
22· testified that he was not aware of -- of that.          22· permits being held?
23· · · Q.· ·Go ahead, Mr. Dunn.                            23· · · A.· ·Again, I've been on several large projects
24· · · A.· ·No, he -- I mean, there may -- there were      24· recently that have had permit issues as well, and I
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·1· things that the shop was waiting on, but we -- we       ·1· do not recall exactly what -- if there were any and
·2· had plenty of work in front of us.· I mean, I don't     ·2· what those issues may have been.
·3· remember the job ever slowing down or stopping in       ·3· · · Q.· ·Okay.· Well, then let's do it -- since you
·4· any way, shape, or form due to lack of material or      ·4· don't recall specifically, let's do it out of a
·5· lack of information.                                    ·5· conceptual basis.
·6· · · Q.· ·Do you recall ever having to field modify      ·6· · · · · · · ·If the project work was delayed due to
·7· designs that Orbital provided to make the project       ·7· a lack of permits being obtained, then would ACS be
·8· work, like meet up with piping or connections and       ·8· entitled to a change for that condition?
·9· things of that nature?                                  ·9· · · · · · · ·MR. MICHAELS:· Objection.· Calls for
10· · · A.· ·Yes.                                           10· speculation.
11· · · Q.· ·In the -- when we were discussing earlier      11· · · Q.· ·You can answer.
12· the world of scope, within scope and out of scope,      12· · · A.· ·If -- if there was other work that -- I
13· would those field changes be additional scope           13· mean, if there was work being done, if it -- if it
14· materials on this project?                              14· hadn't stopped work or slowed down work, I would
15· · · A.· ·Yes.                                           15· say no.
16· · · Q.· ·Do you have -- we talked a little bit about    16· · · Q.· ·Yeah.· So it's -- if the condition actually
17· you having project file still available to you.         17· caused the project to not move forward, then it's a
18· What does that file contain?· I mean, what could        18· delay change.· But if it didn't, then it's not; is
19· you go back -- if you went to study it, what's in       19· that fair?
20· there?                                                  20· · · A.· ·That's fair.
21· · · A.· ·I've never seen it.· I do not know what's      21· · · · · · · ·MR. MICHAELS:· Object to form.
22· in it.                                                  22· · · · · · · ·You can answer, Kevin.
23· · · Q.· ·So it's just materials you've kind of          23· · · A.· ·Yeah, that's fair.
24· accumulated during your supervision of this             24· · · Q.· ·Let's talk -- what about -- what about


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·1· weather delays?· Did this project, being that it        ·1· · · Q.· ·Okay.· So your -- is it your testimony that
·2· was done in a good deal of early winter 2019, were      ·2· ACS should have assumed in their project plan that
·3· there weather delays on this project?                   ·3· there would be a fire and a -- and a· site would be
·4· · · A.· ·There were inefficiencies due to weather.      ·4· unavailable for that purpose?
·5· The job was never shut down because of weather.         ·5· · · · · · · ·MR. MICHAELS:· Objection to form.
·6· · · Q.· ·Was the job -- so you're saying that there     ·6· · · · · · · ·Go ahead, Kevin.
·7· was, to your knowledge, no calculable delay due to      ·7· · · A.· ·The fire did not happen during work hours.
·8· weather on the project.                                 ·8· It happened at night when nobody was there and did
·9· · · A.· ·I mean, as a contractor, you have to assume    ·9· not affect -- did not affect what they were doing.
10· certain weather delays in southwestern Pennsylvania     10· · · · · · · ·We -- we probably -- (Video
11· that's part of the project.                             11· distortion) -- we probably had a stand-down and
12· · · Q.· ·That would be a contingency, right?· We'd      12· discussed the issue at hand, the -- the reason
13· build that into our project costs?                      13· there was a fire, and why it's important, you know,
14· · · A.· ·That's correct.                                14· to pay attention to these reasons, and you know,
15· · · · · · · ·MR. BRUMLEY:· Take this off the            15· which is part of the safety -- you know, the
16· screen.                                                 16· morning safety meetings, and, you know, that type
17· · · Q.· ·And you told me, I think, earlier in the       17· of thing, but --
18· deposition that you weren't aware as to the             18· · · Q.· ·Did the --
19· reasoning why CNX asked bidders and ACS to remove       19· · · · · · · ·(Crosstalk.)
20· contingencies from their original bid price, right?     20· · · A.· ·-- to extend the delay as far as that's
21· · · A.· ·That's correct.                                21· concerned.
22· · · Q.· ·So if I had those contingencies in the         22· · · Q.· ·Did a compressor burn up in the fire
23· original bid and I reduced it by removing those,        23· project?
24· isn't that a change to the new contract price?          24· · · A.· ·Yes, sir.· Yes, it did.
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·1· · · · · · · ·MR. MICHAELS:· Objection.· Calls for a     ·1· · · Q.· ·Did AC&S need to remove that burned
·2· legal conclusion.                                       ·2· compressor?
·3· · · · · · · ·Objection.· Calls for speculation.         ·3· · · A.· ·Yes.
·4· · · Q.· ·Go ahead.                                      ·4· · · Q.· ·Do you consider that an ACS acceptable
·5· · · A.· ·I'm not aware that that's why the price was    ·5· change to the project or should they --
·6· reduced.· If that is the -- I mean, if that is the      ·6· · · A.· ·Yes.
·7· reason.· I don't remember why the price was             ·7· · · Q.· ·-- have considered that in their --
·8· reduced, the -- the contingency.                        ·8· · · A.· ·Yes, I do.
·9· · · Q.· ·What about was there any delays to the         ·9· · · Q.· ·How many -- what's -- first of all, what's
10· project due to CNX making the site unavailable          10· an ESD?
11· during the construction time frame?                     11· · · A.· ·Emergency shutdown.
12· · · A.· ·I don't -- I don't recall any time when I      12· · · Q.· ·Okay.· Do you -- can you tell me how many
13· was there that the site was unavailable.                13· of those occurred on this project from its startup
14· · · Q.· ·Do you recall having any safety stand-downs    14· until you left in mid-July of '19?
15· or safety related interruptions?                        15· · · A.· ·No, I can't tell you how many.· There were
16· · · A.· ·Yes.                                           16· several.· Some of them were caused by ACS.· Some of
17· · · Q.· ·And would that be time that the contractor     17· them were caused -- were caused by CNX.
18· could work?                                             18· · · Q.· ·During the time you were on the project,
19· · · A.· ·Yes, but it was to be assumed by the           19· Mr. Dunn, did AC -- did CNX extend the completion
20· contractor that that's normal -- that's normal          20· date?
21· procedure in a operating facility.                      21· · · A.· ·I don't recall.
22· · · Q.· ·So the -- do you recall there being a fire     22· · · Q.· ·Okay.· Let's look at -- let's open --
23· at the facility relating in a safety stand-down?        23· · · · · · · ·MR. BRUMLEY:· Greg, let's use Exhibit
24· · · A.· ·Yes.                                           24· R next as Deposition Exhibit 3.

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·1· · · · · · · ·DUNN DEPOSITION EXHIBIT NO. 3             ·1· Chris, to keep it moving, do you want to put it up
·2· · · · · · · · (ACS Extra Work Field Report dated       ·2· there and share the screen and let him scroll it
·3· · · · · · · · March 26th, 2019 was marked for          ·3· through real quick?· It's only two pages.
·4· · · · · · · · identification as Dunn Deposition        ·4· · · · · · · ·MR. BRUMLEY:· Sure.· Sure.· Let's --
·5· · · · · · · · Exhibit No. 3.)                          ·5· BY MR. BRUMLEY:
·6· · · · · · · ·MR. MICHAELS:· Kevin, R is in the         ·6· · · Q.· ·Okay.· That's page 1, Mr. Dunn.· It's the
·7· second e-mail I sent you on -- around -- you should    ·7· ACS Extra Work Field Report dated March 26th, 2019.
·8· be able to find that here.· I just sent it in          ·8· · · A.· ·Okay.· I'm just trying to get back to my
·9· sequence around 12:30.                                 ·9· full screen here.· There we go.· Okay.· All right,
10· · · · · · · ·Did you find it, Kevin?                   10· I see the Extra Work Field Report.
11· · · · · · · ·THE DEPONENT:· No, I'm still looking.     11· · · · · · · ·MR. BRUMLEY:· Scroll down, Evan, so he
12· I'll have it here in a second.                         12· can see that on the next page.
13· · · · · · · ·Would it be the 10:31 a.m. -- no, it      13· · · A.· ·Okay.
14· wouldn't have been that one.                           14· · · Q.· ·So this Exhibit, Mr. Dunn, tell me what it
15· · · · · · · ·MR. MICHAELS:· Here, you know what,       15· is.
16· I'll shoot it to you right now again just to be --     16· · · A.· ·Extra Work Field Report from ACS that
17· make it easy.                                          17· describes anchor bolts for compressors from a
18· · · · · · · ·Headed your way now.                      18· certain company, Robert Rowan & Associates that we
19· · · · · · · ·THE DEPONENT:· Which exhibit are we       19· asked ACS to purchase.
20· looking for?                                           20· · · Q.· ·Okay.· So would this be an example of
21· · · · · · · ·MR. MICHAELS:· Exhibit R.· I just sent    21· something that you directed ACS to do that was
22· it to you here.· Left my inbox at 12:50 sent to        22· outside of their original scope of contract?
23· you.                                                   23· · · A.· ·Yes.
24· · · · · · · ·THE DEPONENT:· Okay.· It hasn't -- it     24· · · Q.· ·And is this Extra Work Field Report --
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·1· hasn't came yet.                                       ·1· excuse me -- how ACS would present to you items
·2· · · · · · · ·MR. MICHAELS:· Well, I sent it to         ·2· that they believed to be extra work?
·3· you -- if you have my earlier e-mails, it's in         ·3· · · A.· ·Yes.
·4· there as well.                                         ·4· · · Q.· ·In general.
·5· · · · · · · ·THE DEPONENT:· I'm looking through the    ·5· · · A.· ·In general.
·6· last two you sent me, and I have, you know, F, G,      ·6· · · Q.· ·And then if you scroll down on that page,
·7· H -- okay, hold on -- there's T, E.· That one          ·7· at the bottom of the page, you signed that on
·8· started out --                                         ·8· 5/13/19.
·9· · · · · · · ·MR. MICHAELS:· Okay.· if you have --      ·9· · · · · · · ·Is that how you would indicate
10· if you have Exhibit T, Exhibit R was with it.          10· approval as the project manager for the extra work,
11· · · · · · · ·If you scroll down on that.               11· deeming it extras?
12· · · · · · · ·THE DEPONENT:· Exhibit G, you say?        12· · · A.· ·Yes.
13· · · · · · · ·MR. MICHAELS:· No, no.· Exhibit R.        13· · · Q.· ·Okay.· And would you be provided -- at the
14· · · · · · · ·The first one I sent you -- I sent you    14· time you would sign it, the page 2 which is the
15· these all at 12:30 in succession with every            15· actual invoice cost --
16· document.· So if you're looking at Exhibit G, then     16· · · A.· ·Yes.
17· go to the next e-mail from me and that R should be     17· · · Q.· ·-- you would have that information when you
18· included in that e-mail.                               18· signed it, correct?· You would know that that was a
19· · · · · · · ·THE DEPONENT:· I only have two e-mails    19· --
20· from you. (Unintelligible).                            20· · · · · · · ·(Crosstalk.)
21· · · · · · · ·MR. MICHAELS:· All right.                 21· · · Q.· ·-- material purchase?
22· · · · · · · ·THE DEPONENT:· Yeah.· The first one at    22· · · A.· ·Yeah, not necessarily would have the
23· 12:35 has X.· Exhibit Z as well.                       23· invoice.· That would be backup documentation for
24· · · · · · · ·MR. MICHAELS:· Well, do you want to --    24· when they invoiced for this work.

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·1· · · Q.· ·Uh-huh.                                        ·1· · · · · · · ·THE DEPONENT:· Yeah, that's fine.· We
·2· · · A.· ·I was just signing that, that field ticket,    ·2· can just go with the screen.
·3· approving for them to go ahead and purchase those       ·3· · · Q.· ·Okay.· So we discussed earlier, Mr. Dunn,
·4· bolts.· I didn't know how -- I mean, they had a         ·4· SOV meant schedule of values is --
·5· cost, I think, associated.· It may not have been an     ·5· · · · · · · ·MR. BRUMLEY:· And, Court Reporter,
·6· exact cost.· This -- this invoice would follow in       ·6· remind me what -- if this is marked as the next
·7· the actual, you know, backup documentation.             ·7· exhibit, which I intend to, what is the number?
·8· · · Q.· ·Okay.· Would -- tell me how this extra work    ·8· · · · · · · ·MR. BRUMLEY:· Court reporter might be
·9· approval would be billed.· Is that just billed from     ·9· on mute.
10· ACS directly to the project?                            10· · · · · · · ·MR. MICHAELS:· Chris, are you marking
11· · · A.· ·Yes.                                           11· Exhibit R as Exhibit 3?
12· · · Q.· ·Did you notify anybody at CNX when you         12· · · · · · · ·MR. BRUMLEY:· Yes.
13· approved extra work items such as this exhibit?         13· · · · · · · ·COURT REPORTER:· I think Number 4, but
14· · · A.· ·Yes.· We -- we had a -- like an extra work     14· since I'm not marking them, I'm not keeping track.
15· log that we were keeping.· Like I said, the -- it       15· I don't know.
16· was assigned a number by ACS, you know, for billing     16· · · · · · · ·MR. BRUMLEY:· Okay.
17· purposes.                                               17· · · · · · · ·THE VIDEOGRAPHER:· This is the
18· · · · · · · ·Management was aware of these items        18· videographer.· I've been keeping notes.· I believe
19· and they were discussed in our weekly meeting.          19· this is Exhibit 4.
20· They were, yes, kept track of on a log, so to           20· · · · · · · ·MR. BRUMLEY:· Okay.· So what is
21· speak, on an extra work log.                            21· disseminated between us as Exhibit B will be
22· · · Q.· ·Okay.· So at least while you were there, I     22· Exhibit 4.
23· could look at the extra work log and it would           23· · · · · · · ·DUNN DEPOSITION EXHIBIT NO. 4
24· identify the items that AC&S provided you and you       24· · · · · · · ·(Schedule of Values was marked for
                                                 Page 102                                                    Page 104
·1· approved as extra work?                                 ·1· · · · · · · ·identification as Dunn Deposition
·2· · · A.· ·That's correct.                                ·2· · · · · · · ·Exhibit No. 4.)
·3· · · Q.· ·What about after you left, are you aware as    ·3· BY MR. BRUMLEY:
·4· to whether that practice continued?                     ·4· · · Q.· ·Mr. Dunn, what we're looking at on the
·5· · · A.· ·I am not aware, no.                            ·5· screen now, is this the schedule of values that we
·6· · · Q.· ·Let's use -- let's use Exhibit B next if we    ·6· were referring to earlier?
·7· can locate that one.· If you can't -- this one is       ·7· · · A.· ·Yes.
·8· two pages.· If you can't find it, we can use it on      ·8· · · Q.· ·Okay.· And this would be a part of the
·9· the screen.· Just let me know.                          ·9· original bid items from contractor ACS and others
10· · · A.· ·Oh, yeah.· I'm -- I thought you were           10· for this project?
11· bringing it up.· I can -- I can go to it here.          11· · · A.· ·It appears to be.· I can't see the whole
12· Let's see here.                                         12· thing.
13· · · · · · · ·Which particular one are we looking        13· · · Q.· ·Okay.· Well, did you use a Schedule of
14· for?                                                    14· Values document to determine what was within and
15· · · · · · · ·MR. MICHAELS:· Exhibit B.                  15· what was an extra as it relates to scope on this
16· · · · · · · ·THE DEPONENT:· B?                          16· project?· Like did you actually use this document?
17· · · · · · · ·MR. MICHAELS:· It's an Excel               17· · · A.· ·Yes, along with others.
18· spreadsheet, Kevin.· It would have been the first       18· · · Q.· ·Okay.· Tell me how you would use this
19· e-mail I sent you -- well, wait a minute.               19· document, the Exhibit 4.
20· · · · · · · ·Here, I'll send it to you, Kevin.          20· · · A.· ·Survey supports, foundations.· I mean, that
21· · · · · · · ·THE DEPONENT:· Okay.                       21· -- because that -- for the quantity of 2, let's say
22· · · · · · · ·MR. MICHAELS:· I just sent it to you       22· on 2.2 --
23· again, Kevin, but if you're comfortable with            23· · · Q.· ·Uh-huh.
24· working with it on the screen, that's fine as well.     24· · · A.· ·-- 72 inch horizontal slug catchers, it

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·1· calls out two of them.                                  ·1· back and calculate what the extras were?
·2· · · Q.· ·Okay.· So, for example --                      ·2· · · A.· ·Based on the field -- on the field reports,
·3· · · A.· ·It represents as to itemizing, you know,       ·3· the field tickets that were signed --
·4· what -- what was talked about in the original           ·4· · · Q.· ·Okay.
·5· scope.                                                  ·5· · · A.· ·-- by me.
·6· · · Q.· ·All right.· So would -- let me -- let's use    ·6· · · Q.· ·All right.· Scroll down to the second page
·7· 2.2 just as an example to help me understand.· So       ·7· then.· I want you to look at item 3.9.
·8· if you -- the -- this looks like we have two            ·8· · · A.· ·Okay.
·9· foundations for the 72-inch horizontal type slug        ·9· · · Q.· ·Now that's a line item.· What is hydro
10· catchers.                                               10· testing?
11· · · · · · · ·If during the project, you or somebody     11· · · A.· ·It's when you fill the piping with water
12· in charge determined that you needed four of those      12· and you pressurize it to one and a half times the
13· instead of two, then the two extra would be an          13· design strength and hold it for a certain amount of
14· actual extra to the project, correct?                   14· time to -- you know, to see if there's any failure.
15· · · A.· ·That's correct, yes.                           15· If there's no failures, then it passes the test of
16· · · Q.· ·Okay.· And I know we've discussed this, but    16· one and a half times and it can be put in,
17· I'm just not sure I still understand it.· If indeed     17· installed.
18· that was determined, how does that make its way to      18· · · Q.· ·Okay.· So it's essentially a pressure test
19· a change of contract price or change order?             19· to make sure that the components can operate with
20· · · · · · · ·I know you said you used change order      20· the safety factor at the pressures they're
21· in terminology but (audio interruption) quite           21· intended.
22· accurate.                                               22· · · A.· ·Correct.
23· · · · · · · ·How does -- how would that change make     23· · · Q.· ·Okay.· Is that for piping or all equipment
24· it?                                                     24· as far as the hydro testing?
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·1· · · A.· ·So once -- we -- we were -- I was under the    ·1· · · A.· ·That's for piping.· The equipment is tested
·2· impression the entire time through upper management     ·2· by the manufacturer.
·3· that this was the 12.4, I believe it was, not to        ·3· · · Q.· ·Okay.
·4· exceed, and so anything within those -- within the      ·4· · · A.· ·(Audio distortion) through the paperwork,
·5· drawings of the model would fall into that.             ·5· you know, and all, so.
·6· · · · · · · ·These outside items would come into        ·6· · · Q.· ·So there's one unit indicated in item 3.9.
·7· play whenever they completed that scope of work.        ·7· Do you see that?
·8· Then if they went over the 12.4, then obviously         ·8· · · A.· ·Yes.
·9· they were -- they were deemed as extra work.· If        ·9· · · Q.· ·Do you know what LS means in the -- in --
10· they came in under that, then they would -- it          10· the designation "LS"?
11· didn't happen that way, so assuming they would          11· · · A.· ·I need to see what that column is titled.
12· apply that savings to the change orders.                12· · · Q.· ·It's titled Units at the top and then
13· · · Q.· ·I don't follow the last sentence:· Apply       13· quantity is 1.· And this is the blank form that,
14· that savings to the change --                           14· you know, contractors were provided to bid, right?
15· · · · · · · ·So you're saying if they were under        15· · · A.· ·Right.
16· the contract price for the scope work, then you         16· · · Q.· ·So it doesn't have the prices in it.
17· would get -- there was money available between the      17· · · A.· ·I honestly don't recall what LS -- I'm
18· contract price and the actual T&M spent on scope        18· drawing a blank.
19· that could apply to change orders.                      19· · · Q.· ·Okay.· That's -- that's all right.· We'll
20· · · A.· ·Correct.                                       20· figure it out from some other means.
21· · · Q.· ·Now, we're not here because they came in       21· · · · · · · ·So in 3.9, what does it mean when it
22· under budget, right?· We're aware of that.              22· says "includes drying on discharge lines, fuel gas,
23· · · · · · · ·Tell me how it's calculated if they        23· and instrument air"?
24· did the scope of work for the 12.4, how can I go        24· · · A.· ·So that means that when those items are

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·1· hydro tested, that they need to be dried because       ·1· location being that it was a operating facility and
·2· there's -- that liquid cannot be part of that          ·2· we had time constraints.· We had other work going
·3· system because it would damage the -- the              ·3· on that was consuming any extra space, and there
·4· instrumentation that's involved with that.             ·4· was no way we could have done it there on location.
·5· · · Q.· ·Got you.                                      ·5· · · · · · · ·It -- it -- they -- I believe they
·6· · · · · · · ·When we got to the point of the           ·6· wanted to do it in the rack as it was installed and
·7· project where hydro testing was done, was it indeed    ·7· that was definitely not an option.· It was -- it
·8· field hydro tested or was it tested off-site?          ·8· wasn't safe or feasible to do that.
·9· · · · · · · ·MR. MICHAELS:· One second here.           ·9· · · Q.· ·Okay.· Is there -- is there anything in the
10· · · · · · · ·Chris, if I can object.· I think we're    10· bid documentation that would indicate that hydro
11· going a little bit far afield of the scope of what     11· testing would be done not only at the field but
12· this deposition was (interruption) of execution.       12· would also have to be done off-site?
13· · · · · · · ·MR. BRUMLEY:· We're actually not          13· · · A.· ·The part that says the -- being, you know,
14· because I'm going to ask him about this being a        14· qual -- you know, we're looking for qualified,
15· change, and the change in the mechanics of that go     15· experienced contractors, they would know that.· You
16· to the contract itself.                                16· can't do that in the rack.· It could have been done
17· · · · · · · ·MR. MICHAELS:· Well, to some extent I     17· on-site if we had room, which we didn't, but it
18· would agree if we're going to get into individual      18· could not have been done in the rack.
19· items, I think we're going a little bit afield --      19· · · Q.· ·Okay.· Well, you're not saying that every
20· far afield of that since the purpose of this was       20· project the hydro testing is done off-site, right?
21· still regarding whether this was CNX's belief that     21· · · A.· ·No.
22· this is a T&M, not to exceed and then ACS's that it    22· · · Q.· ·Okay.· And this says field hydro testing
23· was a T&M.                                             23· which is at the site.· How would ACS account for
24· · · · · · · ·So we're -- we're moving a little bit     24· the costs of doing this work off-site?
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·1· far afield of that, but for the purposes of            ·1· · · A.· ·Their experience and expertise in the
·2· continuing the expediency of this deposition, I'm      ·2· business.
·3· okay with it going forward.· I just want to put        ·3· · · Q.· ·When is it that they were advised that
·4· that objection on the record.                          ·4· there wouldn't be suitable on-site space to do that
·5· · · · · · · ·MR. BRUMLEY:· Okay.                       ·5· work?
·6· BY MR. BRUMLEY:                                        ·6· · · · · · · ·MR. MICHAELS:· Object again.· We're
·7· · · Q.· ·Do you recall the question, Mr. Dunn?         ·7· going outside the scope of what this deposition was
·8· · · A.· ·No.· Would you restate that, please?          ·8· originally intended.
·9· · · Q.· ·Yeah.                                         ·9· · · Q.· ·Go ahead, Mr. Dunn.
10· · · · · · · ·So 3.9, as you read it and I can read,    10· · · A.· ·Being their expertise and building
11· it, it says, "Field hydro testing."· Was the hydro     11· compressor stations, knowing how much space you
12· testing on this project done in the field or was it    12· need to do hydro testing, what equipment's
13· done off-site?                                         13· involved, what dangers are incurred, and knowing --
14· · · A.· ·There was some hydro testing that was done    14· being a professional compressor station builder,
15· in the field.· Most of it -- all the large bore was    15· that you -- you know, you have all these other
16· done off-site.· Some of the small bore was done on     16· overlapping activities going on such as foundation
17· location, not necessarily installed, but it was        17· work and equipment setting and demolition of
18· done previous to the fabrication of it.                18· existing structure and all these things happening,
19· · · Q.· ·Okay.· So as it relates to the scope of       19· case-ons and all other things, and knowing that
20· hydro testing, is there anywhere -- well, first of     20· would -- looking at the schedule, knowing that you
21· all, how was the determination made that hydro         21· don't have room to do it on-site, and certainly
22· testing would be done off-site?                        22· knowing as a -- as a professional that there's no
23· · · A.· ·I don't know that answer, but there was       23· way you could do that in -- in the structure.· You
24· no -- there was no way -- practical way to do it on    24· can't install the pipe and do it for various

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·1· reasons.                                                ·1· only show them where they're lacking, you know, and
·2· · · Q.· ·During the project, did you have to make       ·2· discuss the fact that, you know, more manpower,
·3· the determination that this testing wasn't going to     ·3· more equipment would be helpful.
·4· be done at this location?                               ·4· · · Q.· ·Okay.· Do you recall ever directing AC&S to
·5· · · A.· ·Yes, sir.                                      ·5· get more manpower and equipment or that you would
·6· · · Q.· ·And you had to advise AC&S of that?            ·6· take care of that?
·7· · · A.· ·Yes, sir.                                      ·7· · · A.· ·No, I don't remember anything specifically.
·8· · · Q.· ·And was it clear to you that they under --     ·8· · · Q.· ·You'd mentioned working with Mr. Putnam
·9· that they did not intend to do off-site hydro           ·9· (sic).· Did you also work with Mr. Jim Glass --
10· testing until you advised them to do so?                10· · · A.· ·Yes.
11· · · A.· ·It was clear to me that one person in that     11· · · Q.· ·-- with respect to any requests for change
12· company didn't understand it.                           12· in the scope or a change order?
13· · · Q.· ·At the --                                      13· · · A.· ·Yes.
14· · · · · · · ·MR. BRUMLEY:· You can take that            14· · · Q.· ·Did you hear the question, Mr. Dunn?
15· document down.                                          15· · · A.· ·Yes, I answered it.
16· · · Q.· ·Mr. Dunn, were -- were you ever made aware     16· · · Q.· ·I didn't hear your answer.· I must have cut
17· that CNX asked that only one change order be issued     17· off.· What was the answer?
18· at the end of the project; that they wanted all of      18· · · A.· ·Yes.
19· the extras at the end put into one final change         19· · · Q.· ·Okay.· What would be the difference between
20· order?                                                  20· working with Mr. -- on what occasions did you work
21· · · A.· ·I was not aware of that, no.                   21· with Jim Glass as opposed to James Putnam (sic)?
22· · · Q.· ·Okay.· So you -- you were never part of an     22· · · A.· ·I don't know Jim Glass's title, but I saw
23· e-mail or conversation -- just to be clear -- where     23· him as the project manager, and I would deal with
24· CN&S said, "We can only have one more change order      24· James Putman on a day-to-day basis at the
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·1· on this job so don't come back two times"?              ·1· superintendent level and I would see Jim Glass less
·2· · · A.· ·I do not recall that at all.                   ·2· often.
·3· · · Q.· ·Okay.· Hold on a second.· I'm going to         ·3· · · · · · · ·He would visit the site.· In the
·4· switch it.                                              ·4· beginning he was there a lot.· In fact, he had a
·5· · · · · · · ·Mr. Dunn, as the CNX project manager,      ·5· desk there at the job site, and -- but he was not
·6· did you have the authority to direct that               ·6· there full time.· There was a time he may come
·7· additional labor man hour resources be placed on        ·7· daily for some period of time.· Maybe not -- (audio
·8· this project?                                           ·8· distortion) but most of the time it was done via
·9· · · · · · · ·MR. MICHAELS:· I'm going to object.        ·9· e-mails and whatnot.
10· · · · · · · ·I believe he said he was the foreman,      10· · · Q.· ·Okay.· So it wasn't by type of change
11· not the project manager.                                11· order, or, you know, some things were in
12· · · · · · · ·MR. BRUMLEY:· Okay.                        12· Mr. Glass's area and others were in Mr. Putnam's
13· · · Q.· ·Whatever your role was, Mr. Dunn, could        13· (sic).· It was just when he was there, he would
14· you -- was it within your authority to say, "Hey,       14· submit that information to you or e-mail you that
15· we need more -- we need to work longer hours, add       15· type of information.
16· more men," you know, add a shift, whatever needed       16· · · A.· ·Yeah.· If there was anything I felt was --
17· done?                                                   17· I would have went to Jim on issues with, let's say,
18· · · A.· ·It was -- it was in my authority to discuss    18· invoicing.· If I didn't agree with something, I
19· that with Mr. Putman and determine, you know, we        19· would talk to Jim Glass directly on that.· And
20· weren't going to meet certain dates without that,       20· scheduling, you know, cranes and what have you.
21· and, yes, suggest that we do that.· Certainly.          21· The need for certain cranes on-site and whatnot,
22· · · Q.· ·Okay.                                          22· you know, we would -- we would discuss that.
23· · · A.· ·I think it's within my power to insist or      23· · · · · · · ·There were times I had discussions
24· demand that they bring the extra manpower.· I can       24· with him directly.· Yes, on-site and -- and e-mail.

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·1· · · Q.· ·All right.· So the -- the initial project      ·1· project?
·2· completion date pursuant to the -- what we saw was      ·2· · · A.· ·No.
·3· June 1 of 2019; is that accurate?                       ·3· · · Q.· ·All right.· So as far as you know, if the
·4· · · A.· ·Yes.                                           ·4· cost to completion was 19 million, you had no
·5· · · Q.· ·Okay.· And you were there through July, so     ·5· reason to dispute that?
·6· it was at least even for when your -- your role in      ·6· · · A.· ·Not at that time, no.
·7· the project it was six weeks or so longer than the      ·7· · · Q.· ·Okay.· Do you have any reason to dispute it
·8· initial completion date, right?                         ·8· currently?
·9· · · A.· ·It appears to be that way, yes.                ·9· · · A.· ·Lack of backup documentation.
10· · · Q.· ·Okay.· When you were there in July, were       10· · · Q.· ·What does that mean?
11· you still receiving design documents from Orbital?      11· · · A.· ·Well, the whole time during the project
12· · · A.· ·Yes.                                           12· while I was there, we were tracking very closely
13· · · Q.· ·What was the -- what was the reason for the    13· the extra work and -- and it was signed off on.· It
14· extended completion time?                               14· was discussed and signed off on, discussed in
15· · · A.· ·I honestly don't know the actual root --       15· weekly meetings, and I believe everything that I
16· root cause or root reason for that.· It could have      16· signed for was paid for in one or two of those
17· been several things that played into that.· I don't     17· change orders.
18· recall.                                                 18· · · · · · · ·And it seemed like a pretty clear
19· · · Q.· ·I -- I think I know this answer, but, like,    19· break from the time I left that that -- that
20· to the extent that the CNX Engineering Group was        20· tracking of that was no longer being done, and
21· contending that Orbital was late on design phases,      21· there was work being done without approval, and I
22· that's outside of your knowledge base, right?           22· had no way of knowing what was being done being
23· · · A.· ·Yes.                                           23· that I was reassigned to another project.
24· · · Q.· ·Okay.                                          24· · · Q.· ·Sure.
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·1· · · · · · · ·Mr. Dunn, you mentioned earlier that       ·1· · · · · · · ·Who was there to direct the work after
·2· you thought that this project had a not to exceed       ·2· you left like you did when you were in charge of
·3· component.· Do you recall that discussion --            ·3· this project?
·4· · · A.· ·Yes.                                           ·4· · · · · · · ·MR. MICHAELS:· I'm going to object
·5· · · Q.· ·-- that we had?                                ·5· again that we are going outside the scope of what
·6· · · · · · · ·When did you learn of that?                ·6· this deposition was originally determined to be.
·7· · · A.· ·Early on it was relayed to me that it would    ·7· · · Q.· ·Go ahead, Mr. Dunn.
·8· be not to exceed.· Before -- before ACS mobilized.      ·8· · · A.· ·I don't know who they assigned to fill my
·9· · · Q.· ·Was it before ACS was awarded the bid?         ·9· position.
10· · · A.· ·I'm not sure.                                  10· · · Q.· ·Where did you gain the understanding that
11· · · Q.· ·Were you provided the documentation from       11· the lack of documentation and tracking of the work
12· ACS on their ongoing cost of completion estimates?      12· is an issue for this project?
13· · · A.· ·Could you rephrase that, please?               13· · · A.· ·I can't --
14· · · Q.· ·Yeah.                                          14· · · · · · · ·(Crosstalk.)
15· · · · · · · ·So were you provided -- Mr. Larkin         15· · · A.· ·Go ahead.· I'm sorry.
16· provided cost of completion estimates throughout        16· · · · · · · ·MR. MICHAELS:· Same objection.
17· the project.· Were you provided that information?       17· · · Q.· ·Go ahead, Mr. Dunn.
18· · · A.· ·Yes.                                           18· · · A.· ·I can't quote the exact title of the
19· · · Q.· ·Okay.· When you left the project, what did     19· document.· It's a -- I think it's an extra work log
20· you understand the cost of completion amount to be?     20· that explains the number system that ACS applied to
21· · · A.· ·19 million.                                    21· each and every extra.· It gives a brief
22· · · Q.· ·Okay.· Based on that number, did you do any    22· description.· There's a line that says whether or
23· calculation as to whether that price should be          23· not it was approved, and if you follow that down, I
24· reduced because of the end scope costs of the           24· believe that all of the ones that I was involved

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·1· with were approved by me, and there's a pretty          ·1· · · Q.· ·Okay.· Do you know whether CNX utilized any
·2· distinct stop, you know, where that stopped             ·2· of the field designs that you were involved with on
·3· happening at some point.                                ·3· the project in other projects?
·4· · · Q.· ·Have you reviewed the proposed extra work      ·4· · · A.· ·I don't know that.
·5· that AC&S contends was done after you left the          ·5· · · Q.· ·Are you familiar with the engineering -- or
·6· project?                                                ·6· group TEK?
·7· · · A.· ·No.                                            ·7· · · A.· ·Yes.
·8· · · Q.· ·We discussed the stage of completion that      ·8· · · Q.· ·What do they do?
·9· was of 3 of 5 units when you left.· Would you           ·9· · · A.· ·They're very similar to ACS.· They're --
10· expect the completion of the last two units to be       10· they're a industrial contractor specializing in oil
11· any way materially different than the first three       11· and gas.
12· that you were there for?                                12· · · Q.· ·Did they ever appear on this project, to
13· · · · · · · ·MR. MICHAELS:· Objection.· Calls for       13· your knowledge?
14· speculation.                                            14· · · A.· ·Not to my knowledge, no.· Not that I
15· · · A.· ·No.· I -- I would not expect them to be a      15· remember.
16· difference.                                             16· · · Q.· ·When -- when you started this project and
17· · · Q.· ·We talked about instances in the field         17· were aware of the initial contract price of 12.1
18· where the project design drawings from Orbital --       18· million, did you believe that the project could be
19· Orbital had to be altered in order to make the          19· done for that amount?
20· project work.· Do you recall that?                      20· · · A.· ·No.
21· · · A.· ·Yes.                                           21· · · Q.· ·Actually, I think it was 12.8.· My bad.
22· · · Q.· ·Did you find that to be more prevalent in      22· · · · · · · ·But -- so you didn't think that the
23· this project than others you've worked on?              23· project had a chance of being done for 12.8, did
24· · · A.· ·No.· I mean, you -- no, you always have        24· you?
                                                 Page 122                                                    Page 124
·1· that.· I mean, it's -- it's very -- it's very           ·1· · · A.· ·No.
·2· common.                                                 ·2· · · Q.· ·Okay.· Why not?
·3· · · Q.· ·Well, how about the volume and the number      ·3· · · A.· ·Because I wasn't in favor of awarding the
·4· of instances, was that more in this project than        ·4· bid to ACS.· I was -- I believed -- I thought their
·5· you're used to?                                         ·5· number was too low.
·6· · · A.· ·Well, they -- it goes up exponentially.· So    ·6· · · Q.· ·Were the other bids materially higher, to
·7· the bigger the project the more the problems.           ·7· your knowledge?
·8· · · Q.· ·Mr. Dunn, do you remember any specific         ·8· · · A.· ·Yes.· They were -- there were others that
·9· instances where you and Mr. Putnam (sic) disagreed      ·9· were higher, yes.
10· as to whether something was within the scope or was     10· · · Q.· ·Were there any that were lower?
11· an extra?                                               11· · · A.· ·There was none that was lower than the
12· · · A.· ·Something that sticks out in my mind is        12· final price.
13· very, very small.· It's (audio distortion.)             13· · · · · · · ·MR. BRUMLEY:· Okay.· Greg, I want to
14· · · Q.· ·I'm sorry?                                     14· take a break here for a couple minutes.
15· · · A.· ·There -- there was one instance that I can     15· · · · · · · ·MR. MICHAELS:· Okay.
16· remember that -- that I gave pushback on, and it        16· · · · · · · ·THE VIDEOGRAPHER:· Going off the
17· was a very fairly insignificant item in -- in the       17· record.· The time is 1:37 p.m.
18· grand scheme of things here.                            18· · · · · · · ·(A recess was taken after which
19· · · Q.· ·Okay.· Do you remember what that instance      19· · · · · · · ·the following proceedings continued
20· was off the top of your head?                           20· · · · · · · ·as follows:)
21· · · A.· ·They were billing us for small tools.          21· · · · · · · ·THE VIDEOGRAPHER:· Now begins media
22· · · Q.· ·Okay.· And you thought that they needed        22· unit 4 in the deposition of Kevin Dunn.· We're back
23· tools anyway, that's within original scope?             23· on the record.· The time is 1:44 p.m.
24· · · A.· ·Correct.                                       24· BY MR. BRUMLEY:

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·1· · · Q.· ·Mr. Dunn, do you recall any instances where    ·1· · · Q.· ·Are you aware if they did any extra work
·2· piping ordered and delivered through the CNX vendor     ·2· approval, Mr. Dunn?
·3· system arrived on-site was incorrect for the            ·3· · · A.· ·There -- there were extra work approvals
·4· design?                                                 ·4· for the electrical.· I don't know the specifics of
·5· · · A.· ·I don't recall specifically.· I mean, it       ·5· that.
·6· happens a lot, so I mean -- on other projects, so,      ·6· · · Q.· ·So when you left the project in mid-July,
·7· you know, I just don't remember that specific one.      ·7· Mr. Dunn, I take it you -- did you have a
·8· · · Q.· ·Okay.· So you don't -- you don't recall any    ·8· transition meeting or some type of hand-off process
·9· specific instances on this job where material,          ·9· so that the project could continue in your absence?
10· specifically pipe, would have arrived causing ACS       10· · · A.· ·No.
11· to do a field redesign.                                 11· · · Q.· ·Well, how could it that the project that
12· · · A.· ·No, I don't remember that.                     12· you ran for seven months continue without your
13· · · Q.· ·Okay.· What about the -- the -- any delay      13· insight to the completion?
14· related to the motor control center installation?       14· · · A.· ·I have no idea.
15· Do you have any recollection of that issue on this      15· · · · · · · ·MR. MICHAELS:· Objection.
16· job?                                                    16· Speculation.
17· · · A.· ·Yes.                                           17· · · Q.· ·Were you ever asked after you left whether
18· · · Q.· ·What -- tell me what that involved.            18· items being performed at the Morris site were
19· · · A.· ·Again, I -- I was not the electrical           19· considered the scope or out of scope as you
20· supervisor or foreman, let's say, and I am not sure     20· understood those terms on the project?
21· what the delay was.· I just know there was a delay.     21· · · A.· ·Yes.
22· I don't know what --                                    22· · · Q.· ·Tell me, who asked you and what -- tell me
23· · · · · · · ·(Crosstalk)                                23· the details of that.
24· · · Q.· ·Did the delay of that motor control            24· · · A.· ·So it was soon after I had left the other
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·1· center's installation affect project time frames?       ·1· project I got a visit to that project by a Sabrena
·2· · · · · · · ·MR. MICHAELS:· Objection to scope          ·2· Carlisle (phonetic) who was office manager for ACS
·3· again.                                                  ·3· there on location, and she had brought me a handful
·4· · · · · · · ·Can I just have a standing objection       ·4· of field tickets, extra work orders, for lack of a
·5· to this line of questioning?                            ·5· better word, to sign off on.
·6· · · · · · · ·MR. BRUMLEY:· Absolutely.                  ·6· · · Q.· ·Were they for work done after you'd left
·7· · · Q.· ·Go ahead, Mr. Dunn.                            ·7· the project?
·8· · · A.· ·Yes.                                           ·8· · · A.· ·There were -- out of, let's say, five or
·9· · · Q.· ·Okay.· A delay based on that issue to ACS,     ·9· six, there were two, I think, that I signed because
10· would that be an extra on this project?                 10· I was aware of that work before I had left and I
11· · · A.· ·Again, I wasn't approving the -- the           11· signed them, but the other ones, I did not sign
12· electrical portion --                                   12· because I wasn't there to witness the work.
13· · · Q.· ·Uh-huh.                                        13· · · Q.· ·Okay.· Were you aware of the nature of the
14· · · A.· ·-- or any -- any of that work, so I -- I       14· work from the extra work order?
15· don't know.                                             15· · · A.· ·I don't recall.
16· · · Q.· ·Who was?                                       16· · · Q.· ·I'm sorry?· You broke up on me there.
17· · · A.· ·It was Will Kish and Aston Rang (phonetic).    17· · · A.· ·I don't recall, sir.
18· · · Q.· ·From the electrical standpoint, would those    18· · · Q.· ·Okay.· Are you aware of the request for
19· gentlemen have approved extra work on the project?      19· additional manpower to complete the concrete work
20· · · · · · · ·MR. MICHAELS:· Objection.· Calls for       20· on the project?
21· speculation.· As he said, he was not in charge of       21· · · A.· ·I do not recall that, no.
22· that nor was he aware of who was -- well, he said       22· · · Q.· ·Mr. Dunn, there were RFP responses on this
23· he was approving, but not what -- or what was           23· project during the bid stage.· Were you part of
24· approved.                                               24· answering any inquiries from potential bidders on


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·1· this project?                                          ·1· mean I don't recall this one specifically.
·2· · · A.· ·I may have been consulted on some of those    ·2· · · Q.· ·Okay.· So I've got a couple questions about
·3· items, but I don't remember answering any of them      ·3· the subject matter in here.
·4· specifically.· I don't -- I don't even remember the    ·4· · · · · · · ·First, we discussed earlier a 60
·5· questions actually.                                    ·5· percent model that was submitted in October for
·6· · · Q.· ·Okay.· Fair enough.                           ·6· people to develop bids.· And in this letter,
·7· · · · · · · ·I'm going to ask if we can make           ·7· there's reference to a 90 percent issue package.
·8· Exhibit P --                                           ·8· · · · · · · ·Do you know how we get from 60 percent
·9· · · · · · · ·MR. BRUMLEY:· Is it more than one         ·9· to 90 percent?
10· page?                                                  10· · · A.· ·I'm just reading a little bit here.
11· · · · · · · ·MR. ALDRIDGE:· Yes.                       11· · · · · · · ·Yes.· I -- I don't know what context
12· · · · · · · ·MR. BRUMLEY:· Where is it now; do you     12· he's speaking of here, so I can't comment on it.
13· remember?· For the hyperlink.                          13· · · Q.· ·Yeah.· Okay.· Well, based on your -- this
14· · · · · · · ·MR. ALDRIDGE:· It's going to be pretty    14· is, you know, before the bid's awarded.
15· high up.                                               15· · · · · · · ·Based on your knowledge of the design
16· · · · · · · ·MR. BRUMLEY:· It might be up through      16· documents that you received during the course of
17· here.                                                  17· the project, do you believe that it's accurate that
18· · · Q.· ·Okay.· Mr. Dunn, I don't know if you have     18· 90 percent of the design drawings were available
19· it up yet.· We put it on the screen.· It's multiple    19· prior to bid award?
20· pages, so it might be better if you can open it.       20· · · A.· ·No, I don't believe that.
21· · · A.· ·Yeah, I'm trying to locate it.                21· · · Q.· ·Then if you go down to the two paragraphs
22· · · Q.· ·Okay.· Just let me know when you do.          22· below that, Mr. Glass lays out their original bid
23· · · A.· ·Exhibit P as in Paul?                         23· of 14.1 million and how they got to 12.8 million.
24· · · Q.· ·Correct.                                      24· · · · · · · ·Can you read that -- if you need to
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·1· · · · · · · ·MR. MICHAELS:· Kevin, did you find it?    ·1· read those three paragraphs, please do so.
·2· My e-mail?                                             ·2· · · · · · · ·Have you gotten through that or are
·3· · · · · · · ·THE DEPONENT:· I'm on the fourth          ·3· you still looking at it?
·4· e-mail here.· I haven't found it yet.· R, S. --        ·4· · · A.· ·Yes, I -- I have.
·5· yeah.                                                  ·5· · · Q.· ·Okay.· So this goes to -- and what I want
·6· · · · · · · ·MR. MICHAELS:· It should be in that       ·6· to ask you about is our discussion where you
·7· one with R, S, just keep scrolling to the bottom.      ·7· indicated what a professional contractor should
·8· It comes up as like the last attachment.               ·8· account for in their bid documents, right?
·9· · · · · · · ·THE DEPONENT:· Okay.· I've got            ·9· · · A.· ·Yes.
10· it.                                                    10· · · Q.· ·You see in the middle paragraph where
11· · · · · · · ·DUNN DEPOSITION EXHIBIT NO. 5             11· they're talking about the 10 percent contingency
12· · · · · · · ·(ACS Revised Pricing was marked           12· number that includes construction activities,
13· · · · · · · ·for identification as Dunn                13· weather delays, equipment and material delays,
14· · · · · · · ·Deposition Exhibit No. 5.)                14· schedule slips regarding tie-ins?
15· BY MR. BRUMLEY:                                        15· · · A.· ·Yes, I see that.
16· · · Q.· ·Just let me know when you've got that,        16· · · Q.· ·Okay.· So in soliciting the reduced bid
17· Mr. Dunn.                                              17· from 14.1 down to 12.8, wouldn't you agree that
18· · · A.· ·I've got it.                                  18· those things were removed to get CNX down to the
19· · · Q.· ·You got it?                                   19· 12.8 number?
20· · · A.· ·Yes.                                          20· · · · · · · ·MR. MICHAELS:· Objection.· Calls for
21· · · Q.· ·Okay.· This letter from ACS to C -- is        21· speculation.· He's not the author of this document,
22· addressed to CNX Morris team.· Have you seen           22· nor has he testified that he had seen this before
23· this before today?                                     23· this.
24· · · A.· ·I see a lot of things like this, so I         24· · · Q.· ·Go ahead.

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·1· · · A.· ·Yes.· I see that the 10 percent contingency    ·1· · · Q.· ·Okay.· This is the next exhibit we don't
·2· number, if it's pulled out, it would end up at a        ·2· have, but it's just a photograph, Mr. Dunn.· This
·3· 12.8.· I do see that, yes.                              ·3· is contained in our response and pleading in this
·4· · · Q.· ·Okay.· So if we use the 12.8 number,           ·4· case.
·5· changes that fall within the con -- contingencies       ·5· · · · · · · ·Do you know what we're looking at in
·6· would be extra work, correct?                           ·6· what's marked as Exhibit D on the photo, but can
·7· · · · · · · ·MR. MICHAELS:· Objection.· Calls for a     ·7· you see that photo?
·8· potentially legal conclusion and speculation on his     ·8· · · · · · · ·MR. MICHAELS:· I'm going to again
·9· part.                                                   ·9· object that this is outside the scope.· If we're
10· · · Q.· ·Go ahead.                                      10· talking about an individual instance within this,
11· · · · · · · ·MR. MICHAELS:· I don't think he can        11· this goes well beyond what the contract execution
12· know that from this document.                           12· formation was which is the scope of this
13· · · Q.· ·Do you understand the question, Mr. Dunn?      13· deposition.
14· · · A.· ·Yeah.· Could you repeat the question,          14· · · · · · · ·I suggest though, we move along and
15· please?                                                 15· complete this deposition.
16· · · Q.· ·Sure.                                          16· · · Q.· ·Go ahead, Mr. Dunn.
17· · · · · · · ·If we use the 12.8 number that removed     17· · · A.· ·I'm still looking at the letter.
18· those listed contingencies that I just read out of      18· · · Q.· ·Okay.· Well, -- well, let's -- when you're
19· this letter to you, then items that fall within         19· done, let us know.
20· those items would be extra work to the 12.8 number,     20· · · A.· ·Okay.· Let's -- okay, let me get back to --
21· correct?                                                21· to that.
22· · · · · · · ·MR. MICHAELS:· Same objection.             22· · · · · · · ·Okay.· I have the picture up.
23· · · A.· ·I -- yes, I would think so, yes.               23· · · Q.· ·Okay.· So Mr. Dunn, do you know what is in
24· · · Q.· ·And, again, you don't have any information     24· the photo dated at the top April 16th?
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·1· as to what prompted CNX to want this bid revision       ·1· · · A.· ·I don't have an exact date in my mind
·2· from the 14.1 to the 12.8 if they indeed did,           ·2· when -- but it appears that this -- I think I know
·3· right?· You don't have that information?                ·3· what it is, but I'm not sure.
·4· · · A.· ·I do not.                                      ·4· · · Q.· ·Okay.· Well, what do you think it is?
·5· · · Q.· ·Okay.· Who could I ask about that?· Who do     ·5· · · A.· ·It looks like this could have been our
·6· you think is the person that would say, "Yeah, we       ·6· second outage where we had a -- an incident with a
·7· wanted this because of that"?                           ·7· backflash that caused -- that caused this smoke
·8· · · A.· ·I imagine the team that was involved. I        ·8· here.
·9· guess, like, take your pick.· I --                      ·9· · · Q.· ·Okay.· And the reason I'm asking you about
10· · · Q.· ·Okay.· I just wondered if you could help me    10· this isn't really the details of this incident, but
11· figure out who would be the best person --              11· did this incident cause a work stoppage on the
12· · · A.· ·Well, I -- I could repeat the team that was    12· site?
13· involved, if you'd like.                                13· · · A.· ·Yes.
14· · · Q.· ·Well, but that doesn't -- that just gives      14· · · Q.· ·Was this incident ACS's fault?
15· me a number of people.· That doesn't give me one.       15· · · A.· ·No.
16· · · · · · · ·MR. BRUMLEY:· Can you put the photo on     16· · · Q.· ·So any work stoppage that created the delay
17· the screen?                                             17· due to this incident, that would be an extra,
18· · · · · · · ·MR. ALDRIDGE:· Yeah.                       18· correct?
19· · · · · · · ·MR. BRUMLEY:· We'll mark that as an        19· · · · · · · ·MR. MICHAELS:· Objection.· Calls for
20· exhibit.· What is that?· 6?                             20· speculation.· And potentially a legal conclusion.
21· · · · · · · ·DUNN DEPOSITION EXHIBIT NO. 6              21· · · Q.· ·Go ahead, Mr. Dunn.
22· · · · · · · ·(Photograph was marked for                 22· · · A.· ·Yes, it appears so, yes.
23· · · · · · · ·identification as Dunn Deposition          23· · · Q.· ·And if you or somebody at CNX directed that
24· · · · · · · ·Exhibit No. 6.)                            24· we add employees and man hours to make up time for


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·1· delays such as this, that extra man hours would be      ·1· · · · · · · ·MR. MICHAELS:· I'm going to object to
·2· an extra on this project, correct?                      ·2· that.· He already said he was not part of this
·3· · · · · · · ·MR. MICHAELS:· Objection.                  ·3· audit process or the --
·4· · · A.· ·I -- yeah, I don't know that.                  ·4· · · · · · · ·MR. BRUMLEY:· I'm not asking about the
·5· · · Q.· ·Well, go ahead.                                ·5· audit.· I'm just talking about with the -- with the
·6· · · A.· ·I mean, I wasn't -- I don't know the --        ·6· contingency --
·7· that was ever asked for extra man hours.                ·7· · · · · · · ·(Crosstalk)
·8· · · Q.· ·Okay.· And I'm not saying precisely related    ·8· · · · · · · ·MR. MICHAELS:· You're asking what's
·9· to this it was.· My question to you relates to          ·9· beyond when he was there at this point.
10· scope, and if it was directed that we add persons       10· · · · · · · ·(Crosstalk.)
11· or hours to make up for lost time due to causes         11· · · · · · · ·MR. BRUMLEY:· -- you can answer pretty
12· outside of AC&S's fault, that would qualify as an       12· quickly, but your continuing objections are
13· extra under this contract, right?                       13· indicating desired answers at this point.· I don't
14· · · A.· ·Yes.                                           14· believe that's correct.
15· · · Q.· ·So were you in any part, Mr. Dunn, involved    15· BY MR. BRUMLEY:
16· in the audit of costs done of ACS by CNX in this        16· · · Q.· ·Mr. Dunn, do you understand the question?
17· case or this project?                                   17· · · A.· ·Would you repeat it, please?
18· · · A.· ·No.                                            18· · · Q.· ·Yeah.
19· · · Q.· ·So as far as what ACS contends were extras     19· · · · · · · ·AC&S -- ACS contends that the total
20· following your work there, you have no information      20· project completion costs for this thing were 19.1
21· or knowledge about that?                                21· million dollars based on a T&M basis.· Do you have
22· · · A.· ·That's correct.                                22· any reason to disagree with that?
23· · · Q.· ·During -- so during the project time you       23· · · A.· ·I can't answer that because of lack of
24· were there, was there anything that AC&S was asked      24· information.
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·1· to do that was completely unrelated to this             ·1· · · Q.· ·So it's fair to say all you can testify to
·2· project?                                                ·2· is that the changes you approved before you left
·3· · · · · · · ·MR. MICHAELS:· Same objection as to        ·3· and the two that you approved that you said someone
·4· scope.                                                  ·4· brought to you following your departure, those were
·5· · · A.· ·Yes.                                           ·5· all true and accurate.
·6· · · Q.· ·What was that?                                 ·6· · · A.· ·That's correct.
·7· · · A.· ·Unrelated in the point that it wasn't          ·7· · · Q.· ·And nobody's asked you to look at all the
·8· discussed early in the bidding process.                 ·8· proposed changes since you left with the work
·9· · · Q.· ·Okay.· What -- what was it?                    ·9· descriptions to get you to say whether you thought
10· · · A.· ·One of -- one of the items was moving soil     10· they were within the original scope or not.
11· - spoils we call them - excavated materials from        11· · · A.· ·No.
12· the concrete work to removing them off location.        12· · · Q.· ·Could -- would you be able to do that?
13· · · Q.· ·Okay.· Mr. Dunn, are you aware as to           13· · · A.· ·I could look at it.· I -- yeah, of course I
14· whether the facility is operating in the manner in      14· could look at it.
15· which it was intended pursuant to this expansion?       15· · · Q.· ·I mean, you made the determination of in
16· · · A.· ·Yes, it is.                                    16· scope/out of scope for seven-plus months on this
17· · · Q.· ·Okay.· So the final product handed over by     17· project.· Is there any reason you couldn't look at
18· AC&S at the end of this project was an operational      18· the work done after that and determine whether you
19· functioning facility as it was intended, correct?       19· deemed it in scope, out of scope like it processed
20· · · A.· ·As far as I know, yes.                         20· for those seven months?
21· · · Q.· ·Do you have any reason to believe that the     21· · · A.· ·I don't know how the scope changed, you
22· project costs as contended by AC&S of 19.1 million      22· know, when I left.· I don't -- I wasn't part of any
23· are contained or not within the approved changes of     23· of the conversations, you know, about extra work,
24· this project.                                           24· you know.· I could probably tell if it was extra or


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·1· not based on my experience.                            ·1· recall attending this meeting.
·2· · · Q.· ·Did you ask that this or direct that this     ·2· · · · · · · ·Scroll down, please.
·3· project be 3D modeled?                                 ·3· · · · · · · ·That's good.
·4· · · A.· ·No.                                           ·4· · · · · · · ·No, back up.
·5· · · Q.· ·Do you know if anybody else did?              ·5· · · Q.· ·Okay.
·6· · · A.· ·I believe it was 3D modeled.· I mean, I       ·6· · · A.· ·It's good right there.
·7· didn't ask for it, though.· The model that we speak    ·7· · · Q.· ·Yeah.· You're not on the initial e-mail
·8· of is a 3D model.                                      ·8· from Mr. Alvarez to Carissa and crew, but you're on
·9· · · Q.· ·So CEC didn't do any additional modeling?     ·9· the Adam Beck e-mail with those three paragraphs
10· · · A.· ·Oh, I -- I have no idea.                      10· above.
11· · · · · · · ·THE VIDEOGRAPHER:· I'm sorry to           11· · · · · · · ·So my first question would be:· Do you
12· interrupt.· The court reporter needs to go off the     12· recollect getting this e-mail, the one -- the one
13· record.· She's having an audio problem.                13· from Adam Beck to Carissa and you?
14· · · · · · · ·MR. BRUMLEY:· Okay.· Take five.           14· · · A.· ·I mean, it rings a bell but not
15· · · · · · · ·THE VIDEOGRAPHER:· Let's go off the       15· specifically.
16· record.· The time is 2:15 p.m.                         16· · · Q.· ·Okay.
17· · · · · · · ·(A recess was taken after which           17· · · A.· ·You know, I was -- I was transferred to
18· · · · · · · ·the following proceedings continued       18· another project which was very demanding and
19· · · · · · · ·as follows:)                              19· complex, and I was consumed with that project and
20· · · · · · · ·THE VIDEOGRAPHER:· Now begins media       20· --
21· unit 5 in the deposition of Kevin Dunn.· We're back    21· · · Q.· ·Uh-huh.
22· on the record.· The time is 2:27 p.m.                  22· · · A.· ·-- wasn't giving this any attention.
23· BY MR. BRUMLEY:                                        23· · · Q.· ·Well, that project was Dry Ridge, right?
24· · · Q.· ·Okay, Mr. Dunn.· I'm trying to get wrapped    24· · · A.· ·That's correct.
                                                Page 142                                                    Page 144
·1· up here.· A couple more areas of inquiry.              ·1· · · Q.· ·And it's mentioned in this e-mail.
·2· · · · · · · ·We're going to use Exhibit H in the       ·2· · · · · · · ·Were there change of scope issues in
·3· packet next.· We can put it on the screen,             ·3· the drawing phase with Orbital?
·4· Mr. Dunn, if you don't want to open it because it's    ·4· · · A.· ·Could you rephrase the question, please?
·5· only a short e-mail.                                   ·5· · · Q.· ·Yeah, the -- it refers to -- we have change
·6· · · A.· ·Okay.                                         ·6· of scope drawing change risk at Dry Ridge for
·7· · · · · · · ·DUNN DEPOSITION EXHIBIT NO. 7             ·7· Buckland.
·8· · · · · · · ·(Email dated October 2, 2019 was          ·8· · · · · · · ·First of all, did you have -- I mean,
·9· · · · · · · ·marked for identification as Dunn         ·9· we have change orders from Orbital.· Were you
10· · · · · · · ·Deposition Exhibit No. 7.)                10· getting design changes during the project from
11· · · Q.· ·All right.· Can -- take -- take a             11· Orbital at the Morris facility?
12· second.· The e-mail I'm asking you about is            12· · · A.· ·Yes.
13· the -- from Adam Beck to Carissa, you, Ryan            13· · · Q.· ·Yeah.· And work that AC&S did in response
14· Aubuchon, Dennis Koscho, David Chase, and Todd         14· to design changes would be an extra, correct?
15· Shumaker of October 2, 2019.· So it's not very         15· · · A.· ·Yes.
16· long.· Just give it a quick read.                      16· · · Q.· ·The next paragraph is on crane costs.· They
17· · · A.· ·Okay.· I -- I've read it.                     17· used cranes while you were there, correct?
18· · · Q.· ·Okay.· So you're on this e-mail string but    18· · · A.· ·Yes.
19· clearly it's after you left the project.· Mr. Dunn,    19· · · Q.· ·Did you think that AC&S had an overuse of
20· did you have any communication regarding the           20· crane time on the project?
21· subject matter of this e-mail?                         21· · · · · · · ·MR. MICHAELS:· Objecting again to the
22· · · A.· ·I'm sorry, I see there's some stuff at        22· scope, but you can go ahead and answer, Kevin.
23· the bottom like below the caution, but I can't         23· · · A.· ·Yeah, there -- there was a crane -- a very
24· see all of that.· I don't recall -- I don't            24· expensive crane.· The hourly rate is very high.

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·1· It's quite a large machine and it was used -- it's      ·1· · · Q.· ·-- you said that CEC was brought in to
·2· used primarily for -- for unusual circumstances.        ·2· assist ACS and was paid for by CNX.· Is that -- do
·3· It's quite a large crane.                               ·3· you recall that?
·4· · · · · · · ·It was left on location because what I     ·4· · · A.· ·Yes.
·5· was told, it was left there because they didn't         ·5· · · Q.· ·Now, the measurement that CEC was doing,
·6· have anywhere to take it.· They didn't want to haul     ·6· was it needed to complete project work because of
·7· it back to their shop and then take it to another       ·7· the lack of design or inaccurate design from
·8· project.· They wanted to just take it straight from     ·8· Orbital?
·9· that project to another project, and that crane was     ·9· · · A.· ·I don't know that.· They were brought in to
10· used often and it wasn't needed.                        10· help with field verification, and I'm not sure how
11· · · · · · · ·I mean, that -- the work could have        11· much of it was needed and how much of it wasn't,
12· been done with a smaller unit, less expensive unit,     12· but it was all done as part of the job.· Every
13· but because that one was there, the crane company       13· piece was verified, and -- yeah.· I'm not sure
14· had -- I assume they had some kind of deal with ACS     14· where there were -- where there were measurement
15· that "We'll use this one since it's there," you         15· busts, so to speak.· Those were passed onto the fab
16· know, so yes.                                           16· shop, and if they were caught ahead of time, it
17· · · · · · · ·Back to your original question, yes.       17· wouldn't have caused extra work, you know.· It
18· In that -- in that regard, yes.                         18· would have -- it would have been caught on the
19· · · Q.· ·Do you know whether ACS procured a reduced     19· spot.
20· rate for that crane since it was already on-site?       20· · · Q.· ·Do you recall instances where you were
21· · · A.· ·I do not know that.                            21· involved during the project and ACS had to actually
22· · · Q.· ·Okay.                                          22· do field designs for connections, tie-ins, and that
23· · · A.· ·Again that was after I left.                   23· type of work because there were no detailed Orbital
24· · · Q.· ·Can we -- can we agree, Mr. Dunn, that work    24· designs laying out how to do that?
                                                 Page 146                                                    Page 148
·1· incurred by AC&S due to inaccuracy or ambiguity in      ·1· · · · · · · ·MR. MICHAELS:· Objection to form.
·2· the Orbital documents would be an extra?                ·2· Objection to scope.· Outside the scope.
·3· · · · · · · ·MR. MICHAELS:· Objection.· Calls for a     ·3· · · A.· ·Yes.
·4· legal conclusion.· Speculation.                         ·4· · · Q.· ·And would that be an extra?
·5· · · Q.· ·Go ahead.                                      ·5· · · A.· ·Yes.
·6· · · A.· ·Yes.· I would have to, you know, see that,     ·6· · · Q.· ·Mr. Dunn, did you ever have communications
·7· review that, you know, on a case-by-case situation      ·7· with anybody at CNX regarding Orbital's performance
·8· is normally how I would do that.                        ·8· and production of design documents on this project.
·9· · · Q.· ·Okay.· And that's -- you did that on           ·9· · · A.· ·No.
10· occasion while you were in charge of the project,       10· · · Q.· ·Are you aware for some of -- I guess you
11· right?                                                  11· wouldn't have been in the loop for design changes
12· · · A.· ·Yes.                                           12· that Orbital submitted, whether they originated
13· · · Q.· ·Do you remember any instance on this           13· from CNX Engineering or were something that Orbital
14· project where ACS came to you and said, "We've          14· decided needed changed; is that fair?
15· incurred additional time or cost because of an          15· · · A.· ·Yes.· I would not have been part of that
16· Orbital drawing mistake, ambiguity, or lack of a        16· design.
17· drawing" that you failed to approve the extra work      17· · · Q.· ·So, Mr. Dunn, were you aware whether or not
18· request?                                                18· there were meetings regarding design changes during
19· · · A.· ·No, I don't.                                   19· the ongoing construction project?
20· · · Q.· ·Now, I want to get back to something we        20· · · · · · · ·MR. MICHAELS:· Objection.· Outside of
21· discussed earlier with relation to CEC.· And if I       21· scope.
22· recollect your testimony --                             22· · · A.· ·Yes.
23· · · · · · · ·MR. BRUMLEY:· You can take that            23· · · Q.· ·Can you help me understand why you, as the
24· document off.                                           24· person that knew the project best, wasn't included


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·1· in those meetings?                                      ·1· so, you know, the order would go in that there
·2· · · A.· ·I'm asked -- I'm asked -- in my role, I'm      ·2· could be a lead time getting the purchased
·3· asked to perform the job as it's handed to me.          ·3· equipment, and that would give us time to fabricate
·4· I'm -- I'm not an engineer.· I'm not a designer.        ·4· the pipe.· So that's normally how it's done.· But I
·5· I'm the guy that gets it done once it's designed.       ·5· wasn't part of like deciding who -- you know, what
·6· · · · · · · ·So as -- as these designs came out and     ·6· was needed where.· I -- you know, that kind of
·7· I received them, you know, once -- once I received      ·7· thing.
·8· them and approved drawings, I realized the scope,       ·8· · · Q.· ·Sorry about that.· That question was really
·9· you know, what needed done, and we, you know,           ·9· good.· I wish I wasn't muted when I said it.
10· initiated the work, you know, to be done, (Audio        10· · · · · · · ·Are you aware that if CNX had its own
11· distortion) and I am not -- though I have a lot of      11· internal calculations of cost of completion during
12· knowledge about the design, I'm not included in         12· the progress of this project?
13· those conversations.                                    13· · · · · · · ·MR. MICHAELS:· Objection.· Outside the
14· · · Q.· ·How much lead time was there between --        14· scope.
15· on -- during the course of the project between work     15· · · A.· ·Could you repeat the question, please?
16· that needed to be done and receiving the Orbital        16· · · Q.· ·Yeah.
17· design?· Like would they get those a couple days        17· · · · · · · ·Did CNX have its own internal cost of
18· before that portion of the work, or a week or --        18· completion estimates for this project?
19· you know --                                             19· · · A.· ·Yes.
20· · · A.· ·I mean, it was -- I mean, the work was done    20· · · Q.· ·Okay.· Who -- who did those?
21· soon after the design was -- was -- came out, you       21· · · A.· ·I'm not sure who did it at the -- at the
22· know, as an approved IFC drawing.                       22· corporate level, but we provided the information
23· · · Q.· ·Okay.· And help me understand the IFC          23· from the field to a person who compiled it, and
24· drawings, like, the design.· We have designs that       24· then -- with other projects and would, you know,
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·1· are being provided on June 7th of 2019.· Is that        ·1· submit that to upper management.
·2· design document an IFC drawing?                         ·2· · · Q.· ·Is that how funds were allocated to the
·3· · · A.· ·I don't know.· If they're presented -- are     ·3· project?
·4· they presented as an approved drawing, or is it a       ·4· · · A.· ·I don't know how funds are allocated to the
·5· concept drawing, or is it -- you know, I don't          ·5· project.
·6· know.                                                   ·6· · · Q.· ·Do you know what those cost of completion
·7· · · Q.· ·It would depend on the drawing then?           ·7· estimates were at any point in time?· Were you made
·8· · · A.· ·I don't know the gist of it, so, you know,     ·8· aware of those numbers?
·9· I was -- I may be talking to Carissa about the          ·9· · · A.· ·Yes.
10· project and she may mention to me that something is     10· · · Q.· ·How were you --
11· coming up, you know, "We're going to add a valve        11· · · · · · · ·(Crosstalk.)
12· here," or a -- you know, it was normally a surprise     12· · · Q.· ·How were you aware of them?
13· to me that, you know, there was -- you know, the        13· · · A.· ·Basically using the David Larkin cost of
14· (Audio glitch) coming.                                  14· completion form that he would submit.· I think
15· · · · · · · ·And then, you know, later on down the      15· there were three of them maybe that I saw.· And
16· road, I may ask, you know, "Well, what about those      16· (audio distortion) we would use that as a basis to
17· drawings, you know.· Are we still going to do           17· put together a cost tracking spreadsheet and submit
18· that?"· "Yes, it's coming."· The drawings would         18· that to upper management.
19· show up and, you know, we'd order the materials         19· · · Q.· ·Was the -- was the cost of completion that
20· immediately because of the time frame, and, you         20· you referred to on the internal spreadsheet
21· know, get started on it.                                21· something that was discussed with you?
22· · · · · · · ·It may involve equipment, it may           22· · · A.· ·No.· Like I said, my -- my wife was working
23· involve piping that had to be ordered.· It may          23· in the office as an admin -- you know, like an
24· involve, you know, valves and that kind of thing,       24· office clerk, administrator, whatever, and she


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·1· would get that information.· I would see it and         ·1· · · Q.· ·Okay.· Well, so from -- you know, you've
·2· pass it on to her.· She would compile it on a           ·2· done other projects similar to this one, correct?
·3· spreadsheet and then forward it on to -- to the         ·3· · · A.· ·Yes.
·4· management team, and I don't know what happened to      ·4· · · Q.· ·And when you left in July, the charges to
·5· it after that.                                          ·5· this contract were in the 14 million range based on
·6· · · Q.· ·Do you know whether -- do you recall           ·6· the work left to be done.· Does the 19 million
·7· whether those numbers that you're referring to were     ·7· number seem out of line to you?
·8· in line with or tracked the Larkin cost of              ·8· · · · · · · ·MR. MICHAELS:· Objection.· Calls for
·9· completion estimates or not?                            ·9· speculation.· Improper hypothetical.
10· · · A.· ·Yes, they were.                                10· · · A.· ·Yes, I -- I wouldn't know without being
11· · · Q.· ·So it wasn't any -- you were aware on          11· there.
12· behalf of CNX as well as the others in that             12· · · Q.· ·As far as the status of the design
13· communication loop as to how the cost of                13· documents in this case, Mr. Dunn, do you find that
14· completions were being modified.                        14· they were less developed than the other projects
15· · · · · · · ·MR. MICHAELS:· Objection.· Calls for       15· that you've worked on?
16· speculation.· That wasn't his testimony about           16· · · A.· ·Yes.
17· whether something was modified.                         17· · · Q.· ·Did you ever raise that issue with
18· · · Q.· ·Go ahead, Mr. Dunn.                            18· management at CNX?
19· · · A.· ·Yes, but the backup doc -- you know, the       19· · · A.· ·No.
20· process had to stay intact of identifying extras,       20· · · Q.· ·Did ACS provide additional services to make
21· creating a field ticket, creating a change order,       21· up for that deficiency in this project?
22· (Audio distortion) signing off on it, and that --       22· · · A.· ·Yes.
23· that process was not followed through with.             23· · · Q.· ·I think last question, Mr. Dunn, would you
24· Therefore, I couldn't be sure that that's the right     24· be able to go back and look at the billings from
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·1· number or not because it was not tracked after a        ·1· the time you were on the project and identify how
·2· certain point in time.                                  ·2· much of those billings were original scope work?
·3· · · · · · · ·It's only an estimate.· So the -- the      ·3· · · A.· ·Yes.· It would take some time, though.
·4· Larkin is an estimate.· The Larkin CAC was an           ·4· · · Q.· ·You didn't do that because you didn't need
·5· estimate, and, yes, we used his estimate to             ·5· to track it, as if you were under the contract
·6· forecast -- you know, to warn the upper management      ·6· amount, it didn't matter whether it was original
·7· that, hey, these -- these invoices will be showing      ·7· scope work or extras, correct?
·8· up, you know, at some point, but, you know, what        ·8· · · · · · · ·MR. MICHAELS:· Objection to form. A
·9· they did with that information is -- I don't know.      ·9· compound question.
10· · · Q.· ·And in -- the work on those invoices, to       10· · · A.· ·Yes, that's correct.
11· your knowledge, was complete and --                     11· · · Q.· ·All right.· I think I'm done.
12· · · · · · · ·MR. MICHAELS:· Objection.                  12· · · · · · · ·MR. BRUMLEY:· Hold on one second,
13· · · · · · · ·(Crosstalk.)                               13· Greg.
14· · · · · · · ·MR. MICHAELS:· Those documents aren't      14· · · · · · · ·(Discussion held off the record.)
15· before him.· Calls for speculation.                     15· · · · · · · ·THE VIDEOGRAPHER:· Do you want to go
16· · · Q.· ·Go ahead, Mr. Dunn.                            16· back on the record?
17· · · A.· ·Every document that I signed, I -- I was --    17· · · · · · · ·MR. BRUMLEY:· Yeah.
18· I understood it to be extra work.· I understood it      18· · · · · · · ·THE VIDEOGRAPHER:· I'm sorry.· We
19· to be -- to be paid for, and anything that I did        19· never went off the record.
20· not sign, I -- I cannot speak to because I              20· · · · · · · ·MR. BRUMLEY:· I didn't think we did.
21· wasn't -- I didn't see it happen.· I don't -- you       21· · · · · · · ·THE VIDEOGRAPHER:· My fault.
22· know, I don't know how many, how often, how -- you      22· · · · · · · ·MR. BRUMLEY:· I don't have any further
23· know, what equipment, so I was not able to sign off     23· questions at this time, Mr. Dunn.· I want to thank
24· on those.                                               24· you for bearing with us today on the video format.

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·1· It's way harder to do that -- this by video than it     ·1· at their 12 million price.· You're not aware of or
·2· is in person where we could show each other             ·2· you don't have firsthand knowledge about why they
·3· documents and have a more natural conversation.· So     ·3· lowered their price or arrived at that number.
·4· thank you for your effort with us here today.           ·4· · · A.· ·No, I do not.
·5· · · · · · · ·THE DEPONENT:· You're welcome.             ·5· · · Q.· ·And you don't have any knowledge of how
·6· · · · · · · ·MR. MICHAELS:· I just do have a few        ·6· they got down there or what contingencies they
·7· here, Chris, if you are done.                           ·7· removed or assumed or anything of that nature.· You
·8· · · · · · · ·MR. BRUMLEY:· Unless you raise some        ·8· don't have personal knowledge of that.
·9· issues that I need to redirect, I'm done.               ·9· · · A.· ·No, I don't.
10· · · · · · · · · · ·EXAMINATION                          10· · · Q.· ·Now, the hypotheticals asked by you of
11· BY MR. MICHAELS:                                        11· counsel were some scenarios of what qualified as
12· · · Q.· ·Okay.· Kevin, thank you very much for your     12· extra work potentially outside the scope, and he
13· time today hearing us both as we navigated these        13· asked generally what they were.
14· technological issues.                                   14· · · · · · · ·If that was to be considered, you
15· · · · · · · ·Just to be -- just to be clear.· This      15· would look at those -- let me rephrase that.
16· project, the expansion of the Morris Compressor         16· · · · · · · ·What would you look at to consider
17· Station was bid on a time and materials basis with      17· that on an individual basis?
18· a not to exceed price.                                  18· · · A.· ·I would have to compare the bid documents
19· · · A.· ·That's correct.                                19· to the actual work that was performed, the specific
20· · · Q.· ·And it was awarded by CNX to ACS on a time     20· nature of each -- each particular item.
21· materials basis with a not to exceed price; is that     21· · · Q.· ·So in some instances, something that could
22· correct?                                                22· be considered extra work in one instance, based
23· · · A.· ·Yes.                                           23· upon the circumstances, could be not extra work
24· · · Q.· ·And anything that would be deemed outside      24· under different circumstances,
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·1· the scope was to be addressed using the change          ·1· · · A.· ·Yes.
·2· order process.                                          ·2· · · Q.· ·So it would take an individual assessment
·3· · · A.· ·Yes, that's correct.                           ·3· of the circumstances involved with each and every
·4· · · Q.· ·And that process was followed while you        ·4· aspect of that.
·5· were in place as foreman with ACS?                      ·5· · · A.· ·Yes.
·6· · · A.· ·Yes.                                           ·6· · · Q.· ·Okay.· So we can't make a blanket statement
·7· · · Q.· ·And was that captured through any              ·7· saying anything due to weather is necessarily
·8· particular log?                                         ·8· something a delay that would constitute extra work.
·9· · · A.· ·Yes.                                           ·9· · · A.· ·Yes, I would agree.
10· · · Q.· ·What log was that?                             10· · · Q.· ·And, likewise, that would be -- come for
11· · · A.· ·There was a change order log that was kept.    11· different delays maybe in design drawings being
12· · · Q.· ·Is that different or the same as the extra     12· provided.
13· work log that's been referred to?                       13· · · A.· ·I'm sorry, Greg, please repeat.
14· · · A.· ·I believe it's different.                      14· · · Q.· ·I apologize for that.· That was poorly
15· · · Q.· ·Okay.· But in your understanding what you      15· worded.
16· had signed off on was in the -- not -- not in           16· · · · · · · ·But that would be the same
17· contract log?                                           17· circumstance that whether a design drawing was
18· · · A.· ·Yes.                                           18· provided on time or on a different time frame, that
19· · · Q.· ·And you had been asked by counsel about        19· would be assessed on an individual basis whether
20· some hypotheticals and specifically was the -- I        20· that constituted extra work or something outside
21· want to say that was Exhibit 7, or what was -- or I     21· the scope.
22· guess it was Exhibit P.· I don't know the number.       22· · · A.· ·Yes.
23· I apologize for that.                                   23· · · Q.· ·Mr. Dunn, are you aware of any time that
24· · · · · · · ·ACS's explanation for how they arrived     24· this project was no longer a T&M with a not to

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CNX MIDSTREAM DEVCO 1 v.                                                                                                    KEVIN DUNN
APPLIED CONSTRUCTION SOLUTIONS, INC.                                                                                         12/22/2020
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                                                                        ·1· STATE OF WEST VIRGINIA
·1· exceed pricing?
                                                                        ·2· COUNTY OF KANAWHA, to wit;
·2· · · A.· ·No.
                                                                        ·3
·3· · · · · · · ·MR. MICHAELS:· That's all my
                                                                        ·4· · · · · ·I, Teresa Evans, owner of Realtime
·4· questions.
                                                                        ·5· Reporters, LLC, do hereby certify that the attached
·5· · · · · · · ·MR. BRUMLEY:· No follow-up.
                                                                        ·6· deposition transcript of KEVIN DUNN meets the
·6· · · · · · · ·THE VIDEOGRAPHER:· This concludes the
                                                                        ·7· requirements set forth within article twenty-seven,
·7· deposition of Kevin Dunn.· We're now off the
                                                                        ·8· chapter forty-seven of the West Virginia Code to
·8· record.· The time is 3:01 p.m.                                      ·9· the best of my ability.
·9· · · · · · · ·(Deposition concluded.)                                10
10· · · · · · · · (Having indicated he would like to                    11· · · · · ·Given under my hand this ______ day of
11· · · · · · · · waive his right to read the deposition                12· _________________, 20_____.
12· · · · · · · · before filing, further this deponent                  13
13· · · · · · · · saith not.)                                           14
14                                                                      15· · · · · · · · · · · · · /s/ Teresa Evans
15· · · · · · · · · · · ·--oOo--                                        16
16                                                                      17· · · · · · · · · · · · · __________________________
17                                                                      · · · · · · · · · · · · · · Registered Professional
18                                                                      18· · · · · · · · · ·Reporter/Certified Realtime Reporter
19                                                                      19

20                                                                      20

21                                                                      21

22                                                                      22

23                                                                      23

24                                                                      24

                                                             Page 162
·1·   STATE OF WEST VIRGINIA
·2·   COUNTY OF CABELL, to wit;
·3
·4·   · · ·I, Jaime L. Stroud, a Notary Public within and
· ·   for the County and State aforesaid, duly
·5·   commissioned and qualified, do hereby certify that
· ·   the foregoing deposition of KEVIN DUNN was duly
·6·   taken by me and before me at the time and place and
· ·   for the purpose specified in the caption hereof,
·7·   the said witness having been by me first duly
· ·   sworn.
·8
·9·   · · ·I do further certify that the said deposition
· ·   was correctly taken by me in shorthand notes, and
10·   that the same were accurately written out in full
· ·   and reduced to typewriting to the best of my
11·   ability, and that the witness did not request to
· ·   read his transcript.
12
13·   · · ·I further certify that I am neither attorney or
· ·   counsel for, nor related to or employed by, any of
14·   the parties to the action in which this deposition
· ·   is taken, and further I am not a relative or
15·   employee of any attorney or counsel employed by the
· ·   parties, or financially interested in the action,
16·   and that the attached transcript meets the
· ·   requirements set forth within article twenty-seven,
17·   chapter forty-seven of the West Virginia Code.
18
· ·   · · ·My commission expires February 19, 2023.
19
20·   · · ·Given under my hand and seal this ______ day
21·   of __________________, 20____.
22
23
· ·   ___________________________
24·   Jaime L. Stroud, RPR, Notary Public


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CNX MIDSTREAM DEVCO 1 v.                                                                         KEVIN DUNN
APPLIED CONSTRUCTION SOLUTIONS, INC.                                           12/22/2020 Index: worked..Zoom
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                           EXHIBIT G
                     Certificate of Service to
Defendant’s First Set of Interrogatories, Requests for Production,
                   and Requests for Admission
                          June 26, 2020
            Ý¿-» îæîðó½ªóððîçðóÔÐÔ Ü±½«³»²¬ íí Ú·´»¼ ðêñîêñîð Ð¿¹» ï ±º ï




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CNX MIDSTREAM DEVCO I, LP,

                      Plaintiff,                            Civil Action No.: 2:20-CV-290
                                                            Judge Lisa Pupo Lenihan
       v.

APPLIED CONSTRUCTION SOLUTIONS, INC.,

                      Defendant.

                                   CERTIFICATE OF SERVICE

       I, Evan S. Aldridge, counsel for Defendant, Applied Construction Solutions, Inc. do hereby

certify that on this 26th day of June 2020, a true and correct copy of the foregoing

First Set of Interrogatories, Requests for Production, and Requests for Admission was

served upon the following counsel of record via email:

                                William D. Clifford, Esquire
                                Gregory C. Micahels, Esquire
                           DICKIE, MCCAMEY & CHILCOTE, P.C.
                                  Two PPG Place, Suite 400
                                 Pittsburgh, PA 15222-5402
                                     Counsel for Plaintiff


By: /s/ Evan S. Aldridge, Esq.
Evan S. Aldridge, Esq. (Admitted Pro Hac Vice)
FLAHERTY SENSABAUGH BONASSO PLLC
200 Capitol Street
P.O. Box 3843
Charleston, WV 25338
T: (304) 345-0200
F: (304) 345-0260
ealdridge@flahertylegal.com




                                                1
                          EXHIBIT H
           CNX’s Response to ACS’s Discovery Requests
              Served February 3, 2021 (no COS filed)
Requests for Admission deemed admitted due to the passage of time.
                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF PENNSYLVANIA

 CNX MIDSTREAM DEVCO I, LP,                   :    CIVIL DIVISION
                                              :
                            Plaintiff,        :    Docket No.: 2:20-CV-00290-AJS
                                              :
              v.                              :
                                              :
 APPLIED CONSTRUCTION SOLUTIONS,              :
 INC.,                                        :
                                              :
                             Defendant.       :

  ANSWERS AND RESPONSES TO DEFENDANT’S FIRST SET OF INTERROGATORIES,
  REQUESTS FOR PRODUCTION OF DOCUMENTS, AND REQUESTS FOR ADMISSION

       NOW COMES the Plaintiff, CNX Midstream DEVCO I, LP (“CNX”), by and through its

attorneys, Dickie, McCamey & Chilcote, P.C. and serves the following Answers and Responses

to Defendant’s First Set of Interrogatories, Requests for Production of Documents, and

Requests for Admission:

                           ANSWERS TO INTERROGATORIES

       INTERROGATORY NO. 1. Please state the name and Company Title for each

individual assisting with responses to these Discovery Requests.

ANSWER:       The Answers to Interrogatories of CNX are answered by representatives
              of CNX with the assistance of counsel.

       INTERROGATORY NO. 2. Please state the name and Company Title of each person

involved in submitting CNX’s request for proposal, analyzing the submitted proposals/bids,

and awarding the Project to ACS.

ANSWER:       Carissa Hansen, Senior Facilities Engineer
              Kevin Dunn, Senior Foreman Construction
              Chase Davis, Strategic Sourcing Specialist
              Adam Beck, VP of Midstream Engineering and Construction
              Brent Ellis, Director of Engineering
              Ryan Aubuchon, Supervisor of Engineering
              William Kish, Construction Superintendent
              Dennis Koscho, Pipeline Construction Manager
              Cory Strennen, Senior Facilities Engineer
              Aston Ring, Electrical Construction Foreman


       INTERROGATORY NO. 3. Please describe the process of Orbital’s Project design

from when Orbital was first contacted to design the Project, through design submissions,

until Orbital’s role on the Project concluded. A responsive answer should include, but is not

limited to, an analysis of the requested design, the schedule for designing the Project, a

description of any significant design setbacks incurred by CNX or Orbital, whether this

Project was ready to submit requests for proposal between October and December 2018,

why the final drawing was not submitted until June 7, 2019, and why project designs were

changed throughout the project.

ANSWER:       CNX objects to this Interrogatory as overly broad, vague, ambiguous,
              unduly burdensome, not reasonably limited in time or scope, as seeking
              information that is irrelevant and not reasonably calculated to lead to
              the discovery of admissible evidence. CNX further objects to any
              directive from Defendant as to how CNX must answer the Interrogatory.

              Subject to and without waiving the foregoing objections, Orbital was
              selected on April 11, 2018 as the engineering firm to design the
              expansion of the Morris Compressor Station. From the time of the
              selection of Orbital, CNX worked with Orbital and oversaw the
              preparation of drawings for each aspect of the expansion of the Morris
              Compressor Station. Orbital issued 30% design drawings on August 6,
              2018 and Orbital issued 60% drawings on September 20, 2018. Orbital
              issued 90% drawings on September 20, 2018. As construction of the
              expansion of the Morris Compressor Station progressed, Orbital would
              issue updated drawings as needed and as requested by CNX as well as
              ACS. By way of further response, see transmittals from Orbital to CNX
              produced herewith.




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      INTERROGATORY NO. 4. Please explain how CNX determined the status and

percentage of IFC or P&ID drawings described as 60% complete on or about October 4, 2018

and later described as 90% complete on or about October 26, 2018. Please clarify the

discrepancy between these percentages and the 80% complete estimate by Orbital

Engineering on or about December 11, 2018.

ANSWER:      CNX objects to this Interrogatory as overly broad, vague, ambiguous,
             unduly burdensome, not reasonably limited in time or scope, as seeking
             information that is irrelevant and not reasonably calculated to lead to
             the discovery of admissible evidence. CNX further objects to any
             directive from Defendant as to how CNX must answer the Interrogatory.

             Subject to and without waiving the foregoing objections, for drawings
             package to be determined a certain percentage complete, CNX uses the
             following guidelines:

             •   Drawings are considered 30% complete at the General Arrangement
                 stage and after a first pass at P&ID drawings based on initial
                 equipment designs;
             •   Drawings are considered 60% complete when P&ID drawings are
                 issued for review and substantial mechanical and civil 3D model and
                 drawings. Most major equipment drawings are IFC at this point.
             •   Drawings are considered 90% complete when P&ID drawings and 3D
                 model and drawing package are mostly unchanging. At 90%
                 complete, CNX conducts a PHA to determine if any safety related
                 design changes are required. A first round of electrical drawings are
                 available at this time with final drawings at IFC. The largest changes
                 would be electrical at this point and detailed designs based on the
                 P&IDs.

             By way of further response, the scope of work for ACS and Orbital on the
             Project was different. Orbital’s scope of work included a control room
             building, arc flash study and bulk storage tanks, but these items were not
             in the scope of work for ACS. The percentage of work complete by Orbital
             is subjective based upon PM meetings with the Project team and based
             upon remaining deliverables along with the percentage spent. Further,
             the December 11, 2018 update provided by Orbital noted changes to the
             nozzles on the storage tanks with significant piping updates, however,
             CNX was able to reuse most of the pipe from the existing tank battery
             which removed fabrication work from ACS’ scope of work.




                                             3
       INTERROGATORY NO. 5. Please identify every change to the project designs that

occurred after October 26, 2018. For purposes of this question, if multiple changes are made

to one page of design drawings, CNX may treat the entire page as one change, unless itemized

changes are needed for clarity. For each change:

              (a)    identify who ordered the design (i.e. CNX or Orbital Engineering, Inc.);

              (b)    describe why the design was changed;

              (c)    quantify the change in terms of material (i.e. lineal feet of pipe, number
                     of instruments, etc.);

              (d)    identify if Orbital indicated the change was out of scope; and

              (e)    identify if CNX considers the change out of scope.

ANSWER:       CNX objects to this Interrogatory as overly broad, vague, ambiguous,
              unduly burdensome, not reasonably limited in time or scope, as seeking
              information that is irrelevant and not reasonably calculated to lead to
              the discovery of admissible evidence. CNX further objects to any
              directive from Defendant as to how CNX must answer the Interrogatory.

              Subject to and without waiving the foregoing objections, in lieu of a
              response, CNX directs ACS to the design drawings, the NOT IN CONTRACT
              LOG and Request for Change Order Nos. 1 and 2 prepared by ACS.

       INTERROGATORY NO. 6. Describe how the document listed as Exhibit A to the

Complaint was executed by the Parties, identify whether any signed copy exists, and indicate

the exact location of any language in Exhibit A itself which states there is a not to exceed

(“NTE”) price, a cap on the project price, a lump sum figure, a guaranteed maximum price, or

other restriction on the total amount this project would cost. For purposes of this question,

please exclude any documents incorporated by reference under Exhibit A, Article 2.

ANSWER:       CNX objects to this Interrogatory as overly broad, vague, ambiguous,
              unduly burdensome, not reasonably limited in time or scope, as seeking
              information that is irrelevant and not reasonably calculated to lead to
              the discovery of admissible evidence. CNX further objects to any
              directive from Defendant as to how CNX must answer the Interrogatory.


                                              4
             Subject to and without waiving the foregoing objections, the Purchase
             Order was issued by CNX to ACS via HUBWOO on December 5, 2018 at
             9:56 p.m. See document from HUBWOO memorializing this fact
             produced herewith at Bates No. CNX 049077. Pursuant to the “explicit”
             terms of the Purchase Order, if ACS received the Purchase Order through
             HUBWOO, which it did, the Purchase Order could only be accepted by ACS
             by sending the Purchase Order back to CNX via HUBWOO. As required by
             the Purchase Order, ACS accepted the Purchase Order by sending it back
             to CNX via HUBWOO on December 21, 2018 at 3:30 p.m. See attached
             document from HUBWOO memorializing this fact produced herewith at
             Bates No. CNX 049077. Pursuant to the “explicit” terms of the Purchase
             Order, the offer and acceptance of the Purchase Order was effectuated by
             electronic transmission via HUBWOO. There was no requirement or
             relevance to “signing” the Purchase Order. Further, the Purchase Order
             does not explicitly state that there is a Not To Exceed price on this
             Project. In this regard, Article 4 of the Purchase Order sets forth a lump
             sum budget for the Project of $12,418,545. Pursuant to Article 2 of the
             Purchase Order, CNXM RFP questions dated November 5, 2018 are
             “explicitly” incorporated into the Purchase Order. The CNXM RFP
             question dated November 5, 2018 “explicitly” provides that the Purchase
             Order is a time and materials contract with a Not To Exceed amount
             based upon the lump sum budget submitted by ACS.



      INTERROGATORY NO. 7. Please detail any response from CNX or CNX personnel to

Jim Glass’s conditional requirement in a November 7, 2018 email that ACS needs 100%

complete drawings or drawings that “CNX is will[ing] to accept as 100% for purposes of

establishing a firm price on.” Indicate whether 100% drawings were supplied by CNX or

whether CNX accepted the “90% complete” drawings it uploaded on October 26, 2018 as

100% complete for purposes of establishing a “firm price.”

ANSWER:      CNX objects to this Interrogatory as overly broad, vague, ambiguous,
             unduly burdensome, misleading, not reasonably limited in time or scope,
             as seeking information that is irrelevant and not reasonably calculated
             to lead to the discovery of admissible evidence.

             Subject to and without waiving the foregoing objections, CNX never
             requested and ACS never supplied a firm price for this Project. As stated
             in the Contract, this Project was bid on a T&M basis with a Not to Exceed
             price.


                                            5
      INTERROGATORY NO. 8. Please describe why the Project was not awarded on

November 11, 2018, why CNX requested revised bids, and what changes CNX made or

requested contractors make to lower the revised bids from the original submission.

ANSWER:      CNX objects to this Interrogatory as overly broad, vague, ambiguous,
             unduly burdensome, not reasonably limited in time or scope, as seeking
             information that is irrelevant and not reasonably calculated to lead to
             the discovery of admissible evidence.

             Subject to and without waiving the foregoing objections, bids for the
             Project were due on November 6, 2018 and the Project was to be
             awarded on November 9, 2018. The Project was not awarded on
             November 9, 2018, because CNX asked contractors what additional
             information was needed to clarify the Project. CNX also took time to meet
             with some of the subcontractors that contractors were proposing to use
             on the Project. Further, updated drawings for the Project were issued on
             November 13, 2018 and November 15, 2018. CNX did not request that
             bidders lower their bids, but instead, CNX requested that bidders revise
             their bids based upon the updated drawings.

      INTERROGATORY NO. 9. Please describe why CNX submitted Project payments to

ACS on a T&M basis and also accepted ACS’s invoice support on a T&M basis.

ANSWER:      CNX objects to this Interrogatory as overly broad, vague, ambiguous,
             unduly burdensome, not reasonably limited in time or scope, as seeking
             information that is irrelevant and not reasonably calculated to lead to
             the discovery of admissible evidence.

             Subject to and without waiving the foregoing objections, CNX submitted
             Project payments to ACS on a T&M basis and also accepted ACS’ invoice
             support on a T&M basis, because it was in accordance with the terms of
             the Contract. The basis of the Contract between the parties was for the
             Contract to be billed on a T&M basis with a Not To Exceed price. Pursuant
             to the terms of the Contract, ACS could invoice CNX on a T&M basis up to
             the Not To Exceed price.




                                            6
      INTERROGATORY NO. 10. Please state if CNX agrees that ACS spent at least

$19,578,615.76 on the Project, and if not, what CNX alleges is the actual Project cost and

where CNX believes the differences are.

ANSWER:      CNX objects to this Interrogatory as vague, ambiguous and seeking a
             legal conclusion and expert opinion from CNX.

      INTERROGATORY NO. 11. Please quantify the amount of material bid on the project

and the amount of material installed on the project. If you disagree with the figures

presented in ACS’s mediation statement Table 1, please identify the basis for your

disagreement.

ANSWER:      CNX objects to this Interrogatory as overly broad, vague, ambiguous,
             unduly burdensome, not reasonably limited in time or scope, as seeking
             information that is irrelevant and not reasonably calculated to lead to
             the discovery of admissible evidence. CNX further objects to any
             directive from Defendant as to how CNX must answer the Interrogatory.

             Subject to and without waiving the foregoing objections, the amount of
             the material bid on the project was set forth in the drawings package and
             the amount of materials to be installed on the project was set forth in the
             Purchase Order and Change Orders. Further, the information sought by
             ACS is in its possession in its bid and its invoices. ACS should be aware of
             the amount of its material bid on the project and the amount of the
             material installed on the project. Further, discovery is ongoing. CNX will
             supplement its Answer to this Interrogatory to extent necessary in
             accordance with the Federal Rules of Civil Procedure and the Local Rules
             for the U.S. District Court for the Western District of Pennsylvania.




                                            7
       INTERROGATORY NO. 12.          Please identify every occasion where material or

equipment were delayed from reaching the site because CNX did not have the necessary

permits. (e.g. certain compressors could not cross the state line until CNX obtained the

adequate permit.). Quantify the amount of days it took to resolve this occurrence.

ANSWER:       CNX objects to this Interrogatory as overly broad, vague, ambiguous,
              unduly burdensome, not reasonably limited in time or scope, as seeking
              information that is irrelevant and not reasonably calculated to lead to
              the discovery of admissible evidence. CNX further objects to any
              directive from Defendant as to how CNX must answer the Interrogatory.

              Subject to and without waiving the foregoing objections, CNX is only
              aware of the transport of two coolers to the Morris Station was delayed
              over one weekend, because of a permitting issue preventing the coolers
              from crossing the state line. Two other coolers to be installed at the
              Morris Station were stored offsite, because at the time of delivery, ACS
              was not prepared to install the coolers so any delay resulting from
              transport was inconsequential.



       INTERROGATORY NO. 13. Please identify every occasion where material or labor

that was supposed to be provided by CNX was delayed from reaching the site or inaccessible

on site.

ANSWER:       CNX objects to this Interrogatory as overly broad, vague, ambiguous,
              unduly burdensome, not reasonably limited in time or scope, as seeking
              information that is irrelevant and not reasonably calculated to lead to
              the discovery of admissible evidence.

              Subject to and without waiving the foregoing objections, CNX does not
              agree that any delay of material or labor to the construction site
              occurred due to the actions or omissions of CNX which affected ACS. By
              way of further response, the dehydration package was delayed, but such
              delay was communicated to ACS and there was no effect to ACS as ACS
              was focused on the completion of the new tank farm so ACS could install
              certain compressors at the site.




                                             8
       INTERROGATORY NO. 16. Please identify when and why Kevin Dunn was removed

from the Project.

ANSWER:       CNX objects to this Interrogatory as seeking information that is
              irrelevant and not reasonably calculated to lead to the discovery of
              admissible evidence.

              Subject to and without waiving the foregoing objections, Kevin Dunn was
              reassigned from the Project so that CNX could utilize Kevin Dunn on a
              different CNX project.

       INTERROGATORY NO. 17. Please state why CNX directed ACS to withhold any

change order or financial requests to submit as one final change order because CNX on-site

personnel represented to ACS that CNX’s field team could only go back to CNX’s operational

or financial team to request one (1) more monetary request.

ANSWER:       CNX objects to this Interrogatory to as overly broad, vague, ambiguous,
              as seeking information that is irrelevant and not reasonably calculated
              to lead to the discovery of admissible evidence. CNX further objects to
              the extent the term “financial requests” is undefined and identity of
              “CNX’s field team” is not identified by ACS.

              Subject to and without waiving the foregoing objections, CNX denies that
              it directed ACS to withhold any change order or financial request. During
              the course of ACS’s work on the Project, it submitted Requests for Change
              Orders based upon ACS’s assertion that the actual scope-of-work for the
              Project was more extensive than the scope-of-work required by the
              Purchase Order. ACS submitted these requests for change order prior to
              performing the work as required by Article 10 of the Purchase Order.
              CNX agreed that certain of the Requests for Change Order submitted by
              ACS related to work that was outside of the scope-of-work of the
              Purchase Order. CNX signed off on these Requests for Change Orders.
              CNX agreed that these Requests for Change Orders would be billed by ACS
              on a T&M basis. ACS and CNX kept track of these Requests for Change
              Orders on a “Not In Contract” log. Ultimately, CNX and ACS agreed that
              ACS performed work that was beyond the scope-of-work of the Purchase
              Order. In this regard, CNX issued Change Orders Nos. 1 and 2 to the
              Purchase Order.




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       INTERROGATORY NO. 18. Please describe CNX’s audit process on the Project in

terms of:

               (a)    What individuals were actively involved;

               (b)    What information was reviewed;

               (c)    What the findings of the audit process revealed;

               (d)    What the total Project cost supported by the audit was; and

               (e)    Whether the audit process verified that ACS’s process for assembling
                      invoices (regardless of figures) was a supportable and recreatable
                      process.

ANSWER:        CNX objects to this Interrogatory as the term “audit process” is
               undefined.

               Subject to and without waiving the foregoing objections, an audit was not
               performed. CNX personnel reviewed the invoices submitted by ACS as a
               part of internal review of the Project. The review did not reach a
               conclusion regarding a comparison of the projected costs of the Project
               and actual cost of the Project or if ACS under billed CNX for any work as
               the Project was bid with a Not to Exceed price.

       INTERROGATORY NO. 19. Please identify every expert or consultant CNX has used

or will use on the Project or this lawsuit. Identify the individual’s contact information, field

of specialty, CV, any report generated, and if CNX intends for this individual to testify at trial.

ANSWER:        CNX has not yet made this trial determination. CNX will supplement its
               Answer to this Interrogatory in accordance with local rules and Federal
               Rules of Civil Procedure.




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              RESPONSE TO REQUEST FOR PRODUCTION OF DOCUMENTS

       REQUEST NO. 1. Please provide a copy all correspondence, contracts, reports,

schedules, designs, draft designs, redlined designs, and other documents between Orbital

and CNX relating to the Project.

RESPONSE: CNX objects to this Request as overly broad, vague, ambiguous, unduly
          burdensome, not reasonable limited in time or scope, seeking
          information that is irrelevant and not reasonably calculated to lead to
          the discovery of admissible evidence. CNX further objects to this Request
          to the extent it seeks information and documents which are protected
          from disclosure by the attorney-client privilege and/or work product
          doctrine.

              Subject to and without waiving the foregoing objections, see documents
              produced with CNX’s Initial Disclosures, produced previously in this
              matter and the documents produced herewith.

       REQUEST NO. 2. Please provide all internal or external CNX correspondence relating

to the following subject matters:

              (a)    The status of the Project design prior to bid;

              (b)    The decision to delay Project award and request revised bids;

              (c)    Orbital Engineering’s performance and Project;

              (d)    Emergency shutdowns, accidents, explosions, near misses, and flaring
                     on the Project;

              (e)    Internal and external budgeting correspondence regarding the Project
                     (between October 2018 and January 2020);

              (f)    Change orders, invoices, and requests for payment;

              (g)    Changes to project designs throughout the Project;

              (h)    Additional work, out-of-scope work, work not in the original designs,
                     and work directives;

              (i)    Correspondence about the alleged NTE aspect of the Project and
                     correspondence about the Project being purely T&M; and

              (j)    The audit process and audit results.


                                             11
RESPONSE: CNX objects to this Request as overly broad, vague, ambiguous, unduly
          burdensome, not reasonable limited in time or scope, seeking
          information that is irrelevant and not reasonably calculated to lead to
          the discovery of admissible evidence. CNX further objects to the extent
          this Request seeks information and documents protected from
          disclosure by the attorney-client privilege and/or work product
          doctrine. CNX further objects to the extent the terms “audit process” and
          “audit results” are not defined in this Request.

              Subject to and without waiving the foregoing objections, see documents
              produced previously in this matter.

       REQUEST NO. 3. Please also provide all correspondence by the following individuals

that relate to the Project between project inception (prior to submitting the Project to design

or requests for proposal) and present:

              (a)    Kevin Dunn,

              (b)    Carissa Hansen,

              (c)    Chase Davis,

              (d)    Todd Shumaker,

              (e)    Adam Beck,

              (f)    Ryan Aubuchon,

              (g)    Will Kish, and

              (h)    Dennis Koscho.

RESPONSE: CNX objects to this Request as overly broad, vague, ambiguous, unduly
          burdensome, not reasonable limited in time or scope, seeking
          information that is irrelevant and not reasonably calculated to lead to
          the discovery of admissible evidence. CNX further objects to the extent
          this Request seeks information and documents protected from
          disclosure by the attorney-client privilege and/or work product
          doctrine.

              Subject to and without waiving the foregoing objections, see documents
              produced previously in this matter.




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       REQUEST NO. 4. Please provide all documents and information generated by CNX, at

CNX’s direction, or otherwise provided to CNX in relation to the audit. For purposes of this

request, CNX may omit producing the documents provided by ACS.

RESPONSE: CNX objects to this Request as overly broad, vague, ambiguous, unduly
          burdensome, not reasonable limited in time or scope, seeking
          information that is irrelevant and not reasonably calculated to lead to
          the discovery of admissible evidence. CNX further objects to the extent
          this Request seeks information and documents protected from
          disclosure by the attorney-client privilege and/or work product
          doctrine.

              Subject to and without waiving the foregoing objections, an audit was not
              performed. CNX personnel reviewed the invoices submitted by ACS as a
              part of internal review of the Project. By way of further response, see
              documents produced previously in this matter.

       REQUEST NO. 5. Please produce any construction or operation permits in effect

between October 2018 and October 2019 on the Morris Station.

RESPONSE: See General Operating Permit produced herewith at Bates Nos. CNX
          048967-049000.

       REQUEST NO. 6. Please provide the full expert file of any expert you retained in this

matter.

RESPONSE: CNX has not yet made this trial determination. CNX will supplement its
          Response to this Request for Production in accordance with local rules
          and Federal Rules of Civil Procedure.

       REQUEST NO. 7. Please provide all photographs, videotapes, or other visual or audio

recordings, which CNX may have of the Project that it intends to use to support its claims or

defend against ACS’s claims.

RESPONSE: CNX has not yet made this trial determination and CNX will supplement
          its Response in accordance with the Federal Rules of Civil Procedure and
          local rules.




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       REQUEST NO. 8. Please produce all relevant documents, files, or recordings of all

emergency shutdowns, explosions, accidents, incidents, near miss, flaring, citations, notices

of violation, and safety violations that occurred at the Morris Station between October 2018

and October 2019.

RESPONSE: CNX objects to this Request as overly broad, vague, ambiguous, unduly
          burdensome, not reasonable limited in time or scope, seeking
          information that is irrelevant and not reasonably calculated to lead to
          the discovery of admissible evidence.

              Subject to and without waiving the foregoing objections, see ESD sheet
              produced herewith.

       REQUEST NO. 9. Please provide any written or recorded statements in your

possession, custody, or control, or taken on your behalf, from any person with knowledge of

the facts surrounding the Project or ACS’s demand for payment related to the Project.

RESPONSE: None.

       REQUEST NO. 10. Please produce any document, item, correspondence, or other

tangible thing that CNX relied upon to answer these Discovery Requests, or otherwise

referenced or alluded to in its Answers/Responses.

RESPONSE: See CNX’s Answers to Interrogatories and Responses to Requests for
          Production of Documents.


                        RESPONSE TO REQUEST FOR ADMISSIONS

       REQUEST NO. 1. Please admit that Exhibit A to CNX’s Complaint does not explicitly

state there is an NTE price on this Project.

RESPONSE: Denied. To the contrary, initially, Exhibit A to CNX’s Complaint is a
          version of the Purchase Order that was a printed version of the electronic
          version that was referenced for ease of reading. It is denied that the
          Purchase Order does not explicitly state that there is a Not To Exceed
          price on this Project. In this regard, Article 4 of the Purchase Order sets
          forth a lump sum budget for the Project of $12,418,545. Further,


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              pursuant to Article 2 of the Purchase Order, CNXM RFP questions dated
              November 5, 2018 are “explicitly” incorporated into the Purchase Order.
              The CNXM RFP question dated November 5, 2018 “explicitly” provides
              that the Purchase Order is a time and materials contract with a Not To
              Exceed amount based upon the lump sum budget submitted by ACS.

       REQUEST NO. 2. Please admit that neither CNX nor ACS ever signed the document

identified as Exhibit A to CNX’s Complaint.

RESPONSE: Plaintiff objects to this Request on the basis that it is misleading and
          assumes a fact not proven to be true.

              Subject to and without waiving the foregoing objections, the Request is
              denied. By way of further response, the Purchase Order was issued by
              CNX to ACS via HUBWOO on December 5, 2018 at 9:56 p.m. Produced
              herewith at Bates No. CNX 049077 is a document from HUBWOO
              memorializing this fact. Pursuant to the “explicit” terms of the Purchase
              Order, if ACS received the Purchase Order through HUBWOO, which it
              did, the Purchase Order could only be accepted by ACS by sending the
              Purchase Order back to CNX via HUBWOO. As required by the Purchase
              Order, ACS accepted the Purchase Order by sending it back to CNX via
              HUBWOO on December 21, 2018 at 3:30 p.m. Produced herewith at
              Bates No. CNX 049077 is a document from HUBWOO memorializing this
              fact. Pursuant to the “explicit” terms of the Purchase Order, the offer and
              acceptance of the Purchase Order was effectuated by electronic
              transmission via HUBWOO. There was no requirement or relevance to
              “signing” the Purchase Order.

       REQUEST NO. 3. Please admit that Exhibit A to CNX’s Complaint contains its own

Exhibit A titled “Cost Breakdown of Project Scope of Work” which contains line item 3.9

“Field Hydro Testing.”

RESPONSE: It is admitted that Exhibit A to CNX’s Complaint and the printout of the
          exact version of the Purchase Order contains an Exhibit A entitled “Cost
          Breakdown of the Project Scope-of-Work” which contains a line 3.9
          “Field Hydro Testing.” Any remaining averments or averments to the
          contrary are denied.




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        REQUEST NO. 4. Please admit that the aforementioned Exhibit A line item 3.9 “Field

Hydro Testing” references that the Project’s hydro testing was proposed to be performed in

the field.

RESPONSE: It is admitted that Exhibit A to CNX’s Complaint and the printout of the
          exact version of the Purchase Order at line 3.9 states “Field Hydro
          Testing.” By way of further response, Field Hydro Testing was never
          proposed or accepted as testing the pipe in the racks. This method of
          testing is dangerous to other installed pipes that could actually explode
          the racks itself. Field-testing involves testing the pipe on the site but not
          in the racks. Any remaining averments or averments to the contrary are
          denied as stated.

        REQUEST NO. 5. Please admit that Exhibit A to CNX’s Complaint contains its own

Exhibit A titled “Cost Breakdown of Project Scope of Work” which contains line items that

include the suffix “LS 1” which stands for lump sum.

RESPONSE: It is admitted that Exhibit A to CNX’s Complaint and the printout of the
          exact version of the Purchase Order contains the letters LS1 which is
          intended to represent “lump sum.” Any remaining averments or
          averments to the contrary are denied as stated.

        REQUEST NO. 6. Please admit CNX uploaded a spreadsheet titled “CNX Midstream –

Schedule of Values” to its Hubawoo system for contractors to complete as part of their

proposal, and this spreadsheet is incorporated into that Exhibit A to CNX’s Complaint’s own

Exhibit A titled “Cost Breakdown of Project Scope of Work.”

RESPONSE: It is admitted that CNX placed a Schedule of Values for the Project on
          HUBWOO and that the Schedule of Values with dollar amounts provided
          by ACS is contained as Exhibit A to Exhibit A to CNX’s Complaint and the
          exact version of the Purchase Order. Any remaining averments or
          averments to the contrary are denied.

        REQUEST NO. 7. Please admit that the spreadsheet titled “CNX Midstream – Schedule

of Values” that CNX uploaded to its Hubawoo system for Contractor’s to complete as part of

their proposal contained line item 3.9 “field hydro testing” and the spreadsheet’s line items


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are either on a lump sum basis or quantified by “each” occurrence necessary, but not by

manhour.

RESPONSE: It is admitted that Exhibit A to CNX’s Complaint and the exact version of
          the Purchase Order at item 3.9 provides for a “lump sum number” or
          “each.” However, it is denied that Line 3.9 provides that this line item is
          not to be billed on a man-hour basis. In this regard, pursuant to the
          Purchase Order, all items on the Schedule of Values were to be bid on a
          T&M basis with an amount not to exceed placed on the Schedule of
          Values. This requirement is “explicitly” provided in the Purchase Order
          that “explicitly” incorporates the CNXM RFP questions dated November
          5, 2018. In this document it is “explicit” that the Schedule of Values is to
          be completed on a “T&M not to exceed” basis. Any remaining averments
          or averments to the contrary are denied.

      REQUEST NO. 8. Please admit that through this aforementioned spreadsheet, CNX

requested bids at lump sum pricing for purposes of comparing bids, but the project would

be performed on a T&M basis (with or without an NTE component).

RESPONSE:     See Response to Request for Admission No. 7.

      REQUEST NO. 9. Please admit that ACS submitted a “Schedule of Equipment and

Labor Rates” on or about November 11, 2018 as part of its original proposal, and this

“Schedule of Equipment and Labor Rates” described how certain items would be billed.

RESPONSE: Denied. To the contrary, ACS submitted its original proposal for the
          Project on November 6, 2018. ACS also submitted a schedule of T&M
          rates for labor and equipment.

      REQUEST NO. 10. Please admit that ACS again submitted the “Schedule of Equipment

and Labor Rates” on or about November 30, 2018 – prior to CNX awarding the project.

RESPONSE: Upon information and belief, it is admitted that ACS submitted a schedule
          of T&M rates for labor and equipment on November 30, 2018. Any
          remaining averments or averments to the contrary are denied.




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       REQUEST NO. 11. Please admit that CNX accepted this “Schedule of Equipment and

Labor Rates” and T&M items should be billed under these rates.

RESPONSE: Admitted.

       REQUEST NO. 12. Please admit that CNX would not approve the original Project

proposals due to the cost, so CNX’s Project specific personnel requested that all or certain

contractors reduce their bid for purposes of getting CNX to approve a lower amount for the

same project.

RESPONSE: Denied. To the contrary, CNX requested contractors to submit revised
          bids based upon the updated drawings provided to contractors on
          November 13, 2018 and November 18, 2018.

       REQUEST NO. 13. Please admit that the Project drawings were not 90% designed

when CNX accepted ACS’s Project proposal on or about November 20, 2018.

RESPONSE: Denied. To the contrary, all bidders were aware of that the Project design
          was not 100% complete as of the date of the bid submittal. In this matter,
          an estimate regarding the level of completion of the design at the time of
          bid was 90%. Irrespective of the actual percent complete of the Project
          design upon which ACS’s bid was based, the lump sum Not To Exceed
          number submitted by ACS was based upon the design completion as it
          existed as of the date of its bid. To the extent that the further
          development of the design of the Project subsequent to ACS’s bid
          resulted in an increased scope-of-work for the Project, the Purchase
          Order at Article 10 provided for the Not To Exceed number to be
          increased by change order to pay for the additional work required of ACS
          as the result of further development of the Project design following
          submission of its bid.

       REQUEST NO. 14. Please admit that CNX knew the Project was not 90% designed

when CNX uploaded what CNX represented were 90% complete drawings to the Hubawoo

system on or about October 26, 2018.

RESPONSE: See Response to Request for Admission No. 13.




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       REQUEST NO. 15. Please admit that prior to project award on or about November 30,

2018, Orbital told CNX that the Project designs were not 90% complete.

RESPONSE: CNX objects to this Request as vague, ambiguous, overly broad and
          lacking the requisite specificity for CNX to respond. Therefore, CNX is
          unable to admit or deny the Request.

       REQUEST NO. 16. Please admit that any work not included in the drawings as they

existed on or about November 26, 2018 (when ACS submitted its revised Project proposal)

is out-of-scope work.

RESPONSE: See Response to Request for Admission No. 13.

       REQUEST NO. 17. Please admit that the decision to delay the Project beginning from

December 2018 to early 2019 was prudent due to incomplete Project designs and the winter

season.

RESPONSE: CNX objects to this Request as it seeks an opinion from CNX.

              Subject to and without waiving the foregoing objection, the Request is
              denied.

       REQUEST NO. 18. Please admit that ACS informed CNX that ACS was waiting to begin

the Project until it had more complete Project designs, and CNX later requested ACS to begin

the Project despite incomplete designs.

RESPONSE: Denied.

       REQUEST NO. 19. Please admit that the Project designs that were submitted

contained deficiencies, such as inaccurate measurements and pipe sizes, that required ACS

to make changes to the design to ensure the Project was built as intended.

RESPONSE: See Response to Requests for Admission No. 13.




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       REQUEST NO. 20. Please admit the Project designs were delivered late throughout

the entire project.

RESPONSE: CNX objects to this Request as vague, ambiguous, overly broad and not
          reasonably specific in terms of time and scope. As a result, CNX is unable
          to admit or deny this request at this time.

       REQUEST NO. 21. Please admit that ACS could not complete the Project prior to

June 1, 2019 because the final drawing was delivered to ACS on June 7, 2019.

RESPONSE: Denied as stated. To the contrary, CNX agreed to extension of time to July
          to allow for ACS’ completion of Phase I the Project.

       REQUEST NO. 22. Please admit that in January 2020, ACS demonstrated

approximately 120 pages of changed drawings to CNX in a presentation.

RESPONSE: CNX objects to this Request as vague, ambiguous and as referring to an
          unspecified presentation and unidentified purported pages of drawings
          which are not further defined in the Request. Therefore, CNX is unable to
          admit or deny the Request.

       REQUEST NO. 23. Please admit that multiple emergency shutdowns caused ACS to

incur delays when forced to evacuate the Project site – at no fault to ACS.

RESPONSE: Denied. To the contrary, CNX does not have any knowledge as to what
          caused ACS to incur unacceptable delays.

       REQUEST NO. 24. Please admit that CNX directed ACS to perform out-of-scope or

additional work.

RESPONSE: Admitted.




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       REQUEST NO. 25. Please admit that CNX directed ACS to perform additional work on

multiple occasions based on the representation that ACS would be compensated on a T&M

basis, so a formal change order was not necessary.

RESPONSE: It is admitted that during the course of ACS’s work on the Project, it
          submitted Requests for Change Orders to CNX based upon ACS’s
          assertion that the actual scope-of-work for the Project was more
          extensive than the scope-of-work required by the Purchase Order. ACS
          submitted these Requests for Change Orders prior to performing the
          work as required by Article 10 of the Purchase Order. CNX agreed that
          certain of the Requests for Change Orders submitted by ACS related to
          work that was outside of the scope-of-work of the Purchase Order. CNX
          signed off on the Requests for Change Orders. CNX agreed that these
          Requests for Change Orders would be billed by ACS on a T&M basis. ACS
          and CNX kept tracked of these Requests for Change Orders on a “Not in
          Contract” log. Ultimately, CNX and ACS agreed that ACS performed work
          beyond the scope-of-work of the Purchase Order. In this regard, CNX
          issued Change Order Nos. 1 and 2 to the Purchase Order. Any remaining
          averments or averments to the contrary are denied.

       REQUEST NO. 26. Please admit that Kevin Dunn had the authority to bind CNX to

directives given to ACS on site.

RESPONSE: It is admitted that Kevin Dunn had authority to agree to change orders
          on the Project. Any remaining averments or averments to the contrary
          are denied.

       REQUEST NO. 27. Please admit that CNX is bound to compensate ACS for additional

or out-of-scope worked that Kevin Dunn directed ACS to perform.

RESPONSE: See Response to Request for Admission No. 25.

       REQUEST NO. 28. Please admit that CNX directed ACS to increase its manpower on

site and increase the number of shifts ACS worked.

RESPONSE: It is admitted that at times CNX requested ACS to provide more
          manpower and shifts for the Project. By way of further response, Jim
          Glass of ACS stated that such request would shift ACS’ manpower curve,
          but not affect overall man hours for the Project. Any remaining
          averments or averments to the contrary are denied.


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       REQUEST NO. 29. Please admit that CNX paid multiple invoices or requests for

payment on a T&M basis.

RESPONSE: See Response to Request for Admission No. 25.

       REQUEST NO. 30. Please admit that CNX never warned ACS that the Project was

approaching or exceeded an alleged NTE price until after the fact.

RESPONSE: CNX admits that it never warned ACS that the Project was approaching or
          exceeding the Not to Exceed price for the Project. By way of further
          response, ACS accepted a Not to Exceed price and therefore, CNX was
          under no obligation to track ACS’s costs in completing the Project for the
          benefit of ACS. Any remaining averments or averments to the contrary
          are denied.

       REQUEST NO. 31. Please admit that on or about July 24, 2019, David Larkin emailed

Robin Dunn a cost at completion estimate of $17,036,340.

RESPONSE: Admitted.

       REQUEST NO. 32. Please admit that on or about August 12, 2019, David Larkin

emailed Carissa Hansen a cost at completion estimate of $18,101,790.00.

RESPONSE: Admitted.

       REQUEST NO. 33. Please admit that no CNX personnel attempted to address,

mitigate, control, reduce, or otherwise affect the increasing cost of this project until after the

Project was completed.

RESPONSE: Denied.




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       REQUEST NO. 34. Please admit that the audit CNX performed revealed that ACS

underbilled CNX and the project cost was actually higher than the amount previously

believed.

RESPONSE: CNX objects to this Request as the term “audit” is undefined.

             Subject to and without waiving the foregoing objection, the Request is
             denied. To the contrary, an audit was not performed. CNX personnel
             reviewed the invoices submitted by ACS as a part of internal review of
             the Project. The review did not reach a conclusion regarding a
             comparison of the projected costs of the Project and actual cost of the
             Project or if ACS under billed CNX for any work as the Project was bid
             with a not to exceed price.

                                      Respectfully submitted,

                                      DICKIE, McCAMEY & CHILCOTE, P.C.


                                      By:__/s/ William D. Clifford_________________
                                             William D. Clifford, Esquire
                                             PA I.D. #34959
                                             Gregory C. Michaels, Esquire
                                             PA I.D. #205948

                                      DICKIE, McCAMEY & CHILCOTE, P.C.
                                      Firm #067
                                      Two PPG Place, Suite 400
                                      Pittsburgh, PA 15222-5402
                                      412-281-7272
                                      Counsel for Plaintiff
                                      CNX Midstream DEVCO I, LP




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                                        VERIFICATION

       I, Carissa Hansen, am authorized to execute this Verification on behalf of CNX

Midstream DEVCO I, LP and has knowledge of the matters set forth in the foregoing Plaintiff

CNX Midstream DEVCO I, LP’s Answers to Interrogatories and Responses to Request for

Admissions and verifies that the same are true and accurate to the best of my information

and belief, and that to the extent the matters set forth in said answers and response are based

upon information and belief, and believe the answers and response to be true and accurate

to the best of my knowledge.


       I verify under penalty of perjury that the foregoing is true and correct.




                                                          Carissa Hansen

DATED: __________________________________




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                                 CERTIFICATE OF SERVICE


              I, William D. Clifford, Esquire, hereby certify that a true and accurate copy of

the foregoing Answers and Responses to Defendant’s First Set of Interrogatories,

Requests for Production of Documents, and Requests for Admission has been served this

3rd day of February, 2021, via electronic mail.


                Christopher A. Brumley, Esquire
                Evans S. Aldridge, Esquire
                Flaherty Sensabaugh Bonasso PLLC
                200 Capital Street, P.O. Box 3843
                Charleston, WV 25338


                                           DICKIE, McCAMEY & CHILCOTE, P.C.


                                           By /s/ William D. Clifford
                                              William D. Clifford, Esquire
                                              PA I.D. #34959
                                                  Gregory C. Michaels, Esquire
                                                  PA I.D. #205948

                                           Attorneys for Plaintiff
                                           CNX Midstream DEVCO I, LP




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